Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 1 of 86 Page ID #:7830
                                                                 ~J~~f ~~►~ ~,.~,~`r


                                             IS               TRICT COURT
                             UNITED STATES D
                                          ICT O               F CALIFOl~NIA
                            CENTRAL DISTR
                                                                                         8 AB (FF
                          l„                          }         Case Na. CV-12-0838
        OM AR VARGAS, et.a
                                                                                      ain
                                                      )         Requesting Court Ret
                               Plaintiffs,                                             l
                                                                Jurisdiction over Fina
                                                                Settlement Order
                v.


                                                          }
         FORD MOTOR CO
                                  MPANY,                                        ~y2a~~
                                Defendant.




                                                                                       dtree} in
                                      Cl as s Ac tio n M   em   ber (Constance Roun
                Before the Court is
                                                                                         n to
                                     d  re qu es t th at  th e  Court retain jurisdictio
                                  an
          the above styled case
                                                                                          ass
                                     en  t or de r ag  ai ns t th e Defendant so that Cl
                                  em
          enforce the final settl
                                                                                         process in
                                    an ce  Ro un  dt re e) is  not hindered from due
                                 st
           Action Member (Con

           this case.


                                                                                            allowed to
                                      e  pr oc es s,  Ar bi tra tor should be given and
                    To preserve du
                                                                                            ts the claim
                                       m  en ts ~O   j_ pl us pa  ges herein that suppor
             revie~aH of ~l~e-~     cu
                                                     be  r. Sa id do cu m en ts are filed with the Cap-
                                       tion mem
             for relief as a class ac
                                                                                          from
                                   th e pa  st 3 ye  ar s  w ith  no settlement offers
              Motors portal for
                                                                        the crash.
                 fe nd an t. The tra ns mission was a cause of
              De
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 2 of 86 Page ID #:7831




                                                      process will be obstructed
              Class action member believes that due
                                               to this case is not givin the 30
        and denied, if the Arbitrator assigned
                                              ibit B) Recent statement filed in the
        documents attached here in. (See Exh
                                         r should be allowed to review all
        Cap Motors portal. The Arbitrato
                                                                                 A).
                                           Ford request's to deny claim (Exhibit
        evidentiary documents contray to
                                           ndtree cannot     afford legal
         Class Action Member Constance Rou

         representation.


                                                             to Defendant(Ford) on
                      A copy of the foregoing was provided
                                                                                  /or
                                           tal for settlement claims,faxed and
         July 2S, 2021, via cap-motors por
                                                '
                              >~c.lC~'r~l~ }~~~~1
          mailed, i~ ,q %/('c



          Respectfully submitted,


                      _ __..
                       ~ ;~~
           C~` ~~~~~ 4
          Constance Roundtree, et. al

          Crass Action Member

          P 0 Box 1065
           Deland FL 32721
          (904)423-7277
           email: croundtre@gmail.com
           or iwpgroup@aol.com

                                                  2
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 3 of 86 Page ID #:7832




                                                                                       BY THE
                                                C E R N E D PA RT IE S WERE NOTIFIED
                                           CO N
                     IFY THAT ALL THE                                         P
     THIS IS TO CERT                    S   BY EM Ai I,  FA X, MAIL,AND CA
                      ED DOCUMENT
     AFOREMENTION                          " DAY OF JUNE 20
                                                                21.
                        RT AL ,TH IS 25 '~
      MOT4RS.COM PO                                                                      ntact
                                                  e Ro un dt re e at the below listed co
                                               nc
                         MEMBER, Consta
      BY CLASS ACT14N
                        n.
      information know


     C'~~1~~~~~-           ree,
      Constance Roundt
                       la   nd, FI 32721
       PO Box 1065, De




                            MPANY
        FORD MOTOR CO

        PO BOX 1270
                              902
         MELBOURNE FL 32
                           EXT. 772$4
         1-866-567-6518



                        IA        TES, LTD
          DEMQRS &ASSOC

          CAP MOTORS

           P O BOX 925
                                                  _ __
                          2
           HASLET,TX 7605

           1-800-279-5343
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 4 of 86 Page ID #:7833




                                             ~~1~ 4l~~

                                                                                            th the Florida Lemon
                                                 me et th e re qu ir  ements set foRh by bo
                                 has fai led to                                                uld ask that the
       As the consumer s claim            me nt fo r a rep ur ch as e to be awarded, Ford wo
                               on Settle
       Law and the Class Acti
       co~isumer's clai m be denied.
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 5 of 86 Page ID #:7834



                                                                                                              FAQs

      USPS Tracking
                                                                  age
                                                 Track Mother Pack




                                                                                                              Remove X

                           :94055092             02121552072333
           Tracking Number
                                                                                               1, 2021 in DElAND, FL
                                                                      Box at 7:36 am on June
                                             d is available at a PO
           Your item   has been delivered an
           32721.

                                      Available v
           LISPS Tiracking Plus'"


                                                 x
            G Delivered,PO Bo
            June 1, 2021 at 7:36 am
                                                                                                                         T

            DELAND, FL 32721                                                                                             a
                                                                                                                         ~
                                                                                                                         0

            Get Updates u

                                                                                                                     v
                                         s
                Text ~ Email Update
                                                                                                                     v

                Tracking History
                                                                                                                     v
                                             '
                 LISPS Tracking PIusTM
                                                                                                                     V

                 Product Information


                                                               See Less /~




                                                                                 looking for?
                                             Can't find what you're
                                                                                           cking questions.
                                                            n to   find answers to your tra
                                      Go to our FAQs sectio


                                                                       FAQs

       _                                                      ~l V~ m                 ~n ~ ~.
                                       ~),~ 3I~)
       ~~e~e ~ v~ c~
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 6 of 86 Page ID #:7835




                                                 6-2111129
                        Roundtree— CAP-MOTORS #9
                                    CASE FILE

                                                      Table ofContents

                                                                                                                    p. 1
                                                               ation...........................................
       Co~Tscrmer Application &Document
                                                                                                                  .... p. 56
           gibi lity Let ter..... ..... ..... ..... ..... .......................................................
       Eli
                                                                                                                       p. 58
                                                               .......................................................
       Arbitrator Oatlt.......................:......
                                                                                                                       ..p. 60
                                                              .......................................................
       Arbitrator• Biograpl:y....................
                                                                                                       ... p. 65
                                               .......................................................
        A rbitration Confirmation Letter
                                                                                                              67
              Pre -Ar bit rat io~ r Hea rin g Fo  rm  ................................................... p.
        Ford
                                                                                                        .. p. 69
                                                 on ..................................................
        Ford Warranty Repair Informati
                                                                                                          . p. 72
                                                t .......................................................
        Ford Use Calculation Worksliee
                                                                                                                          p. 73
                                         .....                      ...................................................
         Manufacturer Response Form.....




          Prepared By: Andrea Tamez
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 7 of 86 Page ID #:7836




       CAP
       C4NSUMERAftBI TRATI4N PROGRAM
                                  .L[d.
                                                                                  Pho
                                                                                                   P.O. Box 925 • Ha
                                                                                      ne: 840.279,5343
                                                                                                                     siet, TX 76052
                                                                                                       •info@demarsasso
                                                                                                                         ciates_com

                  ~rs ~ Asscuaces
       Ad~~un:rren.~d h~- heM




                 Z5, 2021
       Date: May
                '
        Case # 96 - ► ~ ~ i 29
                   DP3K23EL 15           3268
        VIN # 1 FA                                                                               pany
                                                                                  Ford Motor Com
                                  ee
                 Constance Roundtr                                                A ttn:
        Name:
        Address:
                 P 0 sox  ~ o6s                                                   P.O. BOX 1270
                                                                                                   902
                                                                                  Melbourne, FL 32
                                 1
                 Deland, FL 3272

                                                                                                       at:
                                                        duled for the ab            ove listed parties
                                   ar ing has been sche
          An arbitration he
                                                              ❑e 3,?021
                                                     Date: 1u
                                                     Time: ~/A
                                                                 nents Only
                                                     PIaCe: Docw
                                                      Address: N/~°+
                                                                                                                       r biography is
                                                                     e arbitrator for           this matter. Thei
                                    has be        en appointed as th
             Bruce Blitman
                              is le tt er.
             enclosed with th                                                                                                    signed arbitrator
                                                                                           in g  if  yo  u object to the as
                                                                              on in  wr it                                             e arbitrator
                                   th e C  A P-  Mo  tors Administrati                       li d  re as  on  fo  r challenging th
              Please no     ti fy                                            ample,    a  va                                             received by
                              as on  fo r  yo ur   ob jection. As an ex                or . Th  e  wr  it te n  challenge must be
              and the re
                                         you personally kn
                                                                    ow the arbitrat                                        ministration will
              appointment is if                                                       te . Th  e CAP-Motors Ad                                    ndine.
                                       ev  en (7   ) da  ys  after this  letter 's da
                                                                                                  Th  is  de  ci si on   shall be final and bi
                            2t      ,s                                                         .
               ~~u~e ~, 2~                                            ld be disqualified
                                wh et he  r the arbitrator shou                                                                                     ~~air
               det   er mi ne
                                                                                                  fo  rm at  io n  Fo  rm   and the Warranty Re
                                                                          ation Hearing In                                           y ~~- ~~~ a ,seven
                                     te  th e  en closed Pre-Arbitr                           to  rs   Ad mi  nistration by Ma
               Please     co  mp  le                                        the C   A P-  Mo                                              tnesses, if
                                           . Bo  th  forms are due to                            so   su  bm it   a written list of wi
                lnfoi-mat    io  n Fo  rm
                                                         hearing. Both pa
                                                                               rties  mu st   al                                        ar days prior to
                                ar  da ys   pr io r to                                  by   Ma  y  ~~ ~ ~o ~~   ,seven (7) calend
              (7} calend                                            the arbitration
                                        ll call to appear at
                any, that you wi
                                                                                                                                      z~2i ,five(5)
                 hearing.                                                                          ot  or  s  pr  og ra  m is Mai 20.
                                                                                     e CAP     -M                                               ceive this
                                         r  wi th  dr aw  in  g this case from th                 -M  ot  or  s Ad  mi ni  stration must re
                 The deadline fo                                                               P
                                                                      n hearing. The CA
                       nc la e' da ys  pr +e r  to the arbitratio
                 cale
                  request in writing.                                                                                                44 or mailed to
                                                                                    fa xe  d to  ou  r  of fice at 262-549-67
                                                                      on may be
                                           ditional infiormati
                   All forms and ad
                                             slet, TX 76052.
                   P. O. Box 925, Ha
                                                                                                                                              ld contact
                                                                                                 th  e ar  bi tr at io n hearing you shou
                                                                                   icipate   in                                                  hearing
                                     sp ec  ia l ac  co  mm odations to part                    0)  da   ys  pr io r to   the conference or
                   If you need                                                            n (1                                                      29. An
                                          rs  r' ld mi ni st ra tion, no later than te                T  T Y   Re  la y  Se rv ice at 800-947-35
                    the CAP-1~9oto                                                                 a
                                                                        e Administrator vi
                                                paired, contact th                          upon request.
                                                                   the Administrator
                    da te . If  he ar in g  im
                                                 pr ov  id ed   by
                     inte►preter will be
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 8 of 86 Page ID #:7837



                                                                                                       Page 2

               undtree, Consta     nce
      Name: Ro
                    ~11 ►29
      Case # 96-?
                                                                            otors Adminis   tration.
                                      ns , fe el fre e to contact the CAP-M
                           ques   tio
       If you have any

       Sincerely,


                    (~~~      ~
        Audrea Tamez
                       rdinator
        Scheduling Coo
                        ministration
        C AP-Motors Ad
                                               orksheet
        Enclosares:        Use Calculation W                   n Form
                                             earing Informatio
                           Pre-Arbitration H
                                              ]nformation Forrn
                           W arranty Repair
                                              phy
                            Arbitrator Biogra
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 9 of 86 Page ID #:7838




       CAP      0.A81TftAT10N P(I
       tGNSUMEH _.,
                                       OGRAM
                                                                                                 m
                                                                      formation For
              .       x .. .,c... ~~..

                        on Hearing In
          Pre-Arbitrati
                                                                                                                   Manufacturer Q
                                                                                            or
                                                        Customer Q
            Circle orre:

                                                                                                                     Ford Focus
                                                                                                 ei       Mode] ~~~4
                                                                                Vehicle Year/Mak
                                         y~-~I I 1129
             Case Number:
                                                                       Coles
                                             any   Attention DeShztine
                             Ford Mofur Comp
              NdI1lC:
                                                                         90'
                                                        rne, Florida 3'_
                           Bar I?70 Melbou
               Address: Po
                                               Ext. 77~8A
                                1-866-567-6518
               {~{lOt7C:



                                                                                       ing
                                                                        Scheduled Hear

                                                                             3. 2021
                                                                 Date: dune
                                                                        N/ A
                                                                 Time:
                                                                        Documents Only
                                                              Location•

                                                                                B~~uce Blitman
                                                            Arbitrator:

                                                                                                 ation:
                                                                               llo~~ing inforiryr
                                   tMe Arbitr            ator- with thefo
                    Pleuse provide                                                                                  Yes               No x

                                     represented             by an attorney?
                     1 . Will you be
                                                                                Name:
                                                      ovide:
                                    If yes, please pr
                                                                                 Address:




                                                                                  Phone:
                                                                                                                       Yes             No X

                                          in       g an.int~r~re_ter~                                                        _    _
                        2. ~ViIlydu be us
                                                           ide:                    Name:
                                        If}'es, please prov
                                                                                   Address:




                                                                                    Phone:



                                                 iates. Ltd.
                             ~~- UeMars &Assoc
                                   Mo to rs 31 20 20
                             CnP-
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 10 of 86 Page ID #:7839




                                                                                                                      Nn    X
                                                                                                  Yes


                          lling witnesses?
         3. Will you be ca
                                     ovide names:
                   if yes, please pr




                                                                                                                        d. ]f you
                                                                                                   already submitte
                                                      all of  th e in  fo rmation you have                        th is document.
                     The Arbitrator wi
                                        ll consider
                                                                              ns id er ed , pl ea se attach it to
           4.                                                  u want co
                                      onal information yo
                     have any additi
                                                                                                                             No x
                                                        at ar to  in sp ec  t the vehicle? Yes
                                          ng the Arbitr
            ~.        Are you requesti                                                                                        No X
                                                           or  to  ri de in   th e vehicle? Yes _
                                          ng the Arbitrat                                                                     ofvalid
                      Are you requesti                                                                    n hearing proof
                                                            ~n  er  na us l br in  g to the arbitratio
                                          test drive the oN
                      In the eren~ ofa
                                         e vehicle.
                       ir~surar~ce nn th

                                                                                                                                        ing.
                                                                                                                  prior to the hear
                                                             cst~ May 27.20Zt                 at least 7 days
                               st be re ce iv ed by ~Z~00 pm
                This form   mu




                 Signed:

                                                                                                                 2021
                                                                                                  [date: May 25,

                                 Mai~ufacturer)
                  ~eShawne Coles(
                                                                              does not apply
                                 acturer)-~pl~a         se strike one that
                 (Customer/Manuf




                                     ociates. Ltd.
                   ':t=~ DcMars &Ass
                                  3/ 2O20
                    CAP•Motors
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 11 of 86 Page ID #:7840




               L       ~                                                                                            let, TX 76052
                                                                                                  P.O. Box 925 •Has
                                                                                                                     sociates.com
                                                                                                   43 •info@demarsas
                    ITP,A710   N PROGRAhS                                         Phone: 80D.279.53
        CQNSUMERAKB



        Date ?/1 ~?o2 ~
                       96-21 I 1 l29
        Case Ntiimbew
                      : 11/4!200
        Date Received
                    3K23EL 153268
        VIN: 1 FADP


                    tance Roundtree
         Name Cons
                      Box 1065
         Address PO                     1
                         Deland, FL 3272
         City, State ZIP


                  ns   tance Roundtree                                                                                                     es(CAP-
          Dear Co                                                                                              ra  m for Motoi- Vehicl
                                                                                   Arbi   tr at io n  Pr   og                                ogram.
                              fo i- ar bi tr at io ~l wi th the Consumer                        el ig ib  le  fo  r th e CAP-Motors pr
          Your request                                            quest appears to be
                                 en   re  ceived. Your re
          Moto   rs )  ha s  be                                                                                                      e process and
                                                                                u  in  th  e  ne xt  fe   w days to discuss th
                                                                 contact yo
                                       presentative will
          A CA{'-Motors re                                    ve  .
                                    tions you may ha
          answer any ques                                                                                     ti ve may contact yo
                                                                                                                                        u, either
                                                                               offe   r.  a  re pr es en  ta                              ttlement
                           fa ct  ur  er   ha  s no  t already made an                  on   Of fi ce ,   in  an   effort to reach a se
           If the manu                                          rs Administrati                                           CAP-Motors
                                       h the CAP-Moto                                         ntary settlement,
           directly or throug                                      u do   re ac  h  a  vo  lu
                                                                                                                              ll be closed. Th
                                                                                                                                                  at
             ef  ore  th e  ar bi tr ation hearing. If yo                  nt  wi  th   yo  u  an d your case file wi                 le me nt is of fered
            b
                                     wi ll   co nf  ir m th is settleme                         tr at io  n  he  ar in g.  If no sett
            Administration                                           not go to an arbi                                             ion. Arbitration
                             an  d   th e  manufacturer will                              yo ur  ca  se   will go to arbitrat
            m ea  ns  yo  u                                            ment    of fe r,                                             ideration the
                        or  if  yo  u  do    not accept a settle                        e ar bi tr at or   will take into cons
            to yo   u.                                                        ar s  th                                                    lieve
                                re  co  rd  ed ..A  t this point it appe                          ng e   wi  th   our office if you be
             h earing   s ar e                                             y file    a  ch  al le                                        trator shall
                     ID   A           L  E  M  O N LAW. You ma                         ab  le  la w  in   th  is  instance. The arbi
             FLOR                                                 not the applic
             FLORIDA                  LEMON LAW is                                   e matter.
                              th  or it  y  to  ma  ke   a final ruling on th
              have the au                                                                                                                         the
                                                                                                  er   tivi ll  re ce iv e a letter confirming
                                                                                               ur
                                                                    and the manufact                                              ll be asked to
                                    in  g  is scheduled you                                       d  th   e manufacturer wi
              O  nc e  th e  he ar                                      tion   al ly  , yo  u  an                                   pair Information
                                 .  ti me  ,  and location. Addi                                rm '"   an   d a'`Warranty Re
               hear  in g da  te                                           form   at  io  n  Fo                                           the vehicle
                                       -A rl  ~i tr axian Hearing In                             id e ou   r   of fice with copies of
              comple     te   a "P  re                                        plea   se   pr  ov                                          any #`orthe
                            If  yo  u  ha  ve   no  t done so already,                  pa ir  or de rs    an  d  accident reports, if
               Horm."                                                    ement, re
                                            leaselpurchase agre
               title, registration.
                                          ew.                                                                                                     nduct the
                arbitrators revi                                                                                    as an   Arbitrator) will co
                                                                                             rs on  (k   no   wn                                      safely
                                     bi tr  at io n, an  in  de pendent, neutral pe                   th  e   ve hi cl e is op erable and can be
                Ducii~g the ar                                           e at the hearing if                                            ator. Please be
                                       sh  ou  ld have the vehicl                                       es  en  tation to the Arbitr
                 hea ri ng .   Yo   u                                      y ma    ke   an   or al  pr                                   bitrator will still
                       en .  Yo   u   an  d  th e manufacturer ma                        d  on e  pa rt   y  fa il s to appear, the Ar
                 driv                                                  heduled an                                            presentations.
                                              esentations are sc                                t to give their oral
                 advised. if oral pr                                os e  pa rt ie s  pr es  en
                                            ing and allow th
                 conduct the hear
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 12 of 86 Page ID #:7841



                                                                                                                       Page 2

                                tance
               Roundtree, Cons
       Name:
                     2l    l 1129
       Case No.: 96-
                                                                                                                   hearing date.
                                                                              em  en t wi  th in  10 days of the
                                                                        stat                              acceptance
                                                       rer a decision                 atement and an
                          u an  d the manufacw                              si on  st                                    thin 30
       V4'e will se nd yo
                                   th e  le tt er wi ll include  th e de ci
                                                                                       ce  pt an ce ag reement form wi
                           anted,                                             th  e ac                                   being
       If an award is gr             s  re qu  es ts  yo u sign and return           wi ll  be cl os ed as the decision
                        AP-Motor                               er, or your case
       agreement. C               n on   the decision lett
                        te sh ow
        d ays of the da
                                                                                                                   tween
        rejected.                                                                        ll (8 00) 279-5343 be
                                                                     se yo  u  ma  y  ca                    ~ ~~~ 29 ,available to
                                     in g th  e status of your ca                      se   nu mb er, y6.2
         For informatio
                          n re ga rd                                 have yo    ur  ca                               P-Motors
                                p. m.  Ce nt  ra  l Time. Please                 Th   an k   yo u fo r using the CA
                            00                                                 .
         8:00 a.m. and 5:                                  taking your call
                    C A P -M ot or s  representative
         assist the
          program.

         Sincerely,




                      z


            Divya Patel
                             dinator
            Eligibility Coor
                           mi       nistration
             CAP-Motors Ad
                                                les
                                  ram Guide &Ru
             Enclosure: Prog
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 13 of 86 Page ID #:7842




                                                                                                              r',:,:
                                                           Y,.




                           tion     Number:
        Vehicle Identifica




        Report Date:




                                                                                                                                               ~ii
                                                                                                                       ~.   .:.        ~`'?'
                                                                                                                                  ..
                                                                                          [h   ,' :; ,.

                          .~
                                    .. !''sue" "ti:~''~A.... +.   ~..;. ~.., ~r   YA   ....
                               ~t




          PreviousNext
           Recalls &Defects                     iring
                              ectrical System:w
           Recall Subject: El
                                : 08/11/2Q14
           Report Receipt Date
                             : 14v495000
           NHTSA Campaign
                                                                                                                 cles
                                                                                            -2014 escape vehi
            Summary                                          rt ai n model year 2013                                         st
                                 y (ford) is reca ll in g ce                                             engi s and focus
                                                                                                               ne
            Ford motor compan                             1,  20 13  , an  d  eq ui pped with 2.0 liter
                                ber 5, 2011, to april                                                 pped with 2.0 liter
            manufactured Octo                                   to  Oc to be r 14, 2013, and equi
                               ured february 14     , 20  12  ,                                                nifold absolute
            vehicles manufact                                       ne  wi ri ng  ha rn es s splices to the ma
                                                          e engi                                          rol module (pcm).
                                nt compression in th                                   e powertrain cont
            engines. insufficie                           co rr ec t si gn al  s to th
                                nsor may provide in
             pressure(map)se

                                                                                        gine to stall, incr                                    easing the
             Consequence
                                             us e th e ve hi cl e to hesitate or the en
                                  s could ca
             The incorrect signal
                                ~.
             risk of a C~i~
                                                                                                              new splices,
              Remedy                                               ac e th e cu rr en t cr imped splices with
                                                         will repl                                        stomer service at
                                    ners, and dealers                               may contact ford cu
              Ford will notify ow                           be r 20 14  . ow ne rs
                                      recall began in Octo
              free of charge. the                                 ll is 14s17.
                      39 2- 36 73 . fo rd 's number for this reca
               1-800-




                                                                                                          1
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 14 of 86 Page ID #:7843




                                                                                                                         ine
                                                                                nistration           vehicle safety hotl
       Notes                            ti on al hi gh wa y traffic safety admi
                     so contact the na                                   rcar.gov.
       Owners may al                  42 4- 91 53 ), or go to www.safe
                       36 (tty 1-800-
       at 1-888-327-42



                        Steering
        Recall Subject:
                         te: 08/22/2014
        Report Receipt Da
                       gn: 14v514000
        N HTSA Campai
                                                                                                          d c-max vehicles
         Summary                                                ai n mo de l  ye   ar 2014 focus an
                                                    lling ce rt                                                      steering
               mo to  r co  mp  any (ford} is reca                         th e  af  fe ct ed  ve hicles may have
         Ford                                       august 15, 2014.
            nu fa ct ur  ed  au gust 8, 2014, to
         ma                                          led.
                                incorrectly assemb
         gears that were
                                                                                                                       g the loss of
                  qu  en  ce                                                   us   e im pa  ir ed steering, includin
               se                                                          ca
          Con                                      eering gears may
                        ec tl y manufactured st
          Th e in co rr
                                 increasing the ri
                                                     sk of a CRASH.
          steering control,
                                                                                                                      . the recall
                  dy                                                         e  st  ee ri ng  ge ar s, free of charge
           Reme                                         s will replace th                                        1-800-392-3673.
                                   ners, and dealer                                            omer service at
           Ford will notify ow                         ners may co     nt ac t  fo  rd  cu st
                                 mber 11, 2p14. ow
           began on nove                                 8.
                                  r this recall is 14s1
           ford's number fo
                                                                                                                                      e
                                                                                                                  hicle safety hotlin
            Notes                                                       y tr af fi c sa fe ty  administration ve
                                                      tional highwa
                                  so contact the na                       to www.safercar.g
                                                                                                     ov.
            Owners may al                          42 4- 91 53 ), or  go
                                   36 (tty 1-800-
            at 1-888-327-42


                                               soline:del              ivery
                              Fuel System, Ga
              Recall Subject:
                                te: 09/02/2014
              Report Receipt Da
                             ~n: 14~525000
              NNT~A C~mpai
                                                                                                               hicles
               Summary                                                  mo de l ye  ar 2014 ford focus ve
                                                          ing cert ai n                                              ured on June
                      mo to r co  mp any (ford) is recall                     fo rd  es ca pe ve hicles manufact
               Ford                                       24, 2014, 2014                                          14. in the
                                      y 1, 2014, to may                                     2014, to july 7, 20
               m anufactured ma                                   nufa  ct ur ed  Ju ne  4,                                  e filter
                           an d  20 15  lincoln mkc vehicles ma                      ac k be tw ee n th e filter body and th
               6, 2014,                                                           cr
                                                             dule(fdm) may
                     ct ed ve hicl es, the fuel delivery mo
                affe                                        essure.
                                       lting in law fuel pr
                cap, possibly resu
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 15 of 86 Page ID #:7844




       Consequence                                                                     e          risk of a   CRASH.
                                                                    all, increasing th
                                su re ma y re su lt in a vehicle st
                        el pres
       A reduction in fu
                                                                                                                           in
                                                                                                           e recall began
        Remedy                                                          th e fd  m,  free of charge. th
                                                        will re pl ac e                                              rd's number
              wil l no ti fy ow ne rs, and dealers                             se  rv ic e at 1- 866-436-7332. fo
        Ford                                                               er
                                                   ntact ford custom
         ep te mb   er  20 14 . owners may co
        S
                              14x20.
        for this recall is
                                                                                                                      safety hotline
                                                                                c sa fe ty ad mi ni stration vehicle
         Notes                                        onal highway traf
                                                                             fi
              er  s  ma  y  al so contact the nati                          wv uw.safercar.gov.
         O wn                                       4- 91 53), or go    to
                                36 (tty 1- 80 0- 42
         at 1-888-327-42


                                               soline:deliver            y:fuel Pump
             ca ll Su bj ec t: Fuel System, Ga
          Re
                              Date: 01/09/2015
          Report Receipt
                              gn: 15v005000
          N HTSA Campai
                                                                                                                                    n
                                                                                                                 e recalling certai
                 ma ry                                                     Ja nu ar  y  8, 20 15, that they ar
           S um                                     ed the agency      on                                                       15
                                  any (ford) notifi                                                         y 8, 2014, and 20
           Ford motor comp                                         fa ct ur ed  ap ri l 15, 2014, to ma                     rd
                                   ford escape vehi
                                                      cles manu                                          april 30, 2015, fo
           m odel year 2014                                            14 , to may 15, 2014. on                                   -
                                                   ed ap ri l 21 , 20                                           model year 2014
                oln mk  c ve hi cles manufactur                             ve hi cl es , in cluding certain
           li nc                                               al 45,5  05                                                   , 20 -
                                                                                                                                 14
                            e re ca ll to cover an addition                            er  11 , 20 13 , to august 29, 2014
                         th
            expanded                                          factured novemb                                           rd edge
                     rd tr an si t co nn ect vehicles manu                       , to  Ju ne  17 , 2Q14 and 2014 fo
            2015fo                                                           14
                                                       ured april 10, 20                                            of components
                                   vehicles manufact                                        op  er nickel plating
            2Q15ford fiesta                         2014, to may 21       , 20 14  .  im pr
                                  ctured april 30,
             vehicles manufa                                fuel pump failing.
                    th e fu el  pu   mp may result in the
             within

                                                                                        easing the            risk of a
              Consequence                             y sta ll wi th ou t warning, incr
                                  ils, the vehicle ma
              If the fuel pump fa
              CRASH.
                                                                                                                 the reeatl began
                  me dy                                                  th e fu el pu  mp ,free of cY~a~~~.
               Re                                       s will replace
                                   ners, and dealer                                                          436-7332. ford's
               Ford will notify ow                                 fo rd cu st om er  service at 1-866-
                                                       y contact
                                 2015. owners ma
               on february 27,
                                 recall is 14s30.
               number for this
                                                                                                                            ty hotline
                                                                                     fe ty ad mi ni st ra tion vehicle safe
                Notes                                                             sa
                                                           al highway traffic
                             y al so co ntact the nation                                 rcar.gov.
                Owne  rs  ma
                                                 d- 42 4- 91 53 ), or go to ww safe
                                                                                w.
                                   36 (tty 1- 80
                at 1-888-327-42

                                                                               3
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 16 of 86 Page ID #:7845




                                            :wirin             g
                           Electrical System
           Recall Subject:
                            te: 1 2/0212015
           Report Receipt Da
                          gn: 15v813000
           NHTSA Campai
                                                                                                              cles manufactured
           Summary                                                           l ye ar 2013 escape vehi
                                                           g cert ai n mo de                                            y 03, 2012,
                     to r co  mp  an y (ford) is recallin                     cu s st ve hi cl es  manufactured ma
                 mo
           Ford                                          and 2413-2014 fo                                          s to the
                ar y  11 , 20 12 , to April 1, 2013,                          en gi ne wi ri ng harness splice
           Janu                                                     n in th e                                               control
                          14 , 20 13 . in su ff icient compressio                   co rr ec t si gn al s to the powertrain
           to October                                         or may provide in
                     d ab  so lu te pr es  sure(map)sens
            manifol
            module (pcm).
                                                                                                                                 e
                                                                                      gine to             stall, increasing th
             Consequence                        th e ve hi cl e to hesitate or the en
                             gnals could caus e
             The incorrect si
             risk of a CRASH.
                                                                                                                   with new splices,
              Remedy                                                           th e cu rr en t crimped splices
                                                                will repl ac e                                           omer service
                     wil l no ti fy ow ne rs, and dealers                          . ow ne  rs  ma y  contact ford cust
              Ford                                            January 7, 2016
                           ar  ge . th e recall began on                                    .
              fre e of ch                                            recall is 14x17-s1
                           6-  73 32 . fo rd 's number for this
               1-866-43
                                                                                                                              fety hotline
                                                                                      c sa fe ty ad mi ni stration vehicle sa
               Notes                                                             affi
                                                           tional highway tr
                            ma  y  also contact the na                                   safercar.gov.
               O wn  er  s
                                                1- 80 0- 42 4- 91 53), or go to www.
                                       36 (tty
                at 1-888-327-42


                                                                               :latch
                                                 Linkages:doors
                 ec al l Subject: Latches!Locks/
                R
                                   te: 09/06/2016
                Report Receipt Da
                                    : 16v643000
                NHTSA Campaign
                                                                                                                          13-2015 ford
                         ar   y                                                 de l ye ar 20  12 -2  015 ford focus, 20
                 Su  mm                                                  ain mo                                                   ir~ee~
       _
                                r co mp  an y (f or d) is recaiTing cert                an  g, an  d 20  14 -2 016 fo~d~ra~~itcQr
                 Ford moto                                           c and ford must                                        latching
                          e  an  d fo rd c-m ax, 2015 lincoln mk                   br ea k, pr ev en ti ng the doors from
                 escap                                        door latches may                                        en, in fact, it is
                     hi cl es . a co mp  onent within the                     ev e a do  or is se curely closed wh
                  ve                                           enger to beli
                                          e driver or a pass
                  a nd/or leading th
                   n ot.
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 17 of 86 Page ID #:7846




                                                                                                   si         ng the risk
                                                                                 in motion, increa
       Consequence                         d co ul d op en wh ile the vehicle is
                         t securely latche
       A door that is no
                        hicle occupant.
       of injury to a ve
                                                                                                          oved part, free of
        Remedy                                                   e th e do or  la tc hes with an impr
                                                  s will replac                                                           1-
                            ners, and dealer                                                           stomer service at
        Ford will notify ow                                 17 . ow ne  rs  ma  y contact ford cu
                                               ary 27, 20
                          ll began on Janu
        charge. the reca                                  ll is 16s3Q.
                     32 . fo rd 's nu mber for this reca
        866-436-73
                                                                                                                     ty hotline
                                                                               fe ty ad mi ni st ra tion vehicle safe
         Notes                                                          fic sa
                                                  onal highway traf
                      y al so  contact the nati                                    rcar.gov.
         Own er s  ma
                                           0- 42 4-91 53 ), or go to www.safe
                             36 (tty 1- 80
         at 1-888-327-42



                                         ;hatchba            ck/Liftgate
                          Structure:body
          Recall Subject:
                         Date: 09/28/2016
          Report Receipt
                         gn: 16v698000
          NHTSA Campai
                                                                                                         hatchback
                ma ry                                                 l  ye ar  20 13 -2 017 ford focus
           Sum                                   lling certain mode                                    th a manual
                               any (ford} is reca                                   and equipped wi
           Ford motor comp                      14, 2012, to au gu st   26 , 20  16                                 s of
                              ctured february                                                    with a single pres
           vehicles manufa                                    ve hi cl es  ma  y be unlatched
                                                   e affected                                                iremen of
                                                                                                                    ts
                  mi ss io n. th e hatchback of th                      cl es fail to co mp ly with the requ
           tra ns                                                 vehi
                                               . as such, these                                        or retention
                              h release button                                    "door locks and do
            the interior latc                     dard (fmvss } nu mb  er   20 6,
                               hicle safety stan
            federal motor ve
            components."
                                                                                                  hback, increasi            ng
             Consequence                                       y  ac ci de nt ly unlatch the hatc
                                                , the driver ma
                               le press needed
             With only a sing                                   in the back.
                                to any un se cured passengers
             the risk of injury
                                                                                                                th updated
              Remedy                                                     ra m th e bo  dy  control module wi
                                                                l reprog                                                  customer
                      4~ nn ti fy ow ne rs , and dealers wil                       20  77 . ow ne  rs  may contact ford
              Ford wi                                                         10,
                                                          ll began february
                        , fr ee   of charge. the reca                               is 16c13.
              soft ware
                                              32 . fo rd 's numb er for this call
                                                                             re
                                   6-436-73
              service at 1-86
                                                                                                                         fety hotline
                                                                                      fe ty ad mi ni stration vehicle sa
               Notes                                                          ffic sa
                                                          tional highway tra
                              y  al so contact the na                                     rcar.gov.
               Own  er s  ma
                                                    0- 42  4-9153 ), or go to www.safe
                                      36 {tty 1- 80
               at 1-888-327-42



                                                                            5
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 18 of 86 Page ID #:7847




                                                :storage
              Su bj ec t: Fu el System, Gasoline
       Recall
                           te: 10/22/2018
       Report Receipt Da
                            : 18v735600
       NHTSA Campaign
                                                                                                            with a 2.01 gdi or
        Summary                                                ai n 20 12 -2 01 8 fo rd focus vehicles
                                                         g cert                                         causing excessive
                                    y {ford) is recallin                      lfunction, possibly
        Ford motor compan                                   e (cpv y ma y  ma
                                                    e valv
                               the canister purg
        2.01 gtdi engine.                             system.
                                 por management
        vacuum in fuel va
                                                                                                                         without
             se   qu   en ce                                                  wh il e dr iv in g, wi thout warning and
         Con                                            in an engine sta   ll
                                  ccuum may result
         The excessive va
                                                        easing the risk of a
                                                                              CRASH.
              abi lit y to re st ar t the vehicle, incr
         the
                                                                                                                              l
                                                                                                       module. dealers wil
          Remedy                                            re pr og ra m  th e powertrain control                      wil l
                                                          l
                                  rs, and dealers wil                                               replaced, dealers
          Ford will notify owne                                cp  v as  ne  eded. if the cpv is
                             ult codes and repl
                                                      ace th e                                               necessary. the
          also check for fa                                     el ta nk  an d  fu el delivery module as
                                 e the carbon cani
                                                       ster, fu                                            1-866-436-7332.
          inspect and replac                                     co nt ac t fo rd customer service at
                                                       rs ma  y                                                      n, owners
                                st 19, 2019. owne                                               iced for this concer
           recall began augu                              note: until th   e ve hi cl e is se rv
                              r this recall is 18s32.
           ford's number fo                             least halfway full.
              e ad vi sed to ke ep the fuel tank at
           ar
                                                                                                                 e safety hotline
            Notes                                                       trag ic sa  fe ty ad ministration vehicl
                                                         al highway
                                  contact the nation                          w.safercar.gov.
            Owners may also
                                36 (tt y 1- 80 0- 42 4-9153), or go to ww
            at 1-888-327-42


                                              nkages:doors                :latch
                             LatcheslLockslLi
             Recall Subject:
                               te: 06/08/2020
             Report Receipt Da
                               : 20v331000
             NHTSA Campaign
                                                                                                           sion, 2015
              Summary                                           n  20 11 -2 01  4 fi es ta, 2013-2014 fu
                                                    ing certai                                           t connect, 2013
                                                                                                                            -
                               any (fords is recall                              s, 2014-201fi transi
              Ford motor comp                      -max  , 20  12  -2 01 5 fo cu
                                                                                                                 and re  pa ir ed
                                015 escape and c                                              eviously recalled
              m ustang, 2013-2                        cles. these     ve hi cl es we  re   pr
                                 and 2015 mkc vehi                                                         been completed
              2014 lincoln mkz,                                 ho  we ve r th  e repair may not have
                                                      v-210,                                           s difficult to latch
                                 246, 16v-643 or 17                              k making the door
               under recalls 15v-                        la tc he s ma y  br ea
                                                                                                                 , in fact, it is
                                  ent within the door                                         rely closed when
               properly. a compon                   enger to believ     e a  do or  is  se cu
                                e driver or a pass
               and/or leading th
                not.



                                                                            6
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 19 of 86 Page ID #:7848




                                                                                                    safety hotline
            s                                                   c sa fe ty admi ni stration vehicle
       Note                                                affi
                                         tional highway tr
                     so contact the na                             safercar.gov.
       Owners may al                      4- 9153), or go www.
                                                         to
                      36 (tty 1- 80 0- 42
       at 1-888-327-42



                                                                                                        Hotline at 1-888-
                                                               fe ty Ad mi ni st ration Auta Safety
                                                      c and Sa                                                   , trucks,
                ca ll th e Na ti on al Highway Traffi                    s  or to  ob ta in in formation on cars
        Please                                                     fect
                                              to report safety de                                           formation
           SH  -Z-D   OT  (1 -888-327-4236)                      no t re vi ew , va li date, or edit the in
        DA                                     c safety. We do
                             highway or traffi
        child seats, and
                             NHTSA.
         provided by the
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 20 of 86 Page ID #:7849




                                                                         I3                    F7'TtATC)R
                                                     U~1TT~i QF THE AR
                                                                           e
                                                         undtree, Constanc
                              N CAS[         NA1~11?: Ra
      ,4Rt31'1'12AT10
                                                                                                                                                              YBS / Nl7
                                                                                                                                           iiy a patty,
                                                                                    ur    i»  ~n 3e    di at  e or e~tcnded fa+n                                     no
                                    e  yo  u  or   an y  mzmber of yo                                           Ce e  cif  a   ai l   ~
          l . (E'arf~~) Ar                                         office director
                                                                                                  or tnzs
                                        omes[ic arCner
          ~d~~v', s Ouse, c~
                                                                                                               forrrier spouse,
                                                               yon  ►,   or    dour present car
                                                                                                                              ae or
                                                                                               you or your ~poi~
                                     lationship       ;) Do
          2. (I+ao~ily re                                  ~ or the parent bf
                                      , ch  ild  , si btin                                                          law  ~~  er Tn tt~e
           damesii~ arh~er                                                                  asl~ip with a                                                              na
                                          ei ther   ha ve   a family i•elatior                                       e  of  la w   su~ith a
                m  es    iic  pa rtn er                                                      iv at  e    ~r ac  i.ic
           -cio                                                      t~il ir► the pr
                                        currently associa
            arbitration oi- is
                                       ~z~ti~r'?
            law°ver iii th<. n~
                                                                                                                                        imxncdiate
                                                                                                           met~nbcr of ytrur
                                                    ns hi p}  D   o   or     dirl ynu car any                                       y or   law}per
                                                                                                                                                                        na
             ~. (Si~;iiific.i~~k
                                        relatio
                                                                                 i  rc  la tit >n   sh   ip   w  ith any pal-t_                                         —
                                                                      rsorla
                                           d significant pe
             family I~a~~e or ha
             for ~~ partv'~                                                                                                                    vet~rs ser~~ed
                                                                                   no    w    or    sla  ve   yo   u in the last five                                    n~
                                             arbitrator} .Arc.
                                                                          you                                                                  g either a
              -t. (tiirrvice us an                                                       tr-atc  ~i   in   a~  no tl~ er case involvin
                                                                       nted arbi
                                            l of party~a~poi
              a;either a ~~euu-~                                 th  e  current arbitratio
                                                                                                           n?
                   rty     cir la w ye  r for a party to
              pa                                                                                                                         u now or nave
                                                                                   c  re   so  lt~   tiu  n   neutral) Are yo
                                                                     di~put                                                                           o
                                            d service as a                                                                [~itr~tor tivithin tw
               5. {Gompc.nsate                                  lu  tio n    ne  ut  ra   l other than an ar                                    ~r ol vin~
                                           di:;pu~'e reso                                                                        matter in
                y ou served .is a                                   n~  in   at io  n   or    appointment in this                                fo r+ n of               no
                            ~ic for~; yo   ur  proposed n~                                          yo   u   ex ~e cx ~  to  receive any
                ~fea   i•s                                             nty for which
                                             lawyer for a pa
                either a part~r or
                co~~~E~cnsation'?                                                                                                                             rning
                                                                                                                                    iigenient cc~uce
                                                                             a  pa    rty   )  D   o    yE>u have an arr~                                ~n
                                              ngeme~iis with                                                                             ~ resoiL    rti
                 E. (Current arra                                                                             rvice as a disptat
                                                    ~~ en t or   ot  he   r   c~n7pensated se                                         se  d such
                                                                                                                                                                           ~~
                 prn~~ective empio
                                                yn
                                                                              mi st   tw  vo   yc a1   -~  have you discus
                                                                      the
                                               rry ~r y>itt~in
                  neutral ~~ith a ~a                                a  party?
                                              sezviee     t~~ itb
                  cn~~~l~>c~nent or                                                                                                       an attorney -clie
                                                                                                                                                                   nt
                                                                                  Dc   ~   yo  u   ha    ve   or ha~T~ you had                                 ar s,
                                               ent a~elationsl~ips
                                                                               )                                                              last two ye
                   7. {A(torne~~-cli                                                                                 ing, c~:ithin T.1~e
                                                                   la  w  ye   r  Fi   r a party includ                                            in tl~c
                   relatio~~>liip with
                                                  a part}~   i~r                                                         the same iss s      ue
                                                                      ye r   fir   a   partyr concernit~~
                                               p~rty~ sir    lav  ~~                                                           it a party d     an
                    ~~m~eeijing to a                                        t t~f   a  pu    bl ic agency which                                             l                no
                                                rved as a !a       u  ye                                                      tl~e facCual or lega
                    <~~bitrattar~ or se                                       d that ageia           cy   co   nc   er ni ng
                                                ~ci c~z' represente
                     ~~erso~laily advis                                                                                                        embers of v~ur
                      issue in Ci e a.rbitr
                                                   ati~m?                                         i y_  ou . or   any immediaCe m                                   ty
                                              e~rional relati~
                                                                          rnship       s)    Dc                                           lawyer for a ~aai~
                      ti. t~)UNer prof                                            f  re   la tio  ns    hi ps   wit( a party or
                                                                              na                                                            privat   e
                                                   other }~rc~fessio                                              s~~ciatinn its the
                       f nii~i]~~ have any                  rs   Z-   7,   in c'ludiiag a prior as                                  ex  pe  rt  witness or
                                                   ntim  bc                                                             t  as an
                      nut discl~~se~i in                                s   i~v o    ye   ar  s,  ~ n~pioymen                                       expec~k ur
                                                                                                                                                                              ~Q
                        ~~raciic~ of law
                                                 tivith n the      las
                                                                                            si  tw    o  ye   ar s,  e: inployrnent as an
                                                                               the Ia
                                                   harry or, ~uitl~~i~
                        cc?r~s~.iltant t:or a                 rn    tie    ar  bi  tration?
                                                   tawv   er
                         coa~sultant for a
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 21 of 86 Page ID #:7850




                                                                                                                                               YF',S / NO


                                                                                                    ~nn~ediate family
                                                                  yo u or an y me ~ziber of your i~                                             no
                                                       y)  Do
                              lere~st in a part
          4. {l~innneial in                        pa rt y`?
                               iu~erest    i1~  a
          have a financial                                                                                our
                                                                                      a~1y nlernber of`v
                                       st  in  th  e  ar  hi tr  afion) Do you. or                  er of  the
           10. (k'inanci.~l in
                                 tere                                                  subject matt
                                           eitl~e ~~• a  fin n~l cial interest in the                  tc om  e of                               ~O
           i~~vnedi~te fami3y
                                   have                                                      by the ou
                                                at  co  ul d   be  sul~stat~tially affected
                                 ii~tecest th
           arl-ritratiori ar an
            the arbitration?                                                                                         o►~
                                                                                                your irrtrnediatc
                                                                 ~o   yo u or a~iy niex~iber of               le va nt
                                                      fa  ct s}                                     facts re
             1 l .(Knov~~led;e
                                  of dicpufed                                   ~i~Ted evide~nti~ry
                                  ha ve   pe  rs on   al  knowled t of~ dis                     Cn ess i~t z]Ie
                                                                                                                                                  n°
             ~xteY~ciec~ fa~~~ity                                                           a
                                                                                    y to be wi
                                       is an   y p~  rs~ ~m   its this ~~roup likel
                                   car
             too the arbitration
            it~attet                                                                                                          e you or a membe
                                                                                                                                                     r
                                                                      s   pr   ac   tic  in g  tlis crin~inatio~l) Ar                        ai         n°
                                           in organizafir        rn                                                           ion, »atio  aa
             1 2 (Aleneber•ship                                       es      ~n   t1~ e  ba sis   of~iace, sex. relig
                                          n drat discriminat
             in ~~ny or~ranizalio
                                       c~rientaticm?
             o ris~in <~r sexual                                                                                                    you intend,
                                                                        t or    pr   ofcs   cio ~t  al relationships) Do                                no
                              s o} '  fu tu ~• e en~pf~fy~rnen                                        in  of fe rs   of  em plo  y~nept a~s a
                          'er
              1 3. ((_)I'f                                             ivaCier, to ~n[erta
                                           cy of the instant                                                         (ati~ryer to a part}-'?
              during t:lac penden                            al re  lat   ir~  ns  (lip  s from a party or
                                          r pz~otessio    z~
              netatral or ~t~ othe                                                                                                   oi'tht fa~t~s t~c~
                                                                                                                                                         no
                                                                               r  th at   roig f~ t ca  us e a person uw~re~
                                                                       aile
                                          e. of ar~y othz~r m                                           to be iim~iparlial°'
               l ~x. ire yot~ awar                           Ch  at  ~u    u «~oi~ld tie able
                                     te rta in  a  do ub   t
               reasc?nably en                                                                                                               ~stantial
                                                                                                                  liet~~e there is a ~u
                                                          ot he r  m    at   te r  th at leads ynu to be                             t~ias or             no
                1 ~. t'~re you awar
                                            e cif any
                                                                                       in  c[ ud  in fi, ba  t not Iiinited to,
                                                                              rtial,
                                               p~ciiy to be impa
                clo~ti~t as to yaur c;~                        vye r   or    la~  v firm in tl~e ~bitrat
                                                                                                                 ion:~
                                            a  pa  rty, .l~ ~~
                ~~iejuc~ice to~,~rd                                                                                                          at yvur       ~o
                                                                                            ot he  ru rise  ]ca  ds   you to beli~ti~~, th
                                                                            Cter that
                                             ~ cif any other ma
                 1 E~. Are you aw~r                                 in   te  rests ~f justice''
                         al ific at io  n  w  ill further the
                 cii5qu                                                                                                                            e
                                                                                                                             rtzt that «~~11 caics
                                                                 en   t  or    ter  np  t~ rary   phy5~cal zm~~irm                                          ~°
                                              an~r ~e~ri~~an                                                                   nduct tilt
                  1 ?. Do you have                                   rce    ii~ e   th e  ev  ide  nce or properly co
                                             to properly pe
                  yiru to he unable
                  ~~roc~edin~ ~?

                                                                                                     re.
                                                                                     471CI CrOIH(JIC
                                                     uve is etr   rrent, ~uxupute,
                                  r in~or~narion ~tb
            1<e11ct~'1 r1~ut lf~c                                                                                                    -t'
                                                                                                             t~~ fhe que~rions 1
                                                                           rify un~~       "f'ev"anxwers
                                                       to erErlain and cla
                                     irio~ra(slrretf4)
             P(eas~~ ~~tracl4 arl~~
                         -i


                                                  ~               l~
                    t      ,~

              ~ ~~I~d.~UrL



            Bruce A. Blitman
             Print ~a~~~c.

             May 22, 2021
               Date
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 22 of 86 Page ID #:7851




                                                                                      an
                                                        Bruce A. Bli~m
                                                                        tae
                                                          Curriculum Vi




        EDUCATION
                                  17, 1982                                                              es, FL(1981)
        Florida Bar, May                             of   Mi am i  Sc ho oi of Law, Coral Gabl
                                , University                              esville, FL(1978)
        J uris Doctor (1D)                        ty of Florida, Gain
                        of  Ar ts , Un  iv er  si
          Bachelor                                                                                                             roke Pines, FL
                                                                                           Br uc   e   A. Blitman, Pemb
                                                                       w Of  fi ce s  of                                          ainer {1989-
                      S SI  O  N A  L   E  X  PERIENCE La                         lu ti  on   Sp  ec ia li  st, Mediation Tr
         PROFE                                                  Dispute Reso
                                     or, Arbitrator,
          Founder, Mediat                                                                                                        ty and Family
                en  t)                                                        at io n  of   al l  ki  nd s of Circuit, Coun
           pr es                                                    in medi
                                          oner specializing
               • Sole Practiti                                                                                                        a involving
                        is pu te s  iii st at e  and federa urtsl co
                                                                                       st ip ul at  ed  ca  se s throughout Florid
                      D                                               pointed and
                                         ousands ofcourt-ap                             s, such as:
                • Mediated th                            ut es in many legal area
                                                   di sp                                                           ures
                 coir~plex and       di ve  rs  e                                    Mortgage foreclos
                                                                                                                 lpractice
                 • Personal inju
                                           ry                                        Professional l~~a
                                            nploy   ►  ne nt
                 • Labor and E~                                                      Disability rights
                                                 fe ct s
                  • Constru        ct io n  de                                       Housing rights
                                          t  rig  ht s
                  • Employmen                                                         Civil rights
                                                      e  m at te rs                                                  ise Litigation
                  • Hurricane insu
                                               ra  nc                                  Business &Franch                                 odations
                                                                                                                   &Special accomm
                   • Real estate                                                       Education rights
                                                                                                                    ion &contracts
                   • HOA associat
                                               ions                                   Commercial litigat
                                              es
                   • Family disput                                                     Admiralty
                    •    Aviat   io  n
                                                                                                                                         y trainer in
                            IA  T  IO   N   T  R  AINER                                      in  is tra to  r fo r Fl orida) as a primar
                    ME   D                                                            Ad  m                                                oval runs
                                    (b  y  th e   O ffi ce  of the State Courts                 m  s   fo r  m an  y  ye ars. Current appr
                     A pproved
                                                        vil mediation team
                                                                                 ing progra                                     last 20 years, have
                         certified circuit ci                                                  th  er ea  fter. During the
                                                       9, 2016, subject to
                                                                                  re ne w  al                                          me mediators
                          through October                                              d  ot he  rs   ~v ho   ha  ve aspired to beco
                                                                                   an
                                                        of attorneys. judges
                          trained hundreds
                                                         ers
                           and dispute resolv
                                                                     'S
                                         L M~M$ER.SHU
                    PROFESSIONA
                                         982 to present)
                    • Florida Bar (1                 As  sociation (1987 to
                                                                                 present}
                                    C ou nt y Ba   r                                     esent)
                    • Broward                                    ciation (20] 7 to pr                                          present}
                          l~r ~ Be ach C  ou  nt y  Ba  r As so
                                                                                     In c. ; D ip fa m at e Member (1989 to
                     • Pa                                                       rs ,                                                1989
                                a Ac  ad em  y of    Pr ofessional Mediato                   C ou  nt y C ou rt M ediator (February
                     • Florid                                           ircuit Civil an   d
                                             e Court Certified C
                     • Florida Suprem
                                                                                                            1990 to present)
                        to present)                           tif ie d Fa m ily M ediator (February
                                             e Court Cer
                      • Florida Suprem
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 23 of 86 Page ID #:7852




                                                                   esent)
                                            bitrator(1989 to pr
           •           Florida Qualified Ar            r As so ciation (2016 to pr
                                                                                   esent)
                                       of Fl or id a Ba
           •           Seminole Tribe

                         NELS
        A RBITRATI01~1 PA                                                                                        ida]and Broward
                                                                                                                                 County
                                                                      ty (i l'h Jud     icial Circuit of Flor
                         or id a Ar bi tr at or fo r Miami-Dade Coun
       Qualified Fl                                      9 to present)
        17` '' .lu dic ial Ci rc uit of Florida)(198
       (
                     NE                  LS
        MEDIATION PA                                                                                                  t)
                                                                                              ors(2014 to presen
                                       itr ati o~l  As so ci at ion Roster of Mediat                               Co un ty (2010-2013)
             •          Ai~~erican Arb                                                  og   ra m  for Broward
                                                                                                                                 (2010-2013)
                                                                       di  at io  n  Pr
                                                    Foreclosure Me                                         a►ni-Dade County
             •          Residential Mortgage                                                    m  fo r Mi
                                                                                     Pr  og  ra                                               tims
                                                                                                                        to help hurricane vic
                                                                            atio  n
                                                ge Foreclosure Medi
             •          Residential Mortga                             rvi  ce s  (D  FS   )  Ro ster of Mediators
                                                t of Financial Se
             •          Florida Departmen
                                                   ims (2004-2011 }                                                                   resolve other
                         resolve insurance cla                                            FS  )  Ro  ste r  of  Mediators to help
                                                                           rvices (D
                                                 t of Financial Se
               •         Florida Departmen
                                                 004-present)                                                                       Loss Mitigation
                         insurance claims (2                                           of   Fl or ida   Ro  ster of Mediators for
                                               Court for Southern
                                                                           Distr  ict                                                iation (MMM)
               •          U.S. Bankruptcy                                                lis he d  Mo  rtg ag e  Modification Med
                                                                             y estab
                                                   Program and newl
                          Mediation (LIv9M)                                                                                                       le
                                                present)                                                                       Southern and Midd
                          Program (2013 to                                       s   fo r  U. S.   Di str ict Courts for the
                                                                             tor
                                                 on Rosters of Media
                   •      Federal Mediator                                                                                                          e
                                                   (1990 to    pr es en t)                                                    for Miami Area Offic
                          Districts of Florida                                 iss  ion   (E  EO  C} Contract Mediator
                                                  t Opportunity Co       mm
                   •       Equal Employmen                                       (1999-2009)
                                                     Resolution Program
                           Alternative Dispute                                   Program (1999-2010
                                                                                                               )
                                                    l Service REDRESS
                   •       United States Posta                                                                 FO                       RCEMENT
                                                             ISTRATE                               FOR CODE EN
                                             It/SPECIAL MAG
                       SPECIAL MASTE
                       HEARINGS
                                              (2012-2014}
                       • Town of Surfside
                                           iami (2010-2013)
                       • City of South M
                                             ach {]993-1997)
                        • City of Miai7~i Be
                                                                    HONORS                                                   Annual
                                           FICATIONS AND                                             ted at Florida Bar
                        AWARDS, CERTI                                   Ye  ar   20 17  ;  Pr  es en
                                           g Volunteer of The                                         mittee)
                        • ,fustice Teachin                (b y La w Re lat ed Education Com                           Professional
                                                      17
                           Convention, Ju ne 22  , 20
                                                                       sto we  d  by  Th  e   Florida Academy of
                                            Highest distinction     be                                                     mediation
                        • Awac-d c~#~Merit:                             s m ad  e '`s ig ni fic an t centri~Zutions to the
                                                   individual who ha
                           Mediators, Inc. to an
                                                     of Florida." (2002)                                               RC) for seven
                           profession in the state                    Fl or id a Di sp  ut e  Resolution Center (D
                                              iation: Presented by                                                       iator Ethics
                         • Awai•d of Apprec                               ai r  an d   Fo un   din g Member of Med
                                                ed service as Vi   ce Ch
                              years of dedicat                                                                                 rship
                              Advisory Committ
                                                   ee (2001)                                               ity, a service leade
                                                                    by  th e Ki wa nis C (ub of Cooper C
                                                    ar: Presented                                b's first year (200
                                                                                                                      7)
                          •   Kiwanian of the Ye                    m un ity service during clu
                                                    dic at ed  co m                                       001-20   02 )
                              organization, for de                                    Bar Association (2
                                          g Se rv ice Aw   ar d: Broward County
                          •    Outstandin
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 24 of 86 Page ID #:7853




                          L SKILLS
          PROFESSIONA                                                                 • Public Speaki
                                                                                                        ng
                                                                                                    an d  flexible under
             • Lcadership                                                             • Tolerant
                                 d Conflict Resolu
                                                   tion Skills                                              interpersonal
              • Di pl om ac y an                                                         various stressful
                                                                                         situations
              • Microsoft Word
                                   cles and                                            • Teaching
              • Publishing Arti                                                                        Detail
                Newsletters Cons
                                    istently                                           • Attention to


                                                                                                                                DR: An
                  TE   LE  VI   SI  ON   SERIES                                s,  In  c.  Pr  es en  ts  The ABC's of A
           ADR                                                al Mediator                                            lution (1998)
                                         y of Profession                                  ive Dispute Reso
           The Florida Academ                                atio n  an  d  Al te  rn at                                           i Dade
                 od uc ti on   To   Mediation, Arbitr                             le vi si on   se ri es  wh  ich aired on Miam
           In tr                                                        part te
                                              and hosted atwelve-                                                       ence of SOQ,000
                ❑ Created, produced                                                or k   wh  ich reached audi
                                                y access televi     si on  ne  tw                                            d community
                     County communit                                              ju dg  es  , la wyers, mediators an
                                                 featured interviews
                                                                           wi th                                                 esses and
                     households. Series                                      t   di ff er en t  co nf lict resolution proc
                                                                          ou
                                                 blic awareness ab
                      leaders to raise pu                      an d  re so  urces
                              able  co  mm un  it  y services
                      a vail
                                                                        ICATIONS                                             urnal, October
                       S I  O N  A L  AR  TI    CLES AND PUBL                                   La  w;" Florida Bar Jo
           PROFES                                                   y Em  er  gi  ng  Ca  se                                       iting by
                          Me di at io n in  Florida: The Newl                       er  s Me  mo  ri  al    Award for Legal Wr
                 •     '`                                                 a Sa   nd
                                                   finalist for Barbar
                        1996 Selected as a                         ar d                                                            ans With
                                                  l Editorial Bo                                              111 of the Americ
                        Florida Bar Journa                                          uc ti on    to  Ti  tl e
                                                                     An Introd                                          r Journal, 1996
                                            ss and the ADA:                                 Coisky; Florida Ba
                  • "Your Busine                                  wi  th  An  dr  ew    E.
                                                                                                                              ber 1997
                                                  Co-authored                                     Nzwspaper, Septem
                        D isabilities Act;"                            ne  ss  to  Bu  si ne  ss
                                                                                                                                solution
                                              n Advantage;" Busi                                        ound;'' Dispute Re
                  • "The Mediatio                                            e Br  ea  ks  Ne    w  Gr                                   n of
                               ri da 's Et hi  cs Advisory Committe                       Am  er  ic  an     Ba  r  Association Sectio
                   • "F     lo                                                by the
                                                     2001 (published
                         M agazine. Spring                                                                                                 US
                          Dispute Resoluti
                                                   on)
                                                                                             di  at in  g    A  D A   Disputes; MSFOC
                                                                     ? Consider Me
                                             th Discrimination                                             s Foundation)
                    • "Dealing Wi                                  sh ed  by   Multiple Sclerosi
                                                    2002  (p ub li                                                          a Bar News,
                          Magazine, Spring
                                                                        sf ie d  Cl ie nt  at  a  Time;" The Florid
                                                                     ti
                                              ur Practice One Sa
                    • ``Building Yo                                   ly USA,July 8, 20
                                                                                                    0?
                                                    La wy er s We ek                                                          e Newsletter of
                           May 1, 2002        an d
                                                                                       io n;  '"   A DR Currents: Th
                                                                       ive    Me di at                                             e American
                           "1  0  In gr edie  nt s For An Effect                       e- Au  gu  st   20  02   (published by th
                     •                                                           .d un
                                                       L~ a+~d Practice,
                           Dispute Resolution                                                                                    nts And Other
                                                     ation)                                                  s, Creditors, Clie
                            Arbitration Associ                          : Deal    in g  Wi th    De  bt  or
                                                lution Techniques                                                      e Commercial
                     • "Conflict Reso                                                Is n' t (n The Mail;" Th
                                                      en The Ch    ec  k  Re al  ly                                       League of America)
                            Adversaries or Wh                                   li sh ed   by   Commercial Law
                                                       /August ZU02      {p ub                                                           ofessor
                             Law Bulletin, July                                            Me  di at  io  n;  '  Co -authored with Pr
                                                                             ques in                                                         the
                                  si on in g  an  d  Coaching Techni                            rn al ,  Ma y/  Ju ly  2004 (Published by
                       • '`    Vi                                             lution .l     ou
                                                      The Dispute Keso
                             Jea~~ne D. Maes;                             n}
                                                       ion Associatio
                             A merican Arbitrat
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 25 of 86 Page ID #:7854




                                                                                                                                      d with
                                                                                       rk  pl  ac  e  Co  nf li cts;" Co-authore
                                                             ng to Mediate Wo                            Shearer; Equal
               '` Us in  g   Co ll aborative Modeli                  Je ff ery and Robert A.
            •                                D. Ma   es  ,.A rt hu r
                Professors Jeanne                                                           5, 2003)
                                                      na l, Vo lu  me 22, Number                                                lution,
                O pportunities In
                                          te rn at io
                                                                             mp  et it  iv  e  Ma  rk etplace;" ACReso
                                                              ge in a Co                                          ers(ACR))
                                      fnerease Your Ed                                r Conflict Resolv
            • "Ten Tips to                                      As so ci at io  n  fo
                                                                                                                              .D.; The
                                           lished by the                                              ian Schriner, Ph
                 Spring 2006 (Pub                             g;'" Co-a     ut  ho re  d  wi  th  Br
                                     ofActive Listenin
             • "The flower                                            06                                                      We Learned the
                                             , November 1, 20                                       diation Lessons
                 Florida Bar News                                            w:   Tw  eh  ~e    Me
                                                              Know No                                                 erger, A.
                                        Then What We                                     l, John A. Henneb
             • "If We Knew                                       Ca rl in e  Em  an ue
                                                                                                                          2011 Inaugural
                                             uthored with                                   New &Tips; Fall
                  Hard Wad;" Co-a                                     uf  ma  n;   A  D  R
                                                                                                                             December 2011)
                                               and David J. Ka                                     e Florida Bar in
                  M ichelle Jernigan                                      R   Se ct io  n  of  Th                                            red
                      su e  (e  -n ew sl et te r published by AD                               l  Gr  id lo  ck   in  Fl orida;'' Co-autho
                   Is
                                                                  to Break Med-Ma                       M. Finkelstein;
                                                                                                                               Florida Bar
                  "S  or  ry    Wo  rk s! Offers Chance                    xt  on  an  d   Ma  gg  ie                                    r ADR
              •
                            Do   ug   Wo jc  ie szak .lames W. Sa                       20  13    (a  s  we  ll   as in Florida Ba
                   wi  th                                               , Winter
                                                ion e-newsletter
                    Health Law Sect                                       &Tips}                                                    R. Carlisle;
                                               etter, ADR News                                             red with David
                    Section's e-newsl                                       iati   on  ;"   Co  -a  ut  ho                             in .tune,
                                fo r  Ma  na  gi  ng the Mega-Med                             me   67    Nu  mb  er 4-distributed
               • "Tip       s                                                      , Vo   lu                                               letter,
                               te  Re so lu ti on   Jo urnal, Winter 2012                   n  In st it ut e (P  MI  ) quarterly e-news
                    Dispu                                                al Mediatio
                                                 ted in Profession
                     20]3; Afso reprin                                                                                                       n M.
                        al l  20  13                                                          ch is  e; "'  Co -a  ut hored with Stephe
                     F                                            re Buying a Fran                                             ion,"5 Things To
                              Th in  gs  to Consider Befo                                  13  ; An    abbreviated vers
                •    '` 12                                                    , Fa ll 20                                             ld, Business
                                                   anchise Handbook                                            The Miami Hera
                      Feidelman; The Fr                                   ise" wa     s   pu bl  is he  d  in
                                                 Buying A Franch
                      Consider Before                                                                                                 A. Michelle
                       M onday. August
                                                  5, 2013
                                                                                              vo  ca  cy  ;"  Co-authored with
                                                     for Effective Medi
                                                                                atio  n   Ad                                            blished in
                                 Co rn er st  on es                                              rc  h,   20  14    issues; Also pu
                 • "Ten                                    zine, February
                                                                                    and      Ma                                             r ADR
                                  an ,  Cl ai  ms    ma ga                                       ,   Ju ly    20 14    and Florida Ba
                       Jernig                                                e-newslett       er                                        Resolution:
                                                 diation Institute                                             2014 ❑ "Conflict
                        Professional Me                                   w &Tip       s,   Se  pt  em  be  r
                                                  letter, ADR Ne
                        Section's e-news                                              ember 2014                                                 ne,
                                       ro ug  h  It;"' Fl orida Realtor, Sept                        "  Sm  ar  t  Bu si  ne ss Florida magazi
                         Work Th                                       iness Negotiatio
                                                                                                 n;
                        "T    en   Ti ps  fo r Successful E3us                   ai la  bl e  on   November 4, 20
                                                                                                                            14
                                                                                                                                              ation's
                  •                                                           av
                                 ne pu bl ic at io  n, Fall 20   14  is su e
                                                                                             he d   in  Br  ow  ar  d  County Bar Associ
                         on   li                                        hip," Publis
                                                ts of Pet Owners
                  • "Health Benefi                                            ]5                                                     with Kimberly
                                                    ne, September 20                                           ," Co-authored
                          Barrister Magazi                            g Employ        me   nt    Di  sp ut es
                                               ps for Mediatin                                                            ember 2016
                   • "Practical Ti                                              Ba rr is te  r August and Sept                               ished in
                                  mo ur , Es y.   Pu bl ished in     BC  B  A
                                                                                                  re  d  wi  th   Sa nd  ra Cumper. Publ
                          Gil                                             ~ess," Co-autho                                              - --
                                               gns o~ Menial ftfr
                    • "Warning Si                                               be  r 20   17                                         ished in Daily
                                                      Magazine, Septem                                          Can Help." Publ
                           BCBA Barrister                                      me Re     so  ur ce  s   Th  at                              vember 6,
                               en  ta  l  He al th   and Lawyers: So                          d   an  d  Pa  lm    Be ach Counties, No
                    • "M                                                          Browar
                                                       for Miami-Dade,
                             Eiusiness Review                               ►   y' Column)                                          A Barrister, June
                                                   ns  an d  Commenta                                 es ,"  Published in BCB
                            2017("      Op in  io
                                                                             to R  es  ol ve   Is su
                                                   -Handling Modes
                      • "Five Conflict
                              2015
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 26 of 86 Page ID #:7855




                                                                                                     ce and the
                                                                Bu il di ng Br id ges Between Poli
                                                        ch to                                          ished in
                     ht Po li ci ng-A  Creative Approa               th  Me ga n   Pr ic e. PhD. Publ
            • "Insig                                  uthored wi                              mber, 20]6
                                    ey Serve." Co-A                        ges 75-83, Dece
              Communities Th                         me 71 , Is su e 3, Pa
                                    on Journal, Volu
               Dispute Resoluti
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 27 of 86 Page ID #:7856




      CAP
       CO HSU ME R 0.RBI
                         TR,0.TION PROGRAM

                                                                            orm
                                     ir Information F
        Warranty Repa
                                                                                                swers to these
                                                                 qu es te d below, including an                on
                            (1 be seeking the
                                                informat io n re                              tors Administrati
          The Arbitrator wi                               an  d ret ur n th is form to CAP-Mo
                                                  mplete
                              ies are asked to co
          questions. All part           va nc e of the hearing.
                            )days in ad
          at least seven (7


                          zs
          Case # se-~~~>>>
                              :    stance Roundtree
           ~'UStOi11Bt' N1117e Con


                                                                 rd Focus
                               Mode          l: X014 Fo
            Vehicle Year/Make/
                                                                                                                                     e5
                                                                                                                     By: oesnawne co~
                                                                                                  Report Submitted
                                           to, zoia
                               te February
             Warranty Start Da

                              {s}
             Servicing Dealer                                                                       Name
                                         RD
                       RY YEOMANS FO                                                                Address
              Name GA                  TOMOKA FARMS Rd
                                                       Ad
                          20 NO RT  H
              ,4ddress X4                 FL. 3212 4
                       DAYTONA BEACH,                                                               Phone
                       (386)2 53 -6 77 1
              Phone                                                                                 Name
               Name                                                                                 Address
               Address
                                                                                                     Phone
               Phone
                                                                                                                                                 nosis
                                                                                                                                 Summary of Diag
                               ir ~ummar         v•                                                           Applicable
                W arranh- Rena                                                                                                            or
                                 Repair                                                     Mileage              M fr.
                Repair                                Component                                                                    Repair Procedure
                                  End                                                                          W ran
                                                                                                                 ar
                 Start                                                                                                                                .vA~ve~~~EFReon,,.,
                                   Date                                                                                      a~'a~°a~~~auer~~.aa~saa~
                 Date
                                           «~a~„b~~8o,~~a~,.~A~~
                                                                E~oveF                    L~.
                                                                                           '  ,241
                                                                                              ~          Syr/60,~~0
                                 9/2016 ~~~
                 1 211712 16 12/1
                                                                                                                                                                              55Y
                                                                                                                                                              ryeoo~NkhasBFETA
                                                                                                                                              embyoilseals,Wna
                                                                                                                              Ae"~°~edCW~c~ass


                                                              alsbaYerytlw.r~a
                                                                               ¢Fa~BRF'   ~N
                                                                                              ,673          Syr/60~~00
                                              CWecna~unb~nilse
                                                                                           V
                                                                                                                                                                        ~Ex~~T
                 9lL~~LO~~
                                10!2!2017
                                                                                                                              ~°S~~~R~~~~°~,~~°ro°~s,~TM,
                                                                                892                         Syr/60,000
                 5t7i2o~s        5/7/2018        Diagnostic Test 58,                                                                           assembly &ail sea
                                                                                                                                                                     ls Repair YF3
                                                                                                                               Replaced Clutch

                                                                   oil seals 63                   ~VV~
                                                                                                             14M01
                                                 Clutch assembly 8
                                 U~~~2~ ~ $
                  a~2~G~ 18




                                   iates. Ltd.
              s` DeMars & ,Assoc
                    Moto rs 3; 20 20
              C AP-
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 28 of 86 Page ID #:7857




      CAP
       GQNSUMERA
                 RBIT     RATIONPROGRA
                                                         M


                                                                                                                                                                                                                                           Substantial
                          r S no sis:                                                                                                         #Days Out                                Nonconformity
        W a~~•ant ~ Re ai                                                                        # of Repairs                                                                               YM
                                                                                                                                                                                                                                               Y~
                      Compone»t                                                                                                                of Service
                                                                                                                                                                                     Y                                                  N
                                                                                                3                                          8
                        y
          Clutch assembl                                                                                                                                                               Y                                                 N
                                                                                                 3                                          $
          Oil seals                                                                                                                                                                     N                                                 N
                                                                                                   1                                          2
          Valve cover                                                                                                                                                                    N                                                 N
                                                                                                    1                                          5
           Battery                                                                                                                                                                        Y                                                 Y
                                                                                                     1                                          5
           Door latches                                                                                                                                                                     N                                                 N
                                                                                                                                                 5
                          E                                           ARING 1
            RET ASSY FT B
                                                                   __ No X
                             n-e nt ly co ve re d by warranty? Yes
            Is the vehicle cu ents are covered?
                              on
            (f yes, what comp
                                                    2019.
              ar to ta le d in a collision February
             C




                                                      d date
              If no, warranty en                                                                                                                                                No X
                                                  use of th                                                           e vehicle`? Yes
                                  of unreasonable
              is there evidence n:
                                plai
              If yes. please ex




                                                                                                                                                                                                           No X
                                                                                                                                                      repair? Yes
                                                                          able opportunity to
                                                         urer had a reason                                                                                                                                                                         ~mu..r mq:,       me
               Has the manufact
                                                                                                                                                                                                                                 .n:~                              Ouiiy Ike Lemon
                                                                                                                                                                                                            a~re,~y ~o k numemin                r~ew eccn matle if
                                                                                                                                                                                     ,sorvw~.a,~wo~                 ~gb      ei d repair altmps
                                 ain:                                                                                                                          o„ro,m ~.nKkel span art mqc; I~ D e umetl I~~I a naw
               If no, please expl ~o,<a~,                                                        ~ iqM io cnooaeum
                                                                                                                            a~me~aaaH
                                                                                                                     pcFzse i~tlei Ih~n
                                                                                                                                            ~eplxemerv'Peaao
                                                                                                                                                                 naNe rium0er
                                                                                                                                                                                                                                  ~asa mail ~w~Ke
                                                                                                                                                                                                                                                    Irom Nre e~nxtims
                                                                                                                                                                                                                                                                                ues
                                                                                                                                                                                                                                                                      . ana Me ~mcaMorm
                                                                                                                                                                                                                                                                                         iry:anhn

                                                 ,n~~e~a~ry                 k.1Te consumer lus                                                                                             er atte. nw~~nq tM
                                                                                                                                                                                                                 re~isRieJ ma~p
                Flo~~e, r.:m                              raplac                                                                                                    M by lire  mnnul ac~~r
                                                       ongna. Gelwery.
                                                                         a1ni~er                                                            apenl. tlus a ~inel emm
                                   ol~]a mon(~s Irom                                                                    auirorxM sewrce
                lw Ri9~ls Peo]                                                                      manWacNrw a rta                                                                                                 wirg con0ironz
                                                                                s~ tMee mme~ by Me                                                                                            cui~n meals ~M loilo                                           Transmission s~i~l rwNu
                                                                                                                                                                                                                                                                                     n~Mns
                                                             ct ro repair x!ea                                                                                            ab~ fMs lFe~ Ike
                                      ormirp fie: been ~uge                                                                                           mem o~iy A the vsn~                                                                ~~..~~~omar. anE Me
                i ~ Tne same ro r~cmr                                                                                                     or reD lac¢                                                              base W ~M1e Y~rst reh
                                                                                                   Ike arLni alor may .r+ertl ~ev~~
                                                                                                                                    ~tisa
                                                                                                                                                                                   000  miles  N vie nntia~ ¢No of
                                                                                      a:vmem sure                                                                     M+mM    SGJ,
                                                        wns for re0u rt~mfe e~ o ~eyl                                                m~s~ an  W~pn  aFpap}w~rt~e
                                  Setllemam+co~tln                                            ~~zee Ford praki p¢rt
                                                                                                                       wmea a 1.am
                The c,ass Pcuon                                          on eacn Nsn a~ au~~o
                                                      ia~ sank. ws~1s,
                  ~ Th~ .an,cM vss
                                    ie0axe~ on lau
                                                                                                                                                                                                                                                     No X
                  nu co~Enwns miss ~
                                         niel te~ore a~
                                                         w+er n o  epur cWse rs nsueG

                                                                                                                              e number of re                                                   pairs? Yes
                                                                                                            asonableness ofth
                                   that affected the re
                 Are there i'actors n:
                                     ai
                 if yes, please expl




                             ociates, Ltd.
             ~:DeMars c~ Ass
                           2020
             CAP-Motors 3/
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 29 of 86 Page ID #:7858




                                               •                        •
                    -•
                                                                   rd Focus
                                                t for your 2Q~~ Fo                                       i
          '~               Vvur a~i~,,oirtt~ren        led fo r:
                                           is schedu




                                                        ~1 X1.45 .~,I~3
                                                                                                             I



                                                                   ~.



                                 ~~ , ;s~un~firt~~,>,
                   ~~~,~rtw~;;~~~ ~r~
                                                                             r~t ~;~~r~y   Yeori~an's
                                                       ~p~•+t~in~r~ne~rt vvi
               1~->,;~:        car - ~.t,r-d~~;ir~g an        f~fVk
                               ~      ,r r .           <~t ~~.4~
                                                                                             ~t17117fi
                                      ._
                  ;c P<1                                   C~laE4,i;;; :._
                   :=1~ (7S +( '' ~C>3 ~~77~i ~ t~"~ ~;11V
               t~
                                                             with           ~xcel~ent service.
                                         tc provi~iir~r~ yon
               ,̀~.1~ ~c~,~k ~c,rva~:ard

               ~,~~~v~ F2:t+


                          ~               ~

                                                                                                                 ~
                                                S AND STALLS
                                   • CAR SHAKE        UP
                                     WHEN STARTING
                                     VEHICLE
                                                  LTI-POINT
                                   • PERFORM MU
                                      I NSPECTION



                                                        ..                                          ~'~~
                                    •.
                                                                             sceiny you?
                                                 We~ ioc,h torw~~rd to
                      _----
                                                                          rc1 L~i~~coi~;
                                   ~              ~2 Y Y~~ ~ r ~~ ~ ~ ~:~
                                                 M -

                                                                .
                                                ',38 i 153 ,. ,




                                                               r
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 30 of 86 Page ID #:7859




                                                                              m)
                                                      orzp!y@nlmdir.co
                       rvic      e Department (n
       Gary Yeomans Se




                                                                     ~~ '~~G~                    I FORD SiRVIC~i




                                          ~~;au~~dtree.
               _ ., rCcaF;~.~..;ztc~                                                                             E'Cti{l
                                                                                                    ill'clft S
                                                                                    i~l ~c.f~ ~`'~'O
                                                                  ~SOsll~il?Elli!'vl
                                           E'' Ltltil~, `eil`t c~~
                I I -•. Y•:;il ~~I
                                    _                 ~ ~ ~^.idl .
                      ~: t `
                                                                                                  Co,~~tac. us ai
                                                      ,_
                                               .w r ~
                                                                                      ~~rviu€~_
                                                                z ~rr:t~ exc;~:Cl~r~#
                s                   <~ ,~ tr; ~~rnvicr?,~jq ~c-

                               -:. , .




                                                      STATES THE
                                         • CUSTOMER       IS SHUDDERIN
                                                                       G,
                                           TRANSMISSION            D S
                                                          BACKWAR
      -                                    A LSO ROt~.1NG
                                           FROM A STOP
                                                        LTI-POINT
                                         • PERFORM MU
                                            I NSPECTION
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 31 of 86 Page ID #:7860




                                                     try sceii~ig you[
                 _      -          We ic:ok torvaard
                                                    Ford Linccin
                    ~,..,:         ,teary Yeoman's
                                  ;i42~   To mo Ka Farms Rd
                 :~%, ,.~"                                     "32424
                                  ~;i~ay~ona 8eacri. FL




                                                                         i




                                                                                      .netj
                                                       reply@dealecreyrey
                           rvic e Department {no
         Gary YeoiTians Se




                                                                                   s~R~ic~
                                                                    '.~ ~t~:I Faao




                                           _      _                     -    "err`.




                                                                                                      'Gtllc3fl~S ~Oft~
                                                                  p)iYli(IiP,ti
                                                                                1 i'Vd~~? ti~cify ~'E
                                ~~riP a:   ~Gl,iilPi~ u'li c1CJJ-


                                                                                                  v~E1~c1C1 i,1S :~~




                                                                      excellen            t service.
                                              ,~v~cf3n d You ;~vi±i~,
                       ~c ~~- icy;~~~~ra ~a pr

                     ~ uce ~c;t.~.~.'.
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 32 of 86 Page ID #:7861




                        !L';SvY
         ;;P.rL`t;~ itC




                                         REQUESTS
                            • CUSTOMER     TERY SERVICE.
                              PERFORM BAT                                                                      ~
                                          LTI-POINT
                            • PERFORM MU                                                                           ~
                              I NSPECTION




                                                          to seeing you'
                                        ode it~~k torward
                                                             Ford Lincoln
                                       ' ,~7ary Ye~rrras~'s
                                                           Farms ~~
                              ~.f°     ~ 1~~U ~(on~aka
              ~       .:;
                                              t~r ?a Be ac h, FL =.?124
                                       ~~i~ay
               I                       ._..., n__. _. . -




                                                                 }
                                                                 '




                                                                                                                     rd
                                                                                                      ary Yeomans Fo



                                                                                                                       Fard
                                                            tment with                    Gary Yeomans
                                             Service Appoin



                                                  dtree,
                                  Constance Roun                                                                         00 A(v~ far sen+ice
                                                                                                                 at x3'
                                                                                  omans Fa     d on 161"f6120'IH
                                                              eing you at Gary Ye
                                            king fonNard fa se
                                  VV~,'re loo
                                                   d Focus.
                                  on your 2014 For
                                                                                                        se contact, ou r service
                                                                          y ~ddifi~nal infonnafion plea
                                                        stions or need an
                                   if yoi: have any que
                                                      6} 274-fi70p-
                                   department at 138
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 33 of 86 Page ID #:7862
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 34 of 86 Page ID #:7863




      CAP
       CQNSUMER~IflB
                     IFI             lpTION PROGRA
                                                                 M
                                                                                                                                                                                           of
                                                                                                                                                   ement~repurchase
                                                                   n  of    th   e  cu    st  om  er   's right to a replac
                                                         ptio
                         at rebut the presum                                                                                                                                                                cnlamity alter a
       Are there facts th                _    ff  ye  s,   pl   ea  se explain:                                               W wn/orm e vehi
                                                                                                                                                 cle to ~s walydnry
                                                                                                                                                                    by repei~ing o~ co~~
                                                                                                                                                                        onable number
                                                                                                                                                                                          ecbng any nonc
                                                                                                                                                                                                               It is piesumetl Mat
                                                                                                                                                                                          o(re0air attempts', by the
                                                                                                                                                                                                                                   a


                 e? Ye s  X _   N    o                                                       eutho~iled urvi
                                                                                                             ce  a0e n[c  dnn
                                                                                                                                        rather Ihen repl acem  ent Reas
                                                                                                                                                                              ¢Ct to reDeir at leas { Ure e UmeS

       the vehicl            tluN ~o=epwcn
                                          ase w+eplace a
                                                     ~rer
                                                         vehicle, I(~ha man
                                                                            ulx
                                                          or re0lace (he vehi
                                                                                 N~e r or Us
                                                                              cle. The conwme
                                                                                                r has a right to
                                                                                                                 choo se
                                                                                                     Ong~ndl tlBl~yery,
                                                                                                                          repu rcfi ase
                                                                                                                        eilh~r. 1)ihB Sam¢
                                                                                                                                               nDnconlOrmi! }~ hey
                                                                                                                                               umer, and the nonc
                                                                                                                                                                   be[ n SYb;
                                                                                                                                                                   onlormiry continue
                                                                                                                                                                                  cons
                                                                                                                                                                                        s tc exist
                                                                                                                                                                                                                          was
                          Law stakes Manufac~                                 ¢imer repurcha
                                                                                                se                         0124 mnnNc hum or ev Dress mail notice hum the                                                                              The vehicle
        floiitla lemon                                     'ac~urer must                             Lew Rights PanOtl                                                                                                           owing canditlo~s l
                                     attenpts the ma~u been matle A. Ou~in~ the Lemon                                         g the ieg~stereo                                                                m mee6 the lol~                          Transrivssion sWl
               n able n~mne~ of                                                                           urer alter receivin                                                            nntls Mat the clai                         customer_ and Use
                           ber    of reoe ir allempl5 here             a  final aM1e mpt Oy tM1e manufact                                           r<pl ecem enl  only i! Me aY~i~rator
                                                                                                                                                                                                1 sale or leas e [o the lust retail
              unable num                       aeivice agent.
                                                                 plus
                                                                                                                                   rd re0urchase
                                                                                                                                                 of
                                                                                                                                                                      .000 miles of the
                                                                                                                                                                                          in1~a
                         or its a~i(ncnxetl                                                                   arEi;ralor may awa                     ont within SI60
         menu actu~er                                                                      acement st0fe.(he                          lwa~e Raplacem                                                                                                 1,2<1 9I2~201
                                                                                                                                                                                                                                                                    i~
                                                                           ase or a repl                            transmission Hait                                                                                               1 211 717016 @ ~
                                                  nEinons for re0~c~                        Dealer performetl a                                                                                                 ent accurrirg on
               Glas s P<a on Settlements ti                     isit ar  autn  anzed Ford           is5vetl.                                                                           a ~er  dwxe replacem
         The                            ice viS~Ls, o                           d al reOurChaSe i5                                                                                ~~h
                    on four   ia1  Serv                           re  an  awar                                                                     e were (3)  tlealersh~0 ~~s~~;
         re0ai~ea                                  benttMt heto                                                                 e Lemon Law. her
                               contlibons rtn_i~t                                                           of t!'~e Flunda Stat cusbmer longer owns the vehicle.
         mallunctions All                                                                    requirements
                                                                       ticea not meet tlrc             wa~e reDaiis nowe
                                                                                                                           ~ei the
                                                   ghat tlrrs Leh cle                l ~uelity~ng naia
                          .t is Foias pOs~~~on                  aye {2~ uitlem¢n
          t'~Fm respecl.                        irtla s Tnei  e
                                6 ~c 63,AB1
          69.6%]8 R~Z201
                                                                                                                                                                                     No x
                                                                   formity? Yes
                               r re pa ir wi ll re medy the non-con
          Is it likely a furthe n:
                               ai
          ff yes, please expl
                                                       the vehicle.
                e cu st  om er  no longer owns
           Th




                                                                                                                                                                                                     Yes                            No X
                                                                                              ' s right to an of                                            fset for mileage?
                                    at affe                               ct the manufacturer
              Are there factors th n:
                      pl ea se explai
              If yes,




                                                                                                                                                                     No X
                                                        to the di                                                       spute? Yes
                                      r issues relevant
                  Are there any othe n:
                                      ai
                  If yes. please e~~l




                                   iates, Ltd.
                  ~ DeMars &Assoc
                  '
                            s 31 20 20
                  CAP-Motor
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 35 of 86 Page ID #:7864




                          Replacement                                         CAP "
          Vehicle Refund/                              t
                                                                               CONSUMERA0.01TR
                                                                                              AT~   ON CRUGgAM

                                     or          kshee
                             ation W
          U se Calc
                    ul


                                                                      n hearing:
                             is section &b       ring to arbitratio
          Par~res,fill-in th

                            -~ ~ > i    1Z9
           Case File No: 96                                                                                 e-in allowance,
                                                                                   before any trad
                                                                 purchase contract
                                    :      As detailed on the
           Actual Price Paid                                   nancial incentive.
                                           rebate or ot}~er fi


           $ io.000.00

                                                                                                                       Number of
                             ns         }:                                                    Mileage at
            W arranty Concer                                          Number
                                                                                              first attempt
                                                                                                                       days out of
                                                                      of repairs                                          service

                                                                                                                              8/4
                                                                                            41,241
                                                                       3/3
                                     il seals
            •     Clutch assembly &o
                                                                                                                              2/5
                                                                                             41,241149,673
                                                                        1/I
                                    tery
             •     Valve cover &Bat
                                                                                                                               5
                                                                                              49,673

              •    Donr latches
                                                                                                                                5
                                                                                              49,673
                                                                         1
                                    ?ARING
                    RC"T ASSY FT B1
              •                                                                                                  rvice on back b
                                                                 of repairs, mile   age &days out of se
                                      rran   ty concerns, number
                List additional wa                                                                                    rvice: 33
                                                                                            Total days out of se
                                                                                                                          -------
                                                                   ------------                     --------------
                                    ------          --------------
                 --------------
                                   Fo rmula:
                 L?se Calculatrorr


                                                                                                  e ap              propriate offset
                                                                                ment terms for th
                                        ab le st at e le mo n law or the settle
                                     ic
                   Refer to the appl                      use calculation fo
                                                                             rmula.




                                   iates, Ltd.
                   D DeMars &Assoc
                                   019
                   CAP-Motors Ol'?
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 36 of 86 Page ID #:7865




                                                                          M
                                                             RESPONSE FOR
                                   MANUFACTURER                     By Phone ❑
                                     rt ic ip at e - in Writing ~
                             Wili pa
                                                OT3                              State: Florida
                           S-28558000-C6W
        Case Number: CA                           e                                               /10/2014
            to me r Na me: Co nstance Ro un dt re
                                                                       Wa rr an ty Start Date: 02
        Cus
                               153268
        VIN: ]FADP3K23EL                          CUS
                             : 2014 FORD FO                                   vehicle.
        Vehicle yearlmodel          n/ Th e cu st om er  no longer owns the
                            Unkn ow
        Current mileage:                                                                    (terms oflease)
                                                       , 20 16 @ 39 ,3 46 miles ❑Leased
                                                    14
                             w ~ Used May
         Purchased: ❑Ne
                                                                        wertrain Warranty
                                        ty ❑ In Dies el Warranty ❑ In Po
                          In BTB Warran
         This claim is: ❑
                           ties.
         OUT of a(I Warran

                                                           Plan: ~ NO             ❑YES
                       ently ha s a Fo rd Extended Service
          Vehicle curr



                              INFORMATION
          SETTLEMENT

           No offier made


                       R'S PO             SITION
           MANUFACTURE
                                                                                       repurchase    or replacement.
                                             de ni al to th e co ns umer's request for
                              y seek      sa
            Ford Motor Compan




            Issue                                                                                         er's vehicle
                                                                    re pu rc ha se or  replace the consum
                                                              ed to                                           d/or the
                e is su e is wh et he r or not Ford is requir        t fo rt h in th e Fl or ida Lemon Law an
             Th                                            e rules se
                                     ged defects under th
             because Qf the alle
                                       ment.
             Class Action Settle



              Rule
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 37 of 86 Page ID #:7866




                                                                                                                  e; If the
                                                                 ty  to  re  pu rc ha  se  or replace a vehicl
                                                              du                                   cle to its warranty by
                                    states: Manufacturer              nnot conform a vehi
       Florida Lemon Law                        serv ic e ag en t ca
                                                                                                       of attempts, the
                                   authorized                              reasonable number
       m anufacturer or its                                  y  af te r a                                                 to choose
                     or co  rr ecti ng  any nonc on fo rm it
                                                                              ve hi cl e. Th   e co nsumer has a right
       repai  ri ng                                         replace     th e                                                ed that a
                   tu re r  mu st  ei ther repurchase or                         er  of   re pa ir at tempts; It is presum
       m an  uf ac                                               able nu     mb                                               Period of
                ha  se ra  th er th an  replacement. Reason                   de   if, du ri  ng th e Lemon Law Rights
        repurc                                               ve been ma
                                    of repair attempts ha
        reasonable number                                 er :
                                  iginal delivery, eith
        24 rn anths from or                                                                                          manufacturer or
                                                                   t to   re pa ir at  le as t three times by the
                                                             bjec                                                         the
                                     formity has been su                                       ct urer after receiving
         1)The same noncon                                    attemp    t  by  th e  ma nu fa
                                                                                                                         ues to exist;
             au th or iz ed  se rv ic e agent, plus a final              um er  , an d  th e  no nconformity contin
         its                                                   e cons
                                     s mail notice from th
         registered or expres

         or                                                                                                 onfonnities by the
                                                                          re  pa ir of one or more nonc
                               been out of service by
                                                             re as on  of                                      days, exclusive
         2)The vehicle has                                                               total of 30 or more
                                                                                                                 facturer ►r►ust
                                                           en  t fo r a  cu mu la  ti ve
                                authorized service ag                                    r' s manual. The manu
          manufacturer ~r its                          e prescr   ib ed by   th e  ow ne
                                                                                                     The 30 and 60-day
                             routine maintenanc                           as described above.
          of down time for                                  ir at te m pt                                            strike, fire,
                ha d the op po rtu ni ty for a fin al re pa
                                                                        t av  ail ab le be ca us e of war, invasion,
          have                                            ces are no
                              tended if repair servi
          periods may be ex
                                 aster.
           flood, or natural dis

                                                                                                               the arbitrator
                                                               fo  r re pu  rch as e or  a replacement state:        the
                                   ttlement's conditions                 e arbitrator finds th
                                                                                                 at the claim meets
           The Class Action Se                  ce m  en t on ly  if  th
                                  se or repla
           may award repurcha
                                ns  :
           following conditio                                                                         t authorized Ford
                                                                            ice  visits, on each visi an
                                              ired on   fo ur (4  }  Se  rv                               60,000 miles of the
                    The vehicle was repa                                        Re  placement within 5/
                                             Transmiss     ion Ha    rd wa   re                              ill malfunctions.
                    Dealer performed a                       ta il cu  sto m  er , an d the Transmission st
                                               the first re
                    initial sale or lease to
                                                                                rchase is issued.
                             m us t  be m et be  fo re an award of repu
            .All conditions




                                  e
               Application of Rul

                                                                                                                           the Florida
                                                                          hic le  do es  no  t m  ee t the requirements of
                                                                     ve                                             ent occurrinb un
                                         rds position that this                            a hard~~-are replacem
                With respect, it is Fo                         ale rs hip  vis  it; wi th                                      settlement
                                           ere were (3) de                                                miles. There arc (2)
                S tate Lemon Law. "t'h                                 .i ~: 8l  2/ 2l )l8 'ci ; 6 .8  81
                                           . 9,;?7~'~017 iz 49,f7                                      the vehicle.
                1 2%17;''pl li ir; 41.241                  ve r the  cu  stomer lon~e7- owns
                                          t~e pa irs ho we
                c~uaiifi~in~ hardti~°ace
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 38 of 86 Page ID #:7867




                       Summary
       Warranty Repair
                                                                                                              sis
                               Summary:                                   Applicable       Summary of Diagno        ~
       Warranty Repair                                                                               or
                           Repair                             Mileage        Mfr.                            e
             Repair                         Component                                         Re air Procedur
                              En d                                         Warrant ~
       ~,` Start                                                                          Replaced Clutch
              Date            Date                                      Syr/60,000                       seals+       '~
                                                        ly 41,24(                         assembly &oil
                  /2 Q1 6 12 r' l9 /2 016 Clutch assemb
           1 2/17                                                                                           (:epai~~ '~
                                          &oil seals+                                     VALVE COVER
          I
                                          VALVE                                            -r 1
                                           COVER
                                                                        Syr/60,000         [replaced Clutch
                                          mbly,49,673                                      assembly, oil seal
                                                                                                              s,
                        0177 Clutch asse
        9/27/2017 10/2/2                                                                                        s&
                             oil seals, battery,                                            battery, door latche
                             doar latches &                                                 RET ASSY FT
                                                                                                                           '~,
                              RET ASSY F                                                     BEARING


                                                                                                                      ~I
                                                                                                   O SHUDDER
                                                           58,892         Syr/6Q,000                                  '
                        5/7/2018       Diagnostic Test                                            RECORDED,
          ';5/7/2018                                                                                              ST.
                                                                                                  RETURNED TO CO
          ',                                                                                                     ED
                                                                                                  W ITHIN EXPECT
                                                                                                                         ~
                                                                                                  LIM[TS.                  ~
                                                                                                                                 ~
                                                                                                   Replaced Clutch
                                                        b3,881              14M01                                     s              ~I
           ~—            8/3/2018       Clutch assembly                                            assembly &oil seal
           8l'2/2018
                                        &oil seals                                                                                        ~
           ~,                                                                                      I~e~7ai~~ ,~:




               Conclusion

                                                                                                                e vehicle does
                                                                         nu mb  er  of  re pair attempts, as th
                                                                 quir ed                                           ion period
                        er ns listed ha ve not received the re           t wi th in th e Fl or ida State presumpt
               The conc                                 l repair attemp
                                   repairs plus a fi na
               not have three (3)
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 39 of 86 Page ID #:7868




                                                                                                              to repairs 4
                                                                  ly , th e  ve hi cl e ha s not been subject
                                               ND additional                                   elines.
                            or 24,000 miles A                         on Settlement Guid
       of 24.000 months                        in  th e Cl ass  Ac ti
                            r/60,000 as stated
       or more within Sy                                                                              the Florida Leman
                                                                     ir em  en ts set forth by both
                                               to me  et  the re qu                                       ask that the
         s the co ns um er 's claim has failed              pu rc ha se  to  be  aw  arded, Ford would
       A                                          for a  re
                            s Action Settlement
        Law and the Clas
                             be denied.
        consumer's claim
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 40 of 86 Page ID #:7869




                                                                    EF4RM
                                                         ER RESPONS
                                   MANUFACTUR                      By Phone ❑
                              ill pa rt ic ip at e - !n Writing ~
                             W
                                              dOT3                                 State: Florida
                         S-28558000-C6V
        Case Number: CA                       ree                                            te: 02/10/2014
                          Constance Roundt                             Warranty Start Da
        Customer Name:
                            L153268
        VIN: 1FADP3K23E                        OCUS
                         el: 2014 FORD F                                   the vehicle.
        Vehicle year/mod            n/ Th e cu st omer no longer owns
                           Un kn ow
        Current mileage:                                                            ❑Leased (terms
                                                                                                     of lease)
                                                              @  39 ,3 46  mi le s
                                                y l4,2016
                         ew ~ Used Ma
         Purchased: ❑N
                                                                                            in Warranty
                                                          es el Wa rr an ty ❑ In Powertra
                                                ❑   In Di
                          In BTB Warranty
         This claim is: ❑
                           ties.
         OUT of all Warran
                                                                          O        ❑YES
                                                          rvice Plan: ~ N
                  e cu rr en tl y ha s a Ford Extended Se
          Vehi cl



                      I          NFORMATION
           SETTLEMENT

           No offer made


                        R'           S POSITION
            MANUFACTURE
                                                                                                                   ent.
                                                                         request for repu     rchase or replacem
                                         eks a deni al to the consumer's
                            any se
            Ford Motor Comp




             Issue                                                                                                 hicle
                                                                         rc  ha se or re pl ac e the consumer's ve
                                her or not Ford is
                                                   required to repu                                    n Law and/or the
              The issue is whet                              le s se t fo rt h in the Florida Lemo
                                                   r th e ru
                                leged defects unde
              l~cause of the al
                                 lement.
              Class Action Sett



               Rule
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 41 of 86 Page ID #:7870




                                                                                                             hicle; If the
                                                                du ty  to  re pu rc hase or replace a ve
                                 w states: Manufactur
                                                           er                                                     rranty by
       Florida Lemon La                                       en t  ca  nn ot co  nf  or  m a vehicle to its wa
                                                          ag                                                              e
                                  authorized service                                            mber of attempts, th
       manufacturer or its                  no nc on fo rm it  y af  ter a reasonable nu                 er  ]la s a  ri gh t to choose
       repairing or correcti
                                    ng any                                    ve hi  cl e.  Th e consum
                                  either repurchase
                                                         or repl    ac e th e                                         presumed that a
                ac tu re r mu  st                                             mb  er   of  re pair attempts; It is
       m  an uf                                                 onab   le  nu                                                 ts Period of
             rc ha  se ra  th er than replacement. Reas                    ma  de   if, du  ri ng th e Lemon Law Righ
        repu                                                   ve been
                                   of repair attempts ha
        reasonable number                             ei th er :
                                     inal delivery,
        24 months from orig                                                                                       the manufacturer or
                                                                    ct to  re pa ir  at  feast three times by
                                    for►nity has been su
                                                               bje                                                   iving the
         1)The same noncon                                                      th e  ►  ma  nufacturer after rece
                                       agent, plus a final at
                                                                  te  m pt  by                                       ntinues to exist;
         its authorized service                                        ns um  er , an  d  th e nonconformity co
                                                             the co
                                    s mail notice from
         registered or expres

         or                                                                                                           s by the
                                                                        re pa  ir of on e or more nonconformitie
                                                      by reason of                                                          sive
                               been out of service                                               or more days, exclu
         ?~ The vehicle has                           ag en t fo  r a cu m  ulative total of 30              uf iac tu re r must
                                authorized service                                                      man
         manufacturer or its                                cr ibe  d by  th e  ow  ner's manual. The                 y
                                                      pres                                                        da
                                utine maintenance                                          ove. The 30 and 60-
         of down time for ro                       re pa ir at te mpt as described ab                       ion, strike, fire,
         have had the oppo
                              rtunity fo r a final
                                                                e no  t av ail ab le be cause of war, invas
                                                       ces ar
                              tended if repair servi
         periods may be ex
                                 aster.
          flood, or ~~atural dis

                                                                                                              te: the arbitrator
                                                              fo  r re pu  rc ha se   or a replacement sta
                                   ttlement's conditio
                                                          ns                                                     meets the
           The Class Action Se                               ly  if  th e ar  bit ra to r finds that the claim
                                  se or replacement on
           may award repurcha
                                ns:
           following conditio                                                                                           d Ford
                                                                           ice  vis  its , on ea ch visit an authorize
                                        repaired on four (4
                                                                 } Se   rv                                                s of the
                L The vehicle was                                         are  Re   pla  ce m en t within 5/60,000 mile
                                                                       ~~                                                         .
                                             Transmission Hardv                                           ion still malfunctions
                    Dealer performed a                 t re ta il cu  sto m  er , and the Transmiss
                                           to the firs
                    initial sale or (ease
                                                                            purchase is issued.
                          ns m us t be rn et be fore an award of re
            A ll conditio




                                le
              Application of Ru

                                                                                                                 ts of the Florida
                                                                 is ve  hi cle  do es  no t meet the requiremen
                                        rds position that th                                              cemeiat occurring ~~n
               W ith respect, it is Fo                                   vi si t; with a hard~~~are repla
                                       There ~ti~e~re (5 ) de ale rs hip                                          ai'e (?} sctTlement
               S tate Lemon Law.                                    7 5 c~  8,' x!2 01 ~ ci', 63.8$1 miles. There
                                                                ?,E
                                       ~ 1. ~?/?7'~Ol 7 ;iz` 4~                                ns the vehicle.
               1 ~-17!?U J (~ tr, ~ I.2                     er th e custotTter longer- ow
                                         re pa irs ho we w~
               ~~ualit}ink hard~t~~~ce
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 42 of 86 Page ID #:7871




                                                                                                                   ch you gain
                                                                      at e as  au to  ma ti c care of TCM,as su
                                                         de to oper                                           states as long as
                              nual transmission ma                                      r. Ford engineers'
       "the DP56 is a ma                              al such   as  cl ut ch  sh  ud de
                               acteristics of manu                                                      dealers follow a
        M PG but also char                               op erat in g as  sp ec ified. Please note                     e
                                                      is                                          g as designed. (f th
                              exceed 250 RPMS                           vehicle is operatin
        shudder does not                           de te rmin e if th e                                           ti ve  learn
                               nosis process to                                                            y. Adap
        standardized diag                                      25 0,  no  re pair  is deemed necessar
                                                      belo  w                                                       y dealers
          iagn os is de te rm ines the RPM's are                       re  le ar ne d af te r re-flash, which is wh
        d                                               needs to be
                                a driver drives and
         which learns how                                                   re-diagnosis.
                           iv in g fo r at least 1,000 miles prior to
         recommend dr
                                                                                                                                    IlI
                                                                                                             ia listed in Section
                                                           a  cl ai ma  nt  mu st   first meet all criter                      s the
                                                         m                                               n II[ clearly define
                                  Arbitration Progra                           Agreement, Sectio
         Ta qualify for the                                      tt  le me nt
                                  Rules. Under th    e Fo rd  Se                                                  Program. While
         of the Arbitration                                       nt  to  pa rt ic ip at e in the Arbitration
                                                         claima                                               a claimant to be
                                   the eligibility of a                            ich must be met by
         class vehicles and                              th e  pr ov is io ns  wh
                                  ation Rules defines
         Section VI Arbitr                                    their class vehicle
              gi bl e fo r ar ep la ce ment/repurchase of                                                                 .
         eli                                                                                        e following manner
                                                 s me mb er  an d   th e class vehicle in th
                                    nes the clas
          8. Section III defi                                                                                   Ford Fiesta or a ne
                                                                                                                                        w
                                                               le ss ee  of a  ne   w  or used 201 1-2016
                                                           or
                                     t or former owner
           1. You are a curren
                                    6 Ford Focus;"
          or used 20(2-201                                                                         igible for a replac
                                                                                                                         ement only if
                                                                          t  a cl ai  ma  nt  is el
                                                         Replacemen
                                    .A (2) Claims for
           Under Section IV                                  e met:
                                     g three conditions ar
            all of the followin                                                                                     visits within 5
                                                                           s re  pa ir ed  on four(4) Service
                                    cle was owned or le
                                                            as ed , it wa                                                  occurs first)
            a. While the vehi                                               th e fir st  ret ail cu sto~~ner (whichever
                                                             vehicle to                                                Hardware
                                      s of delivery of the                                    med a Transmission
             yeat-s160.000 i~nile                           ed Fo   rd   De al er   pe rf  or
                                       e visits an authoriz
             h. (fin each of thos
             Replacement 9                                                                             longer possess your
                                                                                                                              vehicle,
                                                                              ns  (o r,  if yo  u no
                                                           ll malfunctio
                                       t Transmission sti
             c. The Power Shif                                              e was disposed off.
                                ma lf un ct ion at the time the vehicl
              co~~tinued to

                                                                                                                          hicle
                                                                             a  re pl ac em en t or buyback, the class ve
                                                        t to qualify fo    r                                         feharbor
                                   bitration Agreemen                                          listed, within the sa
              U ~1dei- the Ford Ar                        one of th   e  te n co mp on  en ts
                                     more repairs to any                                                     les defines a
              has tc~ have four or                          r oc cu rs  fir st. Th e  Ford Arbitration Ru
                                                         ve
                                    60.000 miles whiche                    epair'" for determinin
                                                                                                      g eligibility for a
              period of 5 years/                     mp on en ts as  a' `r
                                    yone of these co
              replacement to an
               buyback.                                                                                      ese components ar
                                                                                                                                     e
                                                                                       unless th
                                             M or P C M is not co nsidered a'`repair"'
                                          TC
               Reprogramming the
               replaced.
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 43 of 86 Page ID #:7872




                                                                                                          er, within
                                                                   me an  re plac em ent by a Ford Deal
                                                t is defined    to
                          rdware Replacemen                                                          customer,
       A Transmission Ha                               le as e of yo ur ve hicle to its first retail
                                              sale or
                         miles of the initial                       e PowerShift Tran
                                                                                          smission:
       5 years or 60,000                        owin g pa rt s of th
                         first, any of the foll
       whichever comes
                         y-Clutch;
       (1) 7B546 Disc As
                          Mod Trans(TCM);
       (2)7L396 Control
                        -Trans Rear;
       (3) 7052 ail Seal
                         sion Asy-Aut;
       (4)7000 Transmis
                        Frt Clutch;
        (5) 7C604 Motor-
                         /Slave Cyl Pus;
        (6} 7A508 Rod-C1
                        etC/Shft Oil;
        (7)6K301 Seal/R
                         hg Asy-Out;
        (8)7060 Shaft/Bs
                           t     S11aft Oil; and/or
         (9)7048 Seal-Inpu                                                           or non -safety recall
                                                                                                             do not
                                                                   st ofa safety
                          As y- Cl ut ch Ref. Parts replaced as pa
         (10) 7515 Lever                          acements.
                           sion Hardware Repl
          count as Transmis




                                      mmary
             Warranty Repair Su
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 44 of 86 Page ID #:7873




                                                                                                                    nosis
                            mma                                                 Applicable          Summary of Diag
      Warrant Repair Su                                                                                       or
                    Re  pa ir                      Mileage                         Mfr.
      I Repair                    Component                                                            Re air Procedure
          S tar t     En  d                                                      Warrant ~
                       Date                                                   Syr/60,000           Replaced Clutch
           Date                          sembly 41,241                                                              als+
                   12 /1 9/2016 Clutch as                                                          assembly &oil se
       !12I17J2016                                                                                                   [Ze}pair
                                &oil seals+                                                        VALVE COVER
        I
                                 VALVE                                                             #1
                                COVER
                                                                               Syr/60,000           Replaced Clutch
                                                                3
                           0177 Clut          ch assembly,44,67                                     assembly, oil seal
                                                                                                                        s,
       `, 9127/2017 1012/2                                                                                              he s&
                                oi] seals, battery,                                                 battery, door la tc
                                door latches &                                                      RET ASSY FT
                                 RET ASSY F                                                          BEARING                         i

                                                                                                                            '~,
                                                                                                      Il~~air ~?
                                                                                                        O SHUDDER
                                                             ,892                Syr/60,000                                     i
                           5/7/2018       Diagnostic Test 58                                          RECORDED,
        15/7/2018                                                                                                   GU ST .
                                                                                                      RETURNED TO
                                                                                                                   CT ED
                                                                                                       WITHIN EXPE
                                                                                                       LIMITS.

         ~                                                                                             Replaced Clutch
                                                           63,881                  14M01                                   s             I
                           8/3/2018        Clutch assembly                                             assembly & oii seal                I
             ~8' /2/2018
                                           & oil seals
                                                                                                        IZ~~~air                              i




                Conclusion
                                                                                                                                        es
                                                                                                              ts, as the vehicle do
                                                                  e re qu ir ed  nu  mb  er of repair attemp             pt io n pe ri od
                                                           ed th                                 Florida State pres
                                                                                                                      um
                                    ed have not receiv                    tempt within the
                 The concerns list               us a fi na l re pa ir at                                  t be en su bj ect to repairs 4
                                    ) repairs pl                                              hicle has no
                 n ot have three (3                          ND ad   di ti on al ly , th e ve
                                      or 24,000 miles A                 ass Action Serkle~n
                                                                                                  ent Guidelines.
                 of24,000 months                   st at ed  in th e Cl
                                     r/60.000 as
                 or more within Sy
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 45 of 86 Page ID #:7874




     CAP-Motors -Claim Summary
     Consumer Information
     Consumer Name: Constance Koundtree
                                               32721
     Consumer Address: PO Box 1065, Deland, FL
     Consumer Phone -Home: 9044237277
     Consumer Phone -Work: 3867364755
     Consumer Email: iwpgroup@aoLcom


      Vehicle Information

      Vehicle Year/Make/Model 2014 Ford Focus
      VIN: 1 fadp3k23e1153268
                                                           ln -Daytona Beach, FL
      Vehicle purchased from: Gary Yeomans Ford Linco
      Vehicle Purchase Condition: Used
                                                                ona Beach. FL
      Vehicle serviced by: Gary Yeomans Ford Lincoln -Dayt
                                                           on  14-Feb-20 19
      Current ownership of vehicle: 'l,he vehicle was sold


      Vehicle lssue
                                                           ACED part# fobv6Z-78546-f
      Unresolved Concern (1): Clutch -clutch assembly REPL
      Number of times repaired: S
      Days out of service: 12

      Unresolved Concern (2):
      Number of times repaired:
      Days out of service:

      Unresolved Concern (3):
      Number of times repaired:
      Days out of service:


      Claim Resolution
                                                          the vehicle, Financial compensation (but keep the
      Resolution Sought: [Repurchase or Replacement of
      vehicle)]
                                                            ago. Followed up a year ago. Watched the website
      Resolution Detail: My initial claim was filed 2 years
                                                             arbitrate.
      fordtcansmission and notified Ford by phone intent to
      Financial Compensation Desired: 10000
      Hearin~~ Type: Documents only
      Inspection Requested: No
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 46 of 86 Page ID #:7875


                                                                                          PR                         OVISION}
                                                                        (WITH ARBITRATION
                               „.. __.
                                                                      ._                                  Cornract Number
                                 --. _               Dealef Number ._                                                                                                      and Address)
                                                                                                                                               SeNer-Creditor {Name
                                                                                             ress
                                                                      Go-Boyar Name antl Add                                                                           COiN MfRCtt                                      Y
  b oyar Nina =r~~ Add
                    Ft
                               ress
                              ~QUN[77k~t`,                                                                                                     CORY YEQMANS Ft3Ra LIt~
    a:uD~STANCE                                                                                                                                                      R'J
                      .Ir   a.~ TOh AVE #~a ~T''•                                                                                              2420 N TpP90KA FARMS 124
    ;~3      S    ~a~
                           32 72  4                                                                                                            DAYTONA BEACH FL 32
 ~ ')ELnN~ FL                       NUAkY                              Go-euy~ets Birth Manth;                                                    cnaose to ouy cne ven
                                                                                                                     ning [nis cmruac~, you imes "we” ~r `us" ir, this
                                                                                                                                                                         icie
        {
  fi~ yE, :s ~• ~~ ~.~_ ~,,~     JA                                                            on   trea t[_ tsy sig
                                                                       oeiow Tor earn or                                                     met
                                                                                                                 the Seller-Creditor (so your finance charge bn a daily
                                                 ay auy me venx~e                        You agree b pay
                         c~ io-buyer, ~r any ,m                back of this contract. the payment schedule below:We will fig
                                                                                                                                         ure
 rou, m+= ts~yer ;an                        the   front  ars d
                      ,~e agreements on nce Charge in U.S.lunds aceDrding.to                              ow are par[ nE this cor
                                                                                                                                  nract.
 01 creci~ u-~er~                                                             ding Disclosures bel
                        +it ~ii~ar~$ar~Fina           year. The Truth-ln-Len e in a0 res ects.
 coat;ac ~ ~ tr,e ~ Tcu                      °~o per
                         3jzie of                                   the vehicl
 bast-. ~? she ease ly inspected, acc~ teU, ar~d approved                                                                                                 CfY Furct~ased
 'Tau nave tr.o•ouUn                                    Wei ght                                                                 Primary rise For Wt,i
                                                                                                             r
                                          Make                             Veh icle Identifie2ttioR Numtre                      Pers onal; Fatu ity, or h~,sehold unless
                                                        (165.                                                                                                 bela.~
                             Year      and Mgclef                                                                                     +~iherwise indicaieQ
   ~J~w'~ i~c=:%~_na
                                                    ~~~d                                                                               G ~'~1e~                     Ii.                __
                                                                                                                              268       L7 agncultura!
                                                                                                 1fADP3K23E~153                                                                                        tai :~r is
                                        20 1         FOCUS
                                                                                                                                             a lax   ica b.  pol ice  Vehicle, sht,~Y rein: ne,~
              ~5~0                                                                                                                     Q as
  3
                                                                                   tlg e, the veh icl e was tided. registered,or usek.
                                                             on sef{er's knowle                                    u(-a[~tu~er huy bac
                                     sed you whet4~er, based                          a Hood vehide,ar a man
     ~~ _,_ Lo~:~ ; .;: ~.e ~dw tir assembled from parts, a kit Car, a replica,                                                                                                                              ur
                                 udc                                                                                                                                         the Frays cal damage +ns
                                                                                                                                          Insuranea. You rr~aq buy s {see hack; 1rnm. ar,y;,r~
   ~ a:    ;~ ~.~r ~ ~ ~'~ ~ €Eb
                                                                                                         S                                     e   Uas  ron  uac  t reg   wre
                                                                                                    RE                                     ant                                                        are   ~t
                                                                                                                                                                       accap9ahl? u. u,. You
                                                                                      SC    LO SU
                                                           IN-LENDING DI                                                                   you Ciwose wha is ther inswaru:a to :,t;ian~ c~edir
                                    FEDERALTRUTH-                                          Tota4 of
                                                                                                                 Total Sa{e
                                                               Am   ou   nt                                          Pri  ce               requlce   d to  ixvf ;ury ti                           ~e    nlereSt
                                        FINANC      E                                   Payments                                                                            ng Vendors .~in
              A NNUAL
                                         CHARGE                Financed                     amourn you         The total cost of           unless the l7oz indicati cY~O beJcm ~Yeser nc~~ at
                     NT    AG  E                                        unt  of       The                                     se on        Insuranc    e is requ  ired ` e5 Che
                                                                                                                                                                               tt af1e4. cup deus~,~r ka 5Q!!
          PERCE                                             The amo                                                r pur  cha
                                         Tim dater                                   wiN tu~va paid after you it, includ~g                  a~serrance provvjers Kitf rnr
                 RATE                                       credit provided
                                                                                                                                                                or ex[enC c~edi: to ry ,.
                                                                                                                cred
              Tie c~.;c of
                                         arnoun~ she                      or         you have matte aN                         n                 [he   veh icle
                                                                 tv you                                            you  r dow               ytal                                           tr_K~w. ~c~.~s or
                                                                                                                                                  H any insura~ie ~s rn2J~~o~a~_~ c~par~;s +r:ll
                                          credit will                                    payments as
             your creel c as                                 ore }r[rur 6ettalt.          schedutetf~              payrnettt~~A
                                          cost you.                                                                                                                           Cd ~nsu
             a year~y rats_                                                                                                                  ccrtiticales {ram 1F~e cg~n dio~a
                                                                                            2977 .86 $~3~
                                                                                                                           7~-~~             descrFbe tt~e Ienns era co~
                                                           $ 17998._59 ~                                                                                                             went and sign petow:
                                                                                                                                               Cheek the Insurance you
                                      ~   1177   6.   23
            i      S~.(6t~ ~/Q
                                                                                                           {:} means a-~ esLmate                          Optional Credit Ins
                                                                                                                                                                                            urance
                                 t SC  he dU  fe  Will Be:                                                                                                         ~~.     UYE  '  ~
                                                                                                                                                                                   r ~ L~G-f3~Fer U 3~.ath
          Your Paym          en
                                           Rmountot
                                                                          When Pay~nis
                                                                               Are Due
                                                                                                                                           ._ Gf@dY, L'~!°        rr~ r~                          ---~— —
                 Numbetai                  Pa   mea ls                                                                                      T~+:n                          -
                 Payrnarns                                          ybe  gmn inr ~                       6
                                                           Monthl                     f36f29j261
                           72                   413.54                                                                                                                                      - --
                                                                                                                                             Tee                    J._—                                            ~
                                                                                                                                                                                                                    i
                                                                                f4fA                                                         Prem;ur-                                     ,,' ,. A _                1
                                                       NIA                                                                                                                                           —
                          NfR                                                                                                                     Gre~~i lt~~ S~                        —:;~`
                                                                                                                                                                                                    - -
                                                                                                                                                  Greoii 6isabiii;r i ___~                          "J t ;~
                                                                                                                                                                                                                  _
             Gr As ~aflow,:                                                                                                                                                    'r 3~-~-' _
                                                                                                                                                       iRSLIidru~E GOm(-~crr
                                          N/A                                                                                                                           1 ~" .~i                                               i
                                                                                                                                                                                 —             -_ ~~
                                                                                                                 wid pay a fate charge
                                                                 fu0 whin       la     days after it is due, you                                           m8 Oltlt~ A ~d
                                    ment rs not received in
             Late Gl7arge. if Ray
                                                                                                                                                                                                                             n~~
                                      h inssatlmeni.                                                                                                                                  t~:~; ~s~b,~~y ~su,arw~e a~a 6uy ',
       4      of Jk of eac                                               may hab+e to pay a pena
                                                                                                  lt}r.                                                Cred~i Me insurarwa a w     r. r;~.,r  ~ ,ion ~ buy a noE kr
                                         off alb your debt early, y~                                                                                   required   t~   Sta  n cre^
             _Prepayment !f you pay                                                                  chased,                                                                             r .k.eC.~n ins~,ancewi+,i rwi be a ~
                                                                                                                                                       aEdit life insurance do nery ~crr,s.i
                                                                          in tf;e vehicle bei ng pur
                                        aye gcving a security +n(erest                                                          npaymeni,                                                            ~ ~~y Hie nor' tx-lxovitlatf
              5f.~cun iy Interest. You                                              rm8t ~on incl udin g dribfma7ion about r~p                          fattot in H~ tn:~d:i u~y;Tr~a           af~~Feraui~.11ycudiooss
                                                                                                                                                                                                                                   i
                                                                ~F, for -mD rE irdo
                                                                                                                                                       ual¢ssgau      sf~r Ean  dag  rc~  ~oo
                                                                                                                                                                                       Sh~wc ~<i ttC~ ~ SA of Vie !temizaUon-
                                       on: See     i7us tpr n~a                                                       secunr y.irne resL
               ~dditio»a1 Intorma~l                                                      ara the scheduled date and                                    IhiS k~tsurance, the. cosy s Y t~ ir~ur~,~.e i~ t~asH; c.. voui
                                                            ired repayment in tuft 6ef
                                                                                                                                                        pt t~nuunt Financaxi. CrcU.Th ~ w ~rcr ma, nr gas a~~You
                                   t ~rta ttie s, any  requ
           4 ciP(auit, prepaymen
                                                                                                                                                         a~9i~1 Pa~'rnem stfic~.dernak a{ :~vf,.r. s -dCr d.sa~uit.
                                                     E
                                                                                                                                     94 (ij
                                                                                                                                   5:~
                                                                                                                               2478-                     ovueanthismotracc i~ rra:'zr alrr r~ _:~ ~ .' r~s" G3~:-i:rq d' irG
                 S1~MRATIOP! OF AMO
                                        UNT EtNA ~c o~   .70                                                             $-                              o7sltGlnce dOS;S PKi1 +~o1                             --
                                                                                                                                                                                          ---._
                               (ineiudrtg $           __sales I~x►                                                                                       the number at pay rants.-
                  t rash Price                                                                                                                                                                  c .,                      ~= ,r~ i
                    Taia{ Du.:npaymen~
                                         _                                                                                       ~/A                      tt the bar, at~ae ~ ~i, x.+t 1 ~ wi o .~+.rr1 ~~.
                                                                  -                          -                                                            al5ruancE,P'easerea
                                                                                                                                                                                  Jan tii~:
                                                                                                                                                                                                                        ,, s~ a ~: ~
                           6rassTrade-inrVktw3nc
                                                  e'                                                               $ _____.~~                                                                r;a ~
                                                                                                                                                           t . You understand the v ~:o«r                   _ ., r~`F'y
                                                                                                                                                                               cie  y~~
                           less Pay CYft Made 8y
                                                 SeU er 1e)                                                        $~~A                                    ofherpol  icy~ ,p~E
                                                                                                                                                                                      r cr :r-~o- of s ~.a; s y -,
                                                                                                                                                                                                                          -cue nn'
                                                                                                                                                           aicrnering his edzrsm                  ~^ - , . .           x ~• c -ir ~
                           E~u~s Net Traae 1n                                                                                    rv /a                     oe purchased from us m a~oe
            p
                                             ~ A                                                                   $~                                                                                                  f ~'
             j             +c~,,n             ~,~                                                                                                           X~~~..                                        _            _ Dai~>
                                                                                                                             $        ~~A {2)
                                                                                  4J be'.or+}                                  ' 14 b .                     8
                                                          ative; eater'd' and sea                                                         (3)
             p            (I! €o~! d~wnpiyrnenr is neg                                                                       $~
                                                                                                                                                                                                                -ie
                                                                                                                                                                                                                 Qa
             y                       of Gash Prim   (t  mi~  ws  2J
                                                                                                                                                            Ca-Buyer       '—i'~~
              E .3 tJr~pni~ Balance                                         Your B~nali                                                                                                 n: ,xe,- ~*- -,;=-;,~„ mz~ hee
                                             g ~ma,~nts Paid.to.Othors trn                                                                                   2. Ybu'urdersl~r~c =nay
                   ClthEr ~har~es ir~uo,:s                                                                                                                                                         r :< ~^aGic ya~
                                                                                                                                                                                                                 ~kn
                                                          ovrt ts}:                                                                                          deter~~,aithebme rapF.~;~~              ~:r,~; ~MUcs afa
                                      parE r,~ these arrr                                                                                                                       una~ tP  'c  S  rr
               ~ Y ,Seilrr may keel                                                                                                                          in.empl oym ant [~
                                                                                                                                                                                            rrr~      ~ ~;~ r`~~ a[~norrl-
                                                  h5utatu;~P0idt4iruusac+tk                                                                                  person of Gka are tn~ ~,.urn! ~ ~a:~„,,~ uoucy ooesrat
                    A Gca;ofCptiona(Cv2d~i-                                                  .__..   _ _ ty /,~.
                                                                                                                                                           ~ etlgernent d me papcs~
                                            mp3rlie5. -                                                                            - f'~f~ _                 Wf11aiY~tlliS restr'nK'bY'
                                                                                                                                                                                        ~,.r
                         Cilwt~a r.y of ~;G                                                                         ~.-- -
                                                                                                        IV jE1                                                              __                                     '; /A
                                                                                     S                     f                                                 X
                                                                                     ~                              ~          _ ~-N~A                                                                                  liate
                         ksab;~tY
                        C~~    ~                                         s:,e Com paq  _                                                                     Buyer
                                           ~u insu ranc e Paid 921n suai                                              ~~                                                                                           Iti~h
                      ~ Ve~oors Si~g~e Inte                                                                         y
                                                                                                                    ~
                                             ranceAaidlv   Msu  tanc  eCo   mp~ nya 'Companies'
                                                                                                                              '~~ w~
                                                                                                                                                              X
                      C t~ti~rrQP1:~r~allnsu                                           -
                                                                                                                    ry
                                             ~BCt
                       a ~Iio;k9l ~ri2p ~Ot1
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 47 of 86 Page ID #:7876




                                                                                                                                                                           r
                                                                                                                                                                                   .~ i~ ,,;,~
                                                                                                                                                                            _ ~ a,apPha
                                                                                                                                                                      i
                                                                                                                                                                               P I t~ j 1 ~
                                                                                                                                                                            a'fd sm ~~

                                                                                                                                                                                                          'a
                                                                                                                                   ,~                       X                                               ..e,,.
                                                                                                  __ —               _                                      o;;,=
                   ::,                                                 _                                                                                                                                 r,
                                                                                                                                                            x                                             Caro
                                                                                                                                                            Co e+u~e
                                                                                                                                                                                        its irnler ~ policy n rl ~ar-
                   e                                                                                                                                        3 Yo nJer ea. 71'+at he De '+d9t b aX 111 d:)Li e~i,
                                                                                                                                                            ~i~ 12 WINilt lh~ 2 Ch~CG l
                                                                                                                                                                                             a x ,~ a..l .,
                                                                                                                                                            's G. nlely .pre' hf'J Or IM+a~
             1     F      r r : ~ u Inc ~ Sia D flxe                                                                  _~~_~~                                                                             "•'a
                                                  n ~.s Price                            ^__ .___                                                            X
             ~~I   G    e me^I_laves _t nU d Q                                                   -                   ~. —
                                            or Hr Ir Ian Fe?.                        —
                   H lir r~e~l L c n e a~lU:
                                                                                                                                                             x
              i




                                                                                                                                                                                                             __.__
                                                                                                                                                                                    'f

                                                        .
                                                        .~             y           r
                                                                                                                                                                   u~ ~    .~_ .~.- ~~ -
                                                                                                                                            ~, P enum ~ ~~r_ 1 _ ~I"l
                                                                                                                              ea I~~a Grea for
                    f                                          — RAN.,F l S Inscra    _ i t , J the p'ticadma boz is chrcA                      i „ Co.^Jane d Axi~e:s _.. ._   _'!L?.   ___
                                ~ R . 314G LE  I'v1 EftES     IhS.,                              CreA~i or for lass or ~ldma ge to tt~e veh~de                                            __
                     =i J .ch!_
                                                  fhe initial tam   of the a,mra ~, t~ Cued N.ie                             rrit protec t your           _.1t  a   _..__ __
                       req ~ :;'J51 ins~aa~ce L^~                                                        s muvancA dots
                                            VSO   n -uran   a is -o   ih~ Cretli u sore p o~ection.'hi gh whkk the tiSl insurar~ee 's                                          —~-         _.
                   ( ,cn i nn ~ie. tnen!                                              e company throu                                                        ~' r    --
                                                     m,7y choow the x~ utanc                                         ql this insoren e is
                   + miPre r me ~~`+c You                       5"  .   c~~x        uyh it ir_Gito~, the .coal Ced_ThE eov?I3yei61Q ~ ~                r
                                              i~      -
                       a Giained +t ya~ ee                                     ~,r ~a'i9!'I3fl7'i::14mOJrt(
                                                                           J`~rN tL-r
                                                                                                                Fi(~dn
                       ~ ~             N •,                 q'u
                                                                                                                                                                                                         -
                                                                                                                                                       ~`             .    '.

                        ~
                                                            _.                   _                __                                e~                                X
                                                                                              r                      Trede•I~Vet~icl
                                              ~           ,E:          ,c
                                                                                                                                                                                                    _            -           -
                                                  :..                                                                                                                      E        ,.            ~,
                                                                                       _-         .,.    ' 'A                   _- -- -                              ~` E ''                       -
                                                          -
                                                                                                             ~'                    __      --               —        ~F SEC  "
                                      __                   __                        _            ;T
                                                                                                  .            si    ~            _. _~~.,                             S Cry -
                                                                               =
                                                   --                                —                                                                                F         ~
                                                                                                   a,        t 'A.
                                                                                                                                                         mSe~~¢.
                                                                                                                          s) Except ase~ressiy slalta                                                                _
                                                                                     ~ ^psi ~wrn tratlPin ahiae(                                      mayor boGy
                                                              ~.
                                                                                                            rrol ed   in an accident has not hetleny                                              ~-~-
                                                                            c-      camas tia., rvt  peen                                                    ntal! a * r.^.,-                        -        -, . .
                                                                                                                          axicah.Pollcev~kk,sharttertnre                   dr a e ,.
                                                                                 .nn~rrssrrct~rerr~~sFruseda<el                                                   I I Pa~K
                            ~.
                            :
                                                              _~
                                                                                             ,  K,.      a reyUCa , a floo d veblcl e, Dt e menuFaaurer buy back.
                                                                               1 'r:m pmt>,         ~zr,
                            -.~ ~    >E ;-,
                                                                                                                                                                                              '~:~..
                                                                                                                                                                      ;cls __._.. -~~.5'.~.~~
                                                                                                                                         trade-M aeh;el5 uaaN+a
                                                                                            -'        a'_a_. ,li~a~+J9torle~sur~4 ~yout           Nude ny Seller_     ire        ~. _: .-~
                                      -             7e- '                                                    ~~anc-_r Flnav:~tl as the Fay OR
                                                                            -_       -                                                                                               - - , --
                                      --                                                                                                          . or ha desgnee          ~F                                            -          --
                                                                                                                                         N ~ehide                                                ---
                                                                   ~                              ~ .,.,.- r : ~~+uessoi a( he .raje 1E e~~xns of unmano                                                                         -. .
                                                                                                                  - - ~: paY the Stlle~                                         -   _- ~
                                              _               ": a I er                            -
                                                                                                                 ";r.:  . =!undl o~rou am  wer?~  2 Seiie~recerv..
                                                                                                  ,.       e.~c
                               ~ -                      ii_k,. ititn. as .0 ...
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 48 of 86 Page ID #:7877

                                                                                                                                                               -3_~)' N1   _   _. _ 1
                                                                                                                                 1 NI'fdf [': K. GI£f'iN~^ !
                                                         'I          '
                                                                     '" :''4'I~~f'xS~GV ~:'.~1~;(a~^'l vf'~P 1' ~ud5',:'h
                          -.-.~
                                                                                                                                                                     ~r        Poch i
                                          --.             -                         _^~,7 s                                                 ,,     r~~, ~
                                                                                                                  ._
                                                                                                                                   •. _          _.-


                                                                                          - _               -                     '_         _
              ..                                              ..           _




                                                --                                                    - -- - .-
                                                                                                                -               >' es.
                         .-           _                       .' -             '-         ~-    -                      ~~
                                                                                                                                                               r
                                                                                                    ... .gyp `^p
             - _             _            .._        -   ..                          __




                                                                                                                                          -- F., 'ra^pie. +~e
                                                  _       ___             ,,            ..                  — . ..:~ ,r .a., h;:~o . _~+y
                                             e Fa, n    ''~~ r  .  _fir   r~F ~~< caA ,    ~-eis
               "~~r             ~_
            i 5ee b8ck for rther important egreemertls.                                                                                            You are
                                                                                     before you read it or if it contaltis any ~hlank spores. b)
                ~dOTICE TO THE BUYER: a) Do not Slgn this contract ii to protect your legal rights.
                entitled to an exact copy of the contract you sign. Keep                                                                             'zke '
                                                                                                                                      ~    ~t ~
                                                                              be~c•e ~c~ s~~~ed lh s r•(ia t ~e ga:e i r ;~ a
             ~ You agree to 4he terrtt5 of this contract.You co~lirm tha                _     5  ::rt a_t - _~    - _.       ~ - ..             _. ~ s .
                                     ackro~vle d9e  `al,~_    .3._ •eaa ...    s  ces
                a nd revieti~ it.YOu
                                  ~       iy✓T                     ~y~~                         _                           ~




             ~ L."~'.Y
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 49 of 86 Page ID #:7878



                                                                                            ~~


                                                                                              First Mile                                                                               informal ~n
                                                                                                  ra                          ct far
                                                                             Vehicle Service.Cont                                          Schedu~e
                                                                                   ie d Pr e~ Ow ned= Vehicles
                                                                           Cert if
                          Ti                     ON
     ~.:Er~~:•~E urFGRi~a                                                                                       b8                               ____~
                                                                                     ~IN~    ~fAE?~'3PC~3EC1532                       --
                                                                                                                                          ,~ ING
                              T~ 67~`~~~~                                                                               T~ DO ME I" ER RE
           ,~        ~~~                                                                              -          CURREN
                                                                                      M~EL ~
           ~F                    ~ ",~kKE


                            HOLI]ER INFORMATIO
                                                    N                                                                                                         DEALER#
      ?. D~LER~i.iEN                                                                              ~                                                                 ~kSQtd6~1
                                  ~                                                                                      ~
            :+ ;~ C=1a6ER                ft:~CFf ht~RCUPtY                                                                                                                            11P
          ~~au ~ ~{~l'ti~ikPiS FUHGt LSP                                                                                             STATE                                               32,f.~d
                                                                                             CITY.               QER Cti               fL                                                      -___._._..
                                                                                                   OAY Fl1  r+W
      --~r. _cR ADDRESS.          9 6tf1
         tu~,~ ~f rt4~ur~A F~,RF~                                                                             ~r tu.~K tats
                                                                                              ADDRESS                              ZI~?A                                                                    _—
                 QL t                                                                                        v'U~b;EYSVZIt~~ IdD                                                                      __
      DLf~E  NI-iF                                                                                      ..._
         ~tii~.it' ~IniRi~nTAE.            _                                                                                     -
        n~"'ALEo   SI GN AT URE
                                               -      -_
                                    _. _
         ~ ~
                                CT INFORMATION                                                                                                           - COVERAGE SELECTED
      3. 5 RVICE CdNTRA CT PE~2fOD(MQNTHS 1 MILES1 SELECTED                                                                                                                                                  —~,
      ~
      ~          SEi2ViCE  CO NT RA                                                                                                             GOLD              ~(
                                                                                                                                                                  u                                               ~,
       9                                                                                                                                                                          p~a.r~n~r,~
                                                                                                                                                                                                        >~'
                                                                                                                                            GOLD PLUS ~
                                                                                                                S ❑
                                                 ES ~                 X84 MONTHS ~ 1UO,000.MIL~                                                                                                                    ~
           iZ MUNTH518D,000 MIL                                                                                                                            DEDUCTIBLE SEL~
                                                                                                                                                                                            CTEG              p
                                                                                                                                                                                                                     '
                                                                                                                                                                        zso~~ ~                       ~;~~~, ,1--.~-
                              0 MILES~'`~                                                                                                          so                                                      /~~/ ~„~`
           72 MONTHS i 100,00                                                                                                                      ~                           '
                                                       ~                    ❑                                                                                                                          r'
                                                                                                                                                                                      .~.~'!}:'7— ~ fi {
                                                                                                                                                                     iY d JE :•
                                                 t20 MONTHS t 100,000 MILES                                  -                             "WAfVED iF R!-.v5~~'_:.
                                                                                                ~                                                                             ,.,,..c ~.._- ~ ~!
                                                                     -.                                         MILES                      rc no Deductible ~~; Eras .ner~
                                                               70 DETERPAIN                E E%PERAIiQN- DATE 8
                                          RA   CT  PER   IOD  "                                                                            DecfuUibie will appt.:~_......_                   —__~
              SEE "SERVICE CONT                                                                                                                      -
                                                                                                        mites'U`_
                                                                               modal yearaM at odometer
                         ic6 Cant ra~f be4i r,s on Janu ary 751 Your Vehicle's
                This Serv
                                                                                              ____---_ _ _—s'~
                                                                                E SE LE CTED   ABOVE MUSE
                                                                  DEDUCTlSL
           '~
           --    -
                  SER   VIC  E  CO  NT  RACT PERIOD AND                       TIF IED  WA RR AN  TY                                                                           _               _
            ~                                                 CTURER'S GER
                              FOLLOW THE MANUFA                                                 --
                                                                                                     CONTRACT PURCHASE
                                                                                                                           GA`%
                                                                                           SERV  ICE                                                                                                                      t
                             _ —                    SE  PR1GF           ,~^ (~
                              TRA   CT  PUR   CHA
            j:;ERViCE GQN                                                                                                                                                            •-.
                                                                                                                         '. _-.-                                        _ ,.-~
                                                                                                     ,M1YkPPLi 4„_~.'I.~
                                                                               itNOISSECOk{]ARYTp
              i
                               CCM  fTR RCT   I2U  NSC ONCI}f2RENTWI"i"H,
              'THISSERV7CE
                                                                                                                                                                                                                              ,.
                                                   RMATION
           4. GUS~fOMER INFO                                                                                                                                                                                                   i

                                                                                             ._.. r.               ~                                                                              i     ~~r~q
                                                                                                                                                                  ^~=       FL.
                                                         —
            1-
            r-                                                                                   ~ ~.~EYLANfF
                nGGP~.,ESS~ 4R~.f~L'C+~Tdtd AUf ~B                                                                                                                                  NOi REc7Uln~; r.+~~VRD~
                                                                                                                                                                                                            ~
                                                                                                                   v~tiiiiACT!S
                                                                                                   O'=^RS5~4':~CcY
                                                                                  NR7TNFPURih'AS~ iF~7r YE.HIr_E.
                                               F.R~7~            YOUlJNDEXSFAMDT     CR TO PUNCFW A't
                ?F_~EF'Fi~>NEhlUf~AB                             FQ DSTAfN FINANCING
                     i                                                                                ~..                                                                                                          —

                                                                      r                                                                                                                                  -             -, ,,.~
                       ~~  to Cuu  orn  er                                                           ..~. .._. :>•- ~~_:  . . r  _~ ~ ~~ _~-'_'~.rie ~:
                Noa                                                               ..,a. r~ga~~
                                             t~ia;nau?`~orizat;onpricrtot                                                                                                       wr ~_ _r - . _-__                       ._.-a
                  ~r'ciareret~ui-erl~_=x                                                                                                          ,:se-ne~!s"IfTourfa~i~.r
                  f~ a~stnicli;~ns.                                                  _  ~ ~~r   i,s   ~~  r_: : =~.;,~ i ~ " ,~ .erar.~R~;,~
                                                                                ~~F
                                               ~~~ .<<~_n:~~cJ~e.0 a
                d Yau-~;~~st ;~!;c~s~.                                                                                                                                ; be ev~i.a[,-.
                                                     ~ie~ied ,~.crair;-                                                                  :~ wr:~;r~•n~ ~1:ons ma.
                   B~eakd     ex- n,'r o~'~ 3~'t ix
                                                                        e n;r  r•e ~   ~r~_ ~: ,~ ~~ the .~.°c:b;F :'7s ~'ehicie                                                                                            ~~
                                                 Purchase Pric                                                                                                         aGr ~ ~ h ~ :~                        -
                                                                                                                                                                                                             :
                • ine Service Contract                                                                                        sit  Ycu  hav e read, undentan^ are                                  r         ~~,     _,~.,- ,..
                                                                                                    , You r.:   n         ~c                                             ,r~sn~r~e    .~   :-.~.
                                                                 Only: ~ «1-~~~ 4 :tr.~                                                        VehiGe and *elan ;4
                               Washington Resideni~                                                               fs for rc~taeurro Your                        e~s,"C. Pan:r,~ z ~' .,ri
                                                                                                                                                                                                 m         L        ,~ ~ ~i~:
                                                                                 ihr~a~ [c: R_ r2eauxe~r~en                                                 iNt~
                 j             S~rv~ce Corfiiac     t, irtc ~ldi rrg.   bit ,~!
                                                                                      resrc~Guired    tofi leae laim urni  erSe rt~onVi. sr`o,rFisspo  nsib
                                                                                                                                                                          ~ct~ e~,« ~  E.  'he       ~  ~ w         ry         ~r
                               -~~in  int ena r~c  eRe quireme~xs`S.P                                         md   Itmi t shc fwn  ~  Sec tion 3 on the inforr~at+on                   n ~sr~ .~i~   5 r ~    ~ r~;     .,I. +~(?
                   i~•~,:~+°                                                                          ct Per                                       if the Service G~nU3Gt ita5
                                                                                                                                                                                  bee
                                                                 ` [7. Your Service Contra                             n 8chedu~e is not waived
                    ~e         Service Contract Covers                            in Section t on the (nfcxmaBO
                                                    an  the   Veh  icl  e sho wn
                                t~ierchanfahiiiiy
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 50 of 86 Page ID #:7879


                                                                                                 tration Process
                                                                   Gmail -Ford Transmission Arbi
   11 2Ur2020
                                                                                                                                           7~:ii.„;,n-,~a
                                                                                                                      l w ~Croondtr ia,c~r




                                        Arbitration Process
      Ford Transmission
                                                                                                                                                    1 PM
        m~~.sage                                                                                                        Mon, Ju~~ i B, 2(~1B at 2:5
                                                 ates.com>
                         arkie@demarsassoci
      Chazney Markle <CM        ~cr oun dtr e@g mai t.com>
                         l.com"
      70:"croundtre@gmai

                             ndtree,
         Dear ~c~-~sance Rou

                                                                                                                   a ~~ ~~ ~ ~~. _ ~~;~ ~~ ~~es not
                                                                  ks  bes t in  Goo gle Ch rome ar~~ =i~F==, —~                       ~ i .~,t a~~
                                                          on wor
                                  ting us. The applicati                    ing issues, you ma;~ r~~~
                                                                                                      ~ ~ .~ ;~-
         T2-tar~- yow fur contac                       are stiA exA eri enc                                  ~r ~,    ~ ~  _     ~ ~ _.  ~ ~.-~~ ~_ an
                                    rtphones. ff you                                     continue t~ r Vi e-
         ~•.cr?:~ cr: a~tets or sma                          ase  let me   kn  ow if you
                                  m your web browser. Ple
          -ask_ ~ c~:~nies fro               ona l questions.
                         ~r have any  add iti
         a~cl;c~~ ~r: ,




                                                          ~   ~         ~~
                                    's- ~ ~ ~ ~~4~ l                     ~




                                                                     ~...,            .~.




                                                                             ~, .~                    m
                                                                   w,
                                                                                 ~.          .
                                                                                            l~ ~~,1
                                                ,~f




                                                                                                                                 -~.   ~                 '~- _
                                                                               =a erm[hid=thread-~`7:;A    1oG3637~929~78?'
                                      iiul0?ik=a5a     a37e9'14&vieov=pt&sean.h I&p
           ht[ps./1maiLgoog(e.comfmai
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 51 of 86 Page ID #:7880


                                                                                                          for your   2014 Ford Focus
                                                                                     m you have submitted
                                                             Fv~d: Regarding the clai
   -^„~,~;~-^ ~

                                 :c.:aoi.ccm,
                  From: r.rgrv~r
                                      ~o~~.cor~
                    To; RD~JESU''~~'                                  rr~ tted for yaur 2 14 Fore
                                                                                                  Fours
             bje ct: Fwd : Rzg ar ~r~~ ~>~,~ lai, r ~. r_~ haa-~ s~~b
          Su
                                         "2:~1 ~^~                                                                                             ~.~`:
              Date, Thu, Feb t 2t?19
      Fttachments:

                                   m
                  PDE~ESU7@ford.co

                                                                                    ion ford focus
                                                      tlement claim for irarsmiss
                    A NA' ~+plates on the set




                                        p@aol.com>
          ~, .. ., - :. ~,~.;-_7-cu
                    e <~T~ ~ ~ ~!~  r2@  gmaiLcom=
        ~~ ~ ~
        ~~~. Fr       _, '~, ?:4~ pm                                         2014 Ford Focus
                                , -.~ the cla im you have submitted for your
        ~u~~Gc: _ ~ =




         -----C,r~~~ ~    ~ . . .- ---                                    n?
                       -._.       _                  ~ ~~QEJESU7@ford.cor
         F~am: ~
                                                4 ~-.                                 2074 Ford Focus
         Sent: ors J,,r; ~_                       ~       ^a~.v submitted far your
                                             -
         Subject: Fe~~r::                                                                                         These Inifia! question in
                                                                                                                                            order fo
                                                              'ga ve Ms.    Con sfa nee Roundtree answer
          Gc ~c ,~ _ -. ~                    ~ - ~ - -=Y                        the claim.
                ~..                              - _ :. -,~. ~?~a~ess of
                                                                                                                                  your claim for your
                                                                                            !  am    the specialist assigned to
                                             _ .:- _ = _ = _>~~ .~.,r
                                                                      r^ fiord  Mot or Co.                                  However,!need to gather
                                                                      ~;r act for the Elig ibil ity portion of your claim.         pond to this e-mat!if rt
                                                    _ _ ._: ~ ._'  ~~
                                                                                                      inthis process. Please res
           __ -. _ _
                                  ~ - _            ~               ~ ~~~der to move forward contact me at the number &extension below in
                - -       _ _.                                                              Em  ai ! or
                                                              ~ -     -    pro   ces s Via                               ne however if there"s no
                  _ _            . -,.      .. .~
                                                    .,  ~ ~ _         ~ ~,~m ,. 3 att  emp ts  to contact you wilt be do re are the pertinent
                                ~~~~ z          -~                                                          t. Below are the
              v _      = _~
                                   ~r~: ~~~  ~r~=  ~ ~ ~~.           _ ~~ ,ry first atternpf to contac your claim:
              _                                                           rr~ order fo sta   rt pro ces  sin g
              _       _     ~ a r;ve Fir, ~ a ~.. ~
                                                                                                                DRESS ON FILE?
                                          ~ r~~  _~~   ~~'  ;    . ~     =,A    SS? VERIFIED SAME AD
            _               - ~~ ~YG  (~~
                                                                                                                   CONTACTED?
                                          c~E  .S~      `~~'  ~';~  `    '.'  ~ ~'HQD YOU PREFER TO BF
            •            ~~-+- S "~E




                                                                                            WEf-tICLE?
                                   ~~ Tf- {~ ~~N [7. +'~ 7LU h~ ,'~ .- ~ r~~~~GFtASFD THE
                         ~;R~- `r^
                                                                                          ?
                                                                --~~~E!~~?RCHASEQ lIV
                         ,•,'~~,'-,~,~,,`C ~y:~.S THE VE~
                                                                                       ?
                                                           }-f,~Gt~~ r~~t:~ISTE~'ED !N
                         ',#-a,~i ~T~TE lS THE v'~"
                                                                                         ED?
                                                              E ~/~J-ftC~.E NEW QR US
                           ::~ `~`~~J r~G'RCNASE 7'N
                                                                   THE VEHICLE?
                              '>'~U {;v`~'RENTLY OWfJ
                                                                         ?
                               _       _ = _ ~~;~;"~~SED IF USED                                                                                              ~l2

                                       .."       ~     ..    '.'essage
             -`u,      uil.d       ~
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 52 of 86 Page ID #:7881




                                                                                                                         ion
                                                                                                   of a fau(iy transmiss
                                                           in  a la ss act ion a year ago because
                                outstanding wGth fiord                                                           nth a~Q.
          st ~a~~ a claiming                                                              t with them aout a mo
                                              as ke d to pro vid e my finance agreemen
                                 n !.. I was
         :~ui~~ tie Far da lemo
         :                                                                      ues with the car.
                               thi ng yet . t ha d to o many mechanical iss
         r av~ -~f~~ heard any




                              s
          k~our 2Q14 Eord Focu



           i~vpgroup@aol.com
                                    PM
           Fr', Jun 29, 2018,9:44                                                                             ~~~Rt ._
                                                                                          rd.com> To: E ~':
                                            : Dej  esu s, Raf eal (R.)(R.j <RDE)ESU7@fo
                                 e---- From
            -----Original Messag                                             Subject: Regardin
                            OL.C OP ✓I> Sen t: Fri , Jun Z9, 2018 5:25 pm
            <IWPGROUP@A


                                                            >
                                    roundtre@gmail.com
            Connie Roundtree <c
                                  :25 AM
             Sat, Jun 3Q, 2G18, 10
                                  law.com
             ~o alex@filelen~on



                                    om   Ford.
              sere ~s the letter fr




                                   ssage ----------
               ----~-- Forwarded me

                       z1~;vRgroup@aol.com>

                                     , 201$
                ~ w._ =r!day,June 29
                                                                                                    cus
                                                             submitted        for your 2014 fiord Fo
                                        g the claim you have
                  :~ pct. =wd: Regardin
                                         il,com
                ?~: c~ccF~-~~tre[c~gma
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 53 of 86 Page ID #:7882


                                                                           Fwd: Arbritralion

    . _ ~_


                               stone,com,
         "., -~•: a,,sci~~~ea~

                                       2C~1& 4:13 pm
       ~atF:-h~=, '.'3r ^s,




                   ..~ ~laSS~~2-----
    ----- _
                                                     e.com~
                             ord}awsuit@capston
    -_ ~zn~ a ,suit <f                  1x: 51 am
                            17, 2r~18
    c~~?~ ~ . ~ 'P~.:a;z
     _. _ -~:-~. ~,-~~itra;~~
                                n                                                                                        contact Fard before
                                                                                  on ba ck in Oc to be r and was told to
                                                                           itrati
                                                    suit. I elected to arb
                              ;4 t~ansmissian law
    -_ . " -::~e F~r                        t heard fr om th em  an d need
         . -       - a c'aim. ! ha~~e no in the process.
                       rat s th e ne xt step
            .. ,  ~~e~                                                                              since 1 bought it.
                                                          s be en in rep air of the transmission
                                                       ha
                                 a Ford 2014 which
      i~~~r-k ~;~u gave
                          e~
       ~ ~s~'~~v ~~~t~idtr
      ~Ci~.-~~?-~27?

       ~~e1~~-~ ~_= 3~?21




                                                                                                                                               1/1


                                                       n-uslPrintMessage
                                     con~lwebmail-stdle
              ~ tlos' :~~~:2~J.aol
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 54 of 86 Page ID #:7883


                                                                                                            Motor Company Claim
       _ _=                                         Confirmation of receipt of your online Vargas v. Ford

                                                   ,
      From: infa~a'~€dtransmissionsettlement.com
         Ta: i.~; w~rauG~aol.com  ..
                                                   Vargas v. Ford Motor Company Claim
    Sub~eci ~.o~trmatior~ of receipt of jour oNine
       L~ate~ h~ian. ~1pr 2, 2Di8 5:25 pm


                                                                    your            online Vargas v. Ford Motor Compam~
                                SUT3JEGT: Confirmation ofreceipt of
                                Claim
                                                                              ~-2'261 S:?S:U^ PM.
                                Thanl. you for filing your cl~irn or~iir;E nn

                                four Claim lD is: TH-100113690
                                                                                s 3rd u~~_ :l-:~ Ctaim ID iu any
                                Please retain this inforn~ati~n in ~~our record
                                                                             r~:~~.
                                communications ~Nith KCC regarding this




                                                                                                                                  1i1
                                                     essa~E
     `,r.:~s nall.aoi.corrilwebmail-std/en-us/PrintM
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 55 of 86 Page ID #:7884


                                                                                                                                         Arbritration
                                                                                                                     Undelivereble~ Fwd:
          ~~'
                                                                                                    e
                                                                               flow settings to mak
                                                       your Offi[e 365 mail
                                    this error. CFeck
    _ .. _ _ . _.~. ^,gs _an cause                                se: up correctly. Aiso,
                                                                                          work with your
                                                conn ecto rs  are
   ._ - ... _           a~~ and any mall Nnw                                           igured correctly.
                                                                your domain are conf
                                          the ^hX -ecords for
   ~ ~m
   ~             _~ s'rar to make sure
                                                                                                       iar
                                                                             r1
                                                                             ~i77 dri de[~~:er~~ i;~e>
                                                      to fix this issue, see
                              ~j an4 a~~diilara) tips
    Fc~r more ~nforniado
                  -        :Of£~ce =~~


                      e Details
    UriyinaP Messag
                                               PM
                          3/IS/2015 3:13;01
     Created Date:
                 ess'     ivvpgro~pC~aoLcom
     lender Addr
                                                 e.com
                          fordfawwit[NcaGsto~~
     Redpient Address.
                          ~vvd: Arbri trati on
     Subject:



     Error Details                                                               d; Recipient
                                                          .AURRecipienfNotFvun
                                      550 5.1.10 Rf50LVEH                                   lookup
       Reported errac                                        com not(oand by SMTP address
                                      fordfawsuitL cnps tone
                                                                 5-pr od outlook. wm
                                                            prd0
                                       EItJPRU5~v161939.nam
        DS~1 generated by:

                                                                                                                                                                                                               6CELAY TIME
                   s                                                                                                                            ~•rt7H
      M essage Hop
                                                                                              TQ
                    11-[MME(LfTCi   FROM                                                                                                                                                                       '
        HOP
                                                                                                                                                HiTP IWrub1a711(}
                                                                                                                                   nei
                                                                                                  we6jas-vadf160srv.admail.
          1         3(15/2Q28       ;7.143.45.724
                    A:1301 PM                                                                                                                                                                                  `
                                                                                                                                                ESMTP
                                                                                                                               om
                                                                                                  mtaomg'aahDLmx.aol.t
                    3lZ~lZQ78       cortacb04gmailaoLcam
                    $:13:01 PM                                                                                                                                                                                  1 sec
                                                                                                                                                 ESMrP
                                                                                                  omr-m020eanxaal.tom
                     3I251~18       ~omg-aah0].mr.aoi.mm                                                                                                                                                        1,~
                                                                                                                                                                          ~ve~si~n-ii5~_o,
           l         3:I3:02 YM                                                                                                                  MiQasok SA'fT➢Server
                                                                                                                                                                             5_256_CSC_SHA)
                                                                                                   ~NIHFFO11FD007,mail.
                                                                                                                       protectionautlookcom      ciphc+-TLS~iLS~d 'NI ~ H_nE
           y         3/E5202&        omr-m020e.rru_aoLcom
                                                                                                                                                                         {uersion=YLS1_2,
                     S13:Ci PM                                                                                                                    Microsnff SM iP Server                      t4'~35h}           z
                                                                                                                                                                            ik1_ACS 2b6 GBC_~
                                                                                                   DMSPROSflt0008outloo
                                                                                                                               koffice365.rom     t~~y=TlS_K~HA}tSR~`M
                     3/;SJ2~I8                           c[iona61
                                     ~~iBiG011FW07.Fvate
                     8.13;03 PW,                                                                                                                                              (yenioa=Tt53_2,
              5                                                                                                                                      Microsak SM14TP ti~•,ver                           D~=i
                                                                                                                       OS.prnd.ouNovkeam                                        WifH AES_256,.,CM. SHC,;
                                                                                                   $1VVROSMB1939.namprd                              cipher=Tl5_ECDHE_~
                                                                       .prad.vutlookcu=M
              6       ~RSRQ18        pM5GRB5GA0Gi?S.r~amprdClS
                      A:13:03 PM



                          e Headers
         G.~igiaal Messag


                                                                                                                            ~a::,.


                                                                                                      . . 'c -        . ._4~~ b'~i
                                                                -



                                                                                 _            -       ~..~G}




                                                                                                          ~roA mum;
                                                                           -




                                                                                                                              ..
                                                                                                         c.

                                                                                                                                                                            ~,.. _~. _ w__, .L,     e. ,...,
                                                                                                                                                z_     _' -.,      t. ~_
                                                                                                                                         i~~
                                                                                                     ^et ii0 ~E .'_:
                                                         ....       e. t- _5    3,e ~5r~= .d_A .~...
                        ,...



                                                                                                                     a~
                                                                                                                 r
                                                                                                            ._
                                                          _         fd. :}tee        i.13i. i; . ..,.,_...~
                                                    ~.




                                                                                                                                                                                                                             2i3


                                                               -uslPnnlMessage
                                    oi.c   orrc~wetrmai!-sty/en
                  r,tt~7s.r':email.a
    Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 56 of 86 Page ID #:7885


                                                                                                                                                            on
                                                                                                                    Undeliverable: Fwd: Arbrttrati
           '
      ' _ ,, _
                                                                           mail flow sett~nys to make
                                         error. Check your Office 3b5
I      -~ _ _ _ ...,- :~s can cause this              ecro rs  are set up  cor~e cl~y. ~Iso, work with your
                                      mail flow conn
       .,.. _~.r cen~air. and any                          s for your  dema  i~  are co nfigured correctly.
                                     sure the t•AX'ecord
          ~- ne ~`. *=~`s~ar tv make
                                                                              Fic en»ll ~eiivery= 'ss~es for
                                            ional tips to (ix this issue, see
        ~ ;~ ~ .rx~ iniormatior~ and addit


                               ils
        flriyinaf Message Deta
          Created Date:     3/ISI2U18'~:13:01 PM
                            iwFaroupC'aol.com
          Sender Address:                                          .tom
                                        fordlawsuit@cap5tone
           Recipient Address:
                                        Fwd: Arb~rrsation
           Subject:


         Error Details                                           ecipientNotPound,~
                                                                                      Recipient
                                        550 S.I1i1 RESOWEk.ADRF
           ~ euorted error;
           7                                                       not foun d by SMTP address lookup
                                                          a7e. cnm
                                        fordfowsuit@cnpst
                                                                OS.prod.outlook.com
                                        B~UPFOSM61939.namprd
            DSN generated by:

                                                                                                                                                                                                               REV+Y TIM€
          iNessage Hops                                                                                                                                   WfTH
                                                                                             Tp
                       TlME(UTQ       FROM
            HOP
                                                                                                                                                          HTTV IWeLMa847q
                                                                                                                                    t
                                                                                             we6jas-vadU6UsryadmaiLne
              ~        3/IS/2018      107.143A5.714
                       a_xs of vM
                                                                                                                                                          E4A17P
                                                                                                                               m
                                                                                             mtaomg~aahOLmx.aoLco
                       3(li/2028      ~orrac604g.mailaoLcrnn
                       8:1391 PM                                                                                                                                                                               1s
                                                                                                                                                          EShiTP
                                                                                             omr-m020e.mxaol cam
                      'R~~n28         mtaomgwh6Lmx,aol.mm                                                                                                                                                       1.~
                      &1392 PM                                                                                                                                                    a~enl.~~=IISl_o,
                                                                                                                                                          Minusott StfT't Setvvur
                                                                                                                                                                                      2~l~ CP.C_SHRj
                                                                                              eN16FFO11FDW7.mail.protec
                                                                                                                                        tion.outlaokcom   cipher=TLRS4_wPH k~
               ~       3tF 5/2018     omrm02Lse.mx_aol com
                       Z:I3:0? PM                                                                                                                                                     ian=T~51_2,
                                                                                                                                                           Mierosok SMt ~~ Senn ~ve(s
                                                                                                                                                                                      H AC5.2~C6L SF)tti~ii
                                                                                              DMSPROSCA0068.ouUoofcoff
                                                                                                                       ice365.c                om          cipher=TLS_Ef~HE_R5.4_YJT
                        3/15/201&                                    n.gW
                  5                    gNiBFFOF1fDd(17.protec[ia                                                                                                                                                 ,,
                        Ec13:03 PA7                                                                                                                                                   ion=TL51 2,
                                                                                                                                                           Mioosoft SM7P kr.~~~ (vers
                                                                                                                                                                                        AES_25$_G[M SHAi~:-1
                                                                                              BLUPROSM619's9.na~np~dOS.
                                                                                                                        prud.outlonkcom                    dpher=T~ECDHE_~WRH_
                                                                     pru3.uutloak<a:n
                  ~     3(.Sl2(~IS     DMSPR05CAOOL'c.namprdtl5.
                        8.13.03 PM


                                  ders
             Original Message Hea                                                                                                   n,




                                                                                                  ~.                      t,.;
                                                                                         -                      ~     _ ~ s~;-

                                                                             ~      __                :P~- ..u~iP2
                                             -            _.                                      .g.:'u:
                                                                                                    e . ~ b        1PG}
                                                               -                 ,. -
                              -
                                                                                                            C        Era?_e>



                                                                                                       ..                ~~0'i 5,._rt.
                      .. _                            _                             .,


                                                                                                                               _.




                                                                   ca^




                                                                                                                                                                                                                            Z!3

                                                                                 essage
                                                 vebmaii-stot~n-us/PrintM
                  ~ff~s 1~'mail.aoR.comh
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 57 of 86 Page ID #:7886


                                                                                                                       or Company Cfaim
                                                                                                    Vargas v. Ford Mot
                                                                           receipt of your online
                                                    Fwd: Confirmation of
     _ _ . _.


                                                                                                    im
                                                                                  Motor Company Cla
                                                               ine Vargas v. Ford
                    ~ :- -     - -       `~e~ei~~ ~~ ynur onl
            .   _




    .__~ :: _ ... ~ssaye--~-- up@aol.com>
     _-.         ~ o~~~ <i4tip~ro
                                        om>
     —~         V ~r~ ~!~~~~group~aoLc
                                 1:4 9 pm                                             r Company C(aim
       _ - _~. .;ar 1~_ 20
       .                      18
                                       rec eip t of you r onl ine Vargas u. Ford Moto
                                    of
            _ _ _ ::c: Confirmation



                                     ---
      -----`~~=~~i~,~i Message-- ansmissi~!~s~„ierne~s.e -:>
            n; inf o <_~ ~~~ ~~f urc ?tr                                  —
      F~c                              cz~~~l.o:or~F>
      Tom_ i~.ti~:~r~uF~ <rvs~3~~i~p~ 25 pm
                                   18 5.                                                           r Company Claim
       Sent: Mon, Apr 2, 20 of receipt of your online '~.~a-gas v. Fard Moto
                                   n
       Sut~,ject: Conflrmatifl                                                                                                        v
                                                                                                                 v. Ford Motor Com~an
                                                    ~;~ ~if ir  ~~i, +r::      ;i:~.i ~~~ ..;i;r cmline Vargas
                                      SUBJ~  ;~ T.
                                      Claim                                                                       2 P~,1.
                                                                               .. .. ._-. ~'~ ",:~ 18 52S:t~
                                       Tli~nk vc~<< , ~ .zI~F
                                                               III-lnnu;~,vtl                                  e ~lai~t 1[~ in anv
                                       4'ow- Claiin ID r>:                      ~ -. _ __,?~. ~ -.: ,1 use tf~
                                       Please reta             .~~._~ ~
                                                                   ~,  ~.,                  ~- ~ _ :..
                                       commu~r~sv,                          ..~- :---




                                                                                                                                          ~~~

                                                                 age
                                      webmail-std/en-uslPrintMess
            ~~t?.;~a. ~ra~+.e_o'-coml
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 58 of 86 Page ID #:7887



                                                  ODOMETER DISCLOSURE STATEMENT

                                                                                                                  ~~-
                    F~cieral la~,~,~ (and State iaw_ if applicablei requires That you state tr:r~ ~~~~~ ~r~~~~ __
                                                                           a fais~ stata!~en ~ r- ~;     _~ ..    - _
            transfer ~f c~.vr,ersr~ip. Failure to complete ar Rroviding
            andlor it~nprisariir~~~~ .

            i. Ganskanc;~ Ft~:.~ _?r~~ ~ _ _f=';~~ ~ '~•?'.~, F ~nt~ slates :hat tr:e _~_^--_~                            -. _
                                                         :.c=: ^_~` ! ly K'I~:JEj~@ i'lai ~: c~ieGiS ?~E c"_ 3        ~-_     ""    -
            ~~30 tF:lltfl'S,~ 17li~@S c.','~~ ,_~ [_
            ve(~icieclescribe~bri~.. .. - -_                     _ _ - .~~~f~i!c•.~i~o~;a-~~re~:rs s     :,~ _.

                    (1 1 h~r~by ~r~                     - - '- '"~ cis: ~' ^~.~ f~   ,.,~~ ~~ .~e _,_
            the amc~ ~~~~-~~. of n~ila~~1~ .           _ ~_-~ :~ 's r~~:,~,a~,~,~




              ~ .~
              ,                                                    FC~RU
            ~.locte!    _.__._-----                                FOGUS SE
            ~ar_ty T~p~                                            SEDAN
            ~t~hici~ centifica#ion Number :                        iFADP3K23EL153268
            Year                                                   2014


            (Transferor`s Sfgnzture)


            (Printer} Name)
            Transferor s F~ddress
                                (5t~ect)




                                                                    i:StatSi~                              - _.
              ._


                                                                                                                        -          _ .
                     >~,r ~r~~e,:}ior~ Florida law requires the #olio~vir~g statement t~ appear on tn~~ fr~r~~a-:
                                                                                  any  insurer files a st~tE ~~~~::~ ~ •Y ~  ~ c~~     u,
                     e~~.~.~~~~~ly and with intent to injure, defraud, or deceive
                                             any  false; incomplet e, or misleadin g informatio n is guilty o~   a   ~t~   _   ~y ~~ _ -=
                        ~,a~ivri containing
                          -ee
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 59 of 86 Page ID #:7888




                                          Orlando VA Medical Center
              .
              ,~lan~ojCl2rmor,.tjDaytena%Kissimmee/Lake BaldwinjCranae Cit~,~%Tavares/Vies
                                          13800 VeLetans i9ay
                                          Qrlando, r?~   32827




   ~~ep ~8, ..~20

   Pl.etcY_e~- , ~r=aorY
    _ _3 5 kr_<ngton Ave
   ,_`_ad, Florida 32;24

   Dear'
       ,~r. rlei.che

   Th_s letter is ~o inform yon abou~ your recent test results. Pease note
   tY:a: t' he oiderinq provider reviews all the test results an.3 takes necessary
   action. ~t is common to haves minor abnormalities on blood tests, x-rays and
   r tl-_er tests. Therefe~e, it is not necessar~~ for you to contact the
   rroviders o.bo~t such abnoY-malities. However, ~f you bel~eve that there ~s a
   s_gniicant a~r_c»ial.it~% and it has not beer. addressed, pieuse contact the
   or:iering provider. Note: TLis letter was created by an automated so~twa~e.
   T':~e wetter ser_der m~.y nct have re~aiewed these test resu-ts.

   Rega_rdinq your ,gab rest results
       A lab result value, though outside of ine normal, range, ma.y be OK for
        youi s~tuaTi_on. Tne ordering pzovider reviews tl~_e sigr_ificance of each
       te~~ r~~~ilt, anc: whether or not it needs ary n:ed_ca1 ~ntes.~ven~ion.

   R ~port I:eleased Datej'Pime: Sen c8, 2:,2G~~15:18
   Frcvider_ QA~I?I ; SUb9AYY'P_
        ol~~~ci~~nen Collection DaY_e: Sep 28, 2C~Oc~10:45
           Test s~a.ree                 Result    units        Ref.          range   Sipe ~n~E
   FrUSTT_TF Sr~CIFIC ANTIGE_d          0. ~4    ng%mL        0 - 4                   X67]

   F.epert Ke7_~ased Late%Time: Scp 28, 2G2C~'=x:39
   P:rovic:eY: ~~f?I:, SJ~~~YYA
           E;p~ci.men Collection Date: Sc
                                        -T~ 28, 202.OG10:45
              -'est name                Result      units      Ref.   range          Site Code
   F=:t~S .'~1C                         12.E h    ~           4.5 - ~.6               [6^]

   Report Released Date~Tin~~e: Sep 2Fi, 2020 15:.-i2
   Provider: YIu~RI,SUI~7AYYA
       Specimer_ Collection Date: Sep 26, 2020~a1C~:45
         Test r_air~z               Result     unity           P.ef . range          Site Code
   TSH                             0.530      mIU/L           C.35 - 4.94             [6%j

  Repo-t Released Date;`Time: Sep 28, 20?0~?15:02
  Prcvid2~: QADRI , STJ'viAYYA
       Specimen Coiledion Dare: Sep 28, 2020 10:45
          Test rlan~e             Result.     unit             F.ef.         range   Sites Lodz
  GL"JCCSE                        .296 H    mq/dL             ~~   -   1~~            ~b~7~
  JFEh NImROGEP?                      18    mg/dL             7 - 20.6                ~67j
  CREFT=3~Nr~                      '_ . 5 H it~g jdL          ~ .7 - 1.3               67]
  30DiJM                           136      mEq%L             136 - 145               [6'?]
  ~ ;T~STU:`~'                     4.6      mFgiL             3.5 - 5.2               [5?j
  CIiLGRI~)r'                         9E~   mEq!L             98 - i09                [c'J
  CO?                                 3C    mmol/"            22 - 31                 [677
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 60 of 86 Page ID #:7889



 OTHER IMP~RTANT~IGREEMENTS
                                                                                                                                                                             ~; ,
 1. FINdNCE CI{ARGE IIhID PAYMENTS                                                                     tt you paY late, we may alsa lake the steps described below.
                                                                             any Prepay
    a. Now we will figure Fnence Charge. We wiN Veat                                                   b. You may here to pay all you owe at otuee. If you bre~c your
         Fnance Charge as         fully earned    cx~ the   dale  of  Ihis  ~ntract_    We
                                                         on  adaily     basis at tie Base                     promises tdefaultJ, we may demand ihat you pay all yc~u Dove on
         will  figure the res# of the finance  charge                                                         his contract at once. Default means:
         Raie on the unpaid part of your Prirncipal Balance. Your Principal                                   ~. You do not pay any Payment on time; .. .
         Balar~e is the_ sum of the Amount Financed and the Prepaid.                               _ ~                You give.fa~se, incomplete, or misleaCing.inwrma5nn on a
         Finance merge,if any.                                                                                       aedit application;               _     - .- .
     b. Haw we wul apply p3ymems. We may apply each
                                                                              payment to'.                            You start a proceeding in bank►uptcy or one is started against
         the earned and unpaid part of the Finance Charge; t+o the unpaid                                             you ar your property; or
                                                                                                                      Ywi break-any a~eemems in this oontracf.             ~ --
         part o1 yaur Prinapal Balance and tooffer amounts you owe u ndec                                                                     will be  the unpaid  part of your i'rincipal
                                                                                                               The     amours  you  will owe
         this contract in arty orderwe choose_
                                                                                you must                       9alance plus the earned and unpaid part of the Finar~ee Charge,
    c. How fete payments yr ea~9y psyments_chenge what                                                       - arty late charges, and any artqums due because you deiaultecl.
                                                        Total  of Payment     s, and Total
                                                                                                         c. lfou may have to pay collection costs: If we hire an attorney to
          pay. We based the Fnance           Charge,
         Sale Priceshown on the front an the assumption that you will make                        •            collect what you owe, you will pay the attorney's lee and court
                                                                                           of
         every payment on the day it is due. Your Fnance Charge, Tonal                                         costs as the lam allows_ This includes any attorneys' fees we incur
                                                                                                               as ~ restdt ~f amp bankruptcy proceeding brought by ar against you
                         and 7otat  Sale    Price  will be   mae     if  you pay  fate  and
         Payments,
                                                                                              .     _
          less if you pay early. Changes may take the (orm of a larger or                                      under federal law.                       _
          smaf~r final payment       or, at our  option,  ma~e    or  (ever   payment    s of            d. ~We msy lake the vehicle from you. !f you default, we may take
           the same amount as your scheduled payment with a smaller final                                       {repossess) the vehicle from you if we do so peacefully and the law
           payment: We wiN.send you a notice telling you about these                                            albws ft..lf your veftide has an electronic U'adcing de+rice, gau
          changes before the final scheduled payment is due.                                                    agree that we may Ilse the device to find the vehicle. it are take the
      d. You may prepay. You may prepay a~ or part of your~Pri
                                                                                       ~ipal.                   vehicle; any accessories, egwpment, and replacemer~ marts will
                             time_  ff tt~e ooniract  is paid   in tuN   within six months                     .stay with the vehicle. if any personal items are in the vehicle, we
                                                                                                                may score U~em for you at your expense_ If yat do not ask for these
           Balance    at any
           otter the date you sign it, we may irt~ose an aoqui'siUan dfarge,                                    items 5adc. we may dispose of ahem as the Iaw aYows.
           not exceeding $75, for services performed an. your behalf for                                  e. Mow you can get the vehicle bade ii we take it. It we repossess
            processing this cant~act_ If you prepay, you.must pay the earned                                     the vehicle, you may pay ~O get it back {redeem}. We will=teA you
            and unpaid part ofthe Fnance Charge and all other amounts due                           ..           hOw    mt~h Eo pay b redeem. Your right to redeem ends when we
            up m the date of your paymerd.                _        -                 --                          sell fhe v~ida                       .
      e. You may ask.for a payment extension. Yai may ask us
                                                                                        fora .            L We will sal the vehicle ~-you do not get ~ 6ack. N you do-not
            drfe~ral of the  s~edufe    d  due  date.  Ot aU  or  any    pad  of a  papmer~t                     redeem, we wiN sell the vehicle. We will send you a written notice
           (extension). If we agree to your request, we may charge you a $15                                      of sale bore seeing the vehicle-
            extension lee. You must maintain me physical damage insurance                                         We wit apply the money from the safe, less a9oaved expenses; to
            required by this canUact(see below) during_arry extension. N yW do                                    the amount y~ owe. AllaweA e~enses are expenses we pay as
            rwt have this ins7urance, we may buy it and ct~atge you for it asriis                                 a direct result of tatting the vehicle, holding it, preparing it far sale,
                                                                                                                  and selling it Attorney fees ark court cQsls the law permit are
            contract says. You may extend the term of arty q~tional ir~suranoe you                                also allowed expenses. If any money is left (surplus}, we will pay
            aought with this wr~ract .lo crner the extension if the inswance                                      it to you unless the law requires,us to_ pay it 1a someone else. tf
            a~mparry or your insurance contract permits it,. and you pay. the                                      money from the sale is not enough ro pay the arnaint you owe,
            charge fa extending Ibis insurance.                                                                    yvu must pay the rest to us. liyouu do not pay this amount when
             It you get a payment extension, you.wiB pay additional fina~e t~arges                                 we asic, we may charge you ir~erest at a rate not exceeding the
            at the Base Aateon the amour~extanded duri~ rie e~ns~n.You arid.                                       highest lawful rate un61 you pay.
             also pay any additional insurance charges resulting from the exteo-                      " ~ g. 'Whet we may do about optional insurance, maintenance,
             siorr, and the $15 extensbon fee ~ we charge you this tees . .                                        service, or oiler contracts. This oonfraci may contain charges
                                                                                                                   for op~na! insurance, mai~enance, service, or other contracts. li
   2. YOUR OTHEA PROMISES TO US                       -                                                            we demand that you pay aN yeu owe at once or we repossess the
                          is damage   d, destroy ed,or  missing. You agree to                                      vehicle, we may claim benefits ceder these aantracts and cancel
      a If the vehicle                                                                                              them to obtain refunds of unearned charges to reduce what you
           pay us all you owe_ user This ~onVacl even if the vehicle is                                             owe or reRair the vehicle. It the vehicle is a total foss because it is
           damaged, destroyed, ar missing.                                                                          oorrfiscaied, damaged, or stolen, we may claim benefits under
      b. Using the vehicle. Yau agree not to remove the vehicle frail the                                           7~ese contracts and qr~ them to obhain refiunds of unearned
                                                                             in
           U.S: or.Canada, or to sea; rent, lease, or ha~(er any intent                                             charges M reduce wl~t y~ owe-
           die vehicle  or tfiis contract without our written permissi  on. You
           agree riot fo expose the vehicle ta`misuse, seizure, oontiscation,                       4_ WARRANTIES SELLER DISCLAIMS
           pr involuntary transfer. if we,pay any repair bills, stooge ba71s,                          Unless the Seller makes a aaltten waRanty, or enters into a service
          _taxes, fines, or charges nn the vehicle; y~ agree to repay the                              wntraci within 90 days from the dale of this contract,' the Se11er
           amount when we ask for iL                                                                   trt~es-no warranties;express or implied, on the vehicle,~end tl~ere
      c. Security Interest.                                                                            will be rw Ynplied wrdrranttes~of merchantability or of fitness. for e
                                                                                                       particular purpose.                       ,
            YUu givE US a security inierest.in:
               fie- vehicle and all parts~ goods put On A;                                             This provi~n does not affect any warran~ies.ravaing the vehicle that
                                                                                                       the vahide manufacturer may provide_
                All money or goods-received (proceEds} ~Or the u~hide;
                Alf insurarwe; maintenarx~, service, or other contracts we                          5. Used Car Buyers Guide..The IMorm~lion you see on the window
                                                                                                       form. for Ihls vehicle is" part_ of this .conhact• Irdormatia~ on (he
                finance far you; and                                    __
                                                                                                       window iwm overrldea any contrary provisions in the corrtract of
           • AI! proceeds horn insuranc      e, mainten  ance, service, or other
                      mntrartc wo finanro ftN vrvi This inr~4~rfoc anv rafimrle of
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 61 of 86 Page ID #:7890


   11!2UiZD20                                                         Gmail - Re' Your Ford Claim -Documents request Roundtree, Constance



                                                                                                                                                                        av'~C;.;ui-3 cZirt!'!
                                                                                                                                                                                            ..~~'~il >.i.'i.~~~~r;;>




     Re: Your Ford Ciaim -Documents request - Roundtree, Constance

                                                                                                                                                                      Tue, Mar'!9, 20`i9 st 5:33 PM
     Connie Roundtree <croundtre@gmaiLcom>
     T~: ~anielie(c~filelemon9aw.com



       _______.__ ~~~,ti~arded message ---------
       From: Connie Roundtree < _                -   >
       gate: t~1on, Mar 18, 2019 at 5:45 PM
       S~oj~ci; Re: Yaur Ford Claim -Documents request - Roundtree, Constance
       Tip: < :                            >


       :_ -.. ~,- se^dfhemtomarrow


           ~ ?~.`~n. ~~1ar 18. 2019 aY 2:50 PM Danielle Watson <                                                                               > wrote:

          G~nstance.


                                                                                                   them as soon as possiu~e
                rc has requested a copy of your Sales documents and Finance documents. Please send
           c; ~ it .-- your case can proceed.



           ~~.r' Ile 1PJatson
           ='~ ~iayai

           ~~ex Sim~novsky &l~ssociates, LLC
           ucr~surn~r Protection Attorneys

           ~J~,<ia~~al Headquarters:

           ~30G Nendersan Mill Road

           Suike 3d0

           Atlanta, Georgia 30345


           Toll-Free: 3-866-865-3666 EXT 1(313
           Toll-Free Fax. 1-877-838-7657

            Email= ~~ ~i~;dF,Lti~u era~ur~k~sw.uor~;

            ~.Nebsite: v~~,~~i.~ide~~mo3~~3vv.=,.~~ra




                                                                                                                                                                                  1liA~( 1~ PREVILLC;r~,
                                                                             1N~NIEIUR~ OR EN71TY TO WHICH IT IS 1+6DRESSED AND MAY CONTPJN IPIFORt.Ve716N
         ' HIS HhESSAGE IS 1NTENOL=D UNLY FOR 7F7E 175E OF THE
                                                                                            LRW.   iY dta reader of phis incusage   is rmt the intended reapient or agent re~µaisyhle fw detrvenru7 the message to
                                                                      UNDER APPLICABLE
         GONFiDENTIV~L AND EXEMPT FROM DISCLOSl1RE
                                                                                                                                                          fecervBtl WS efeCVDnic vansrttission in error. pleese ~le[ele
                                                                  rty gisseminatxm or rz~p7nrg of th~ communication is sbiwlly proh$vled- Y. you have
         She inlend~n re~ipie~iL you are diereUy noUfie(i lhal -a
                                                                          by reply e-mail a by callitg  7704141002      w  ttiat our address  record can be cortecled_ 1"hank you,
                                                                   sender
         tt Nom your system without copying i~ and ru~eily the

                                                                                                                                                                                                allcarrr.~;-deertt
                                                                  seats an attnmey~c6ieM r~ad~ShYp         between the         r ad rt caves. Tfrta is merely a reque•::[ far infornia4tia~. No
            O!SGlAftrt=R. iAds +xnai mrr~;pandence does not
            reiaixmslup is famed without a wniten lertr~s of repre~enlation.
                                                                                                                                                                                                                     ...   9/2
                                                                   aABpermthi                                     d=thread-f°~3A1628370417955054875°la7Cmsg-a%Slur-49?811521736
     hops:llmai9,google_comlmaillul0~fk=a5aa37e9148view=pt8search=
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 62 of 86 Page ID #:7891



                i~,; i F, ~(J L tl. ~ U ,1~ 1' U ~~T 0/- F'UC KL17tt.H,'~'.S11155'IC), % RELf1 TL!) F_,kP~,'~'SfS'

                IS THERE OR d~YAS 7'HE'RF, A CAR PA.YNILI~'T?

                 ~i~H~T,4R~ YDZ,~~SF,EICINGF7tOA9FOR17?

                DO }'OUHI~IVE,4~'~'YQUESTIONSfn:~nie?

      Oircc 1 receive. this info~~mation buck from you I will need some time to reseurcli irc orr~er to achieve the hest resolution, I
      tii~il! Jnllm-~~ app ~vr.th i~ou }ti•il{ern 1-.i Business daysfi•orr~ the time I receive zhe requested information.
      rizank you fcn~ your patience un~'fime, book fonvarrl to reso]ving yo:~r• concerns with you, Have a wonderer! day!

      T7~ntik t~oufog- voaa~r cooper-utian.

     Rctfu~el Pe Jesus
     DPS6 Specialise

          _~~,



      1~t~~,~,,zd ,+ r o=;-t_~f,~t~~ C)/dice: 86h-S{~'-fi518Ext. ?7911 EFar: 8C~6-209-232
     ,4c{~eduled Hr~+.rrc ~ ,'~Iorz —Fri 11:t1(1;4~n — ?:all P.t1 EST.




    hops:/;maii.col.cort-~i~~.ti~ebmail-stdien-us/PrintMessage                                                                           =-
    Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 63 of 86 Page ID #:7892


f                                                             (aA1~l~ 1fEOMA6V~                                                  FOCS945715                                        ~
                                                                       P J ~: C7 i L 1 SV C~ C7 L h3
                                                                       ~    ~,           ;c.4
                                                                                                                                                                                    CC
                                                                                              —                                                                                     7
                                                                                                                                                                                    +
                                                                 ~ 2~i Ti7n~iOIE2 Fertits RoatS• i3361253~TG31                                                                     ~
                                                                    G:s.Y -u;~A BEACH. FLGftIDA 32724                                                                               ~


                                                         STATE G~ ~ LUHl~A REGISTRATfOlV # MV-06675




                                                                                                                                                 CELL: 904-X23-7217
        ✓~ ~~ ~  2~~~6~                        CHu~i< PONIRis                                          7275 ~~~ v6679               10%11/16               ~FOC~94~715
          ___ _--- _---- _ _ _ ------_ _ _ _---1—
       CflNSTAN~E R ROUNDTREE                              ~        _                          I     39,346 ~/                     'DTG0451A
                                                            ~     .,.h. ~~~                            -   ,—                                   _-
       1~3 5 ARLINGTON AVE #B                                 14/FORD/FOCUS/5DR HB SE                           05/14/16                 31 395
       DELANC, FL 32724                                    ~ieior.: _              ------ --          ----           ..~ -—,               _      _ i
                                                              1 F A G P 3 K 2 3 E ~ 1 5 3 2 6 S                           `
                                                                                                                                             _..._. _
                                                            ~F   na ----            —    err ~.y ._.           oca._~--      - ---      -
       rwPGRo~»@Aot.coy                                     i                                            ~10/11/16
                                                           ~           ___..__._---     1
         904 423-7277             ~                       ~                                                                                                        n~to: 39346
       -----                                                                                       --...---•
        ABQR &PARTS- --    -- ~ ~---- ~ --- - — - ------- -- --- -- ---•----•-----                                                              Er              ,,.:,
       1~ 1 07FQZ          *ALL TRANS DIAG                         TECH(S):7268                                  , . :INTERNAL           ~                                  -~
                   CUSTOMER STATES THERE I~ A '~RAN5M15SfON WARNING ON DA$H                                                          F.~`~          ". ^.~             ~-
                   TESTED SYSTEM                                                                                                                  P~.~.c~-~.-:~.~
                   ALL PASSES AT THIS RME

                                                                     ~~B # 1 TOTAL LA80R &PARTS                          D.00           _,_                                _
       }~1 2 O1F07.99P         MULT] ~NOINT INSP.                       TECH(S):72fi6                                IN~~RNAL       SHOP SUPPllES AhID HA2fPPc.~
                      PERFORM MUI_Ti-POINT INSP.                                                                                        'vd;rSTE DISPGSAL CHArY
                       iNSP COMPLETED                                                                                             iii- e~1a~c . eejxese  ,.._ ~ ,: t~:
                                                                                                                         Q O~    ~' RICTD~ VP,f11C~E' fEL~i~U !dCllli~ ~C! .7,7T1$
                                                                    .~Q~ ~      2 TOTAL LABOR &PARTS
                                                                                                                         "  ,      1C~? d5 C(IISCC (c1[iE^ 1S ~:1~G SL:f   I   •,`,s;"•

       ESTIMATE ---- ----               --- ~ --•-- ---- -- - - ----------- ----------•-----..                                   s•;astedispesa':. ;s. ~~ .,
                                                                                                                                                           '
       CUSIONER HEREBY ACI<NOWLE06EC RECEIVING
                ~S~IGINAL E$TIhIATE flf     5 .00 Z+TAX)                                                                         The State of Fao:'ida requires a S`.'~s ~e;: ,,;
       COMMENTS -- -~        — -        — -- --------- ---- -------------------...-                                              Ge coUerted for earl; =.iE~v tine soEc i.~ !.,_
            37[il                                                                                                                sFate [s. ~303.718j, an~e a S1.5ii Eeu :~ ....
                                                                                                                                 collected for each ~iet~ ur r~ma:^~`=c_~.1= d
            IL'IAN CERTIFICATION- - -- - - ~----- — ------------- - - -- — - — -------- — -- - -
                                                                                                                                 battery sold in the st2te ,s. d03.7~£5 .
                            7268                     BENJAMIN KFPIGS                    0 2311545
            5 - ~- — -- — ----- --~   -- --- ~----- — ----------- - - - - - - ------ — --~-•--••---•---- ~ — --•--•..
      ( )CASH ( )CHECK ( )CHARGE ( )M/C ( ?VISA ( )AM/EX                                 TOTAL    LABOR....              0.00
      ML'-06h?5                                                                          TOTAL    PARTS..:.              O.00
      ~UICKLANE HRS OPEN MON-FRI 7AM-7PM SA1' 8AM-SPM                                    TOTAL    SUBLET...              0.(10
      MAIN ~HDP NRS OPEN MON-FRI 7AM-GPM 5AT SAM-NOON                                    TOTAL    G.O.G....              O.QO
      3GL~Y SNOP HRS OPEN M(3N-FRI SAM-GPM PHONE 386-~74-6757                            TOTAL    MISC CHG.              0.00
      300Y SHOP ADDRESS 1320 TOt90KA FARMS ROAD, D.B. FL 32124                           TOTAL    MISC DISC              0.00
      SHOP SUPPLIES. THIS CHARGE RFPRESEN7S COSTS AND PROFITS TO                         TOTAL    TAX......              0.00
      ]HE MGTOR !~EHICLE REPAIR FACILITY FOR ITEMS SUCH AS                                                           --------
      MISCELLANEOUS SHOP SUPPLICS AND/OR WASTE OISVOSAL.                              TOTAL INVOICE $                   0.00
          TS AND LABOR ARE GUARANTEED FOR 12 MON7HS OR
          Od9 MILES, WI IICHEVER COh1ES FIRST.
          T RETAIL PARTS CARRY A 24 MONTH GUARANTEE, SCE ADUISOR
             YOU FOR YOUR BUSINESS



                                          DUPL ICATE             I NVOICE




        PAGE i OF r                      CUSTOhRER COPY                                 [ END OF INVOICE ~           ~35?pm
     Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 64 of 86 Page ID #:7893




                                                                           ~Et~(° lrEC~~►~1~                                 M A Z D A
                                                                      F D R D' t I N C  OLN                                    ~`
                                                                                     rh

                                                                                                             ~1
                                                                                                             ~4i


                                                                                                                                        Repair Order r:                                           ~35~~~"
           F -~ *U Tt~m~i~a farms Rflad                                                                                                               T ~C~ {t`:                                      ~°Lr~~1
'~         ~.~vTorac, EER~N. f ~C)RIC3A.32~~2a                                                                                            ifi`✓~ICB DEICE:                                   ~`~ti C3`'i11(D15
           (385}-~5~-F03~                                                                                                                      ,~,dvisor~                   5,ah;c~:~-;lG~ :~G~vtF,,
           STA-E CAF i-tG~RIC7F1 R~GIS7RA.TiOv: #h~IV-Oo575                                                                              Ac~~-icor No. #:                                       7~7~




                                                                                                                                                     2i~1~ FJ~G
                            C~JP~ST~aC~GL ~ i~C~JfVDl"PEE
                              t ?~ S A~iLihdGT~f~ /EVE #B
                                   ~3~LP,E~1D ~L 32724
                              Cus~orner iVi~m;er - 258656
                                                                                                                                                    i'p~pr 7t:
                                   hoi;~,= Pho+~e #_ 904~i23T277
                                                                                                                                                  fvtileage #: 34bt35
                                     G ell ~hor.e k: 9044237277




                                                                                                                                                         Labor Total:                       $ 0.00
            Job # 1
               E.I~:b;~MU~;E~w          ~'~~(=.s lHE VII; IS SHUDDE~i1NG ~4ND ALSOWliEF~ ACCEL
            'W:°b1 ~a7 ~JP:~:~t M1tl V M!'iV~

            ~~:s~;: FO!JitiC'=<tIL~~Relnfl?HC~UTi~H,4SSr,9Y
                                                                                      DER WSMSHIJGQER
            C;or~~ctior ~~R.?=i~RA~tUfi'ff''~U`'`~EPRO(:R:4N1 PCM;"Ch•9 PINPOINT TEST
                                                                               TCM, POST ROAD TEST,
            ~~BC:vE <Si? RPru;. Rti_PLA~E CCU;CH l~ND SEALS, ~D1P-IVELEARN
            I
            'E`URr.I   7Q GUSTO!vtEP


                                                                           Part Description                                                              Parts Total:                       $ 0.00
             Par[ Number
             p;~g\r;;~..i354 -F                                            ;~LiJ-:;l.:,. ASY'

             FO?FA-~-~                                                     BRF,KF C~EAfJ~R


                                                                                                                                                                          1~"~`!   ~
                                                                             6   d                                                                   1      Y      ~~4Y
                  '~'.a ~ 1~ t~G~.l`~F 1~ . '~`_'~5                                   Y ,~p~~
                                                                                              ~ft'~.'
                                                                                                  ~                                                                                                    .
                                                                     L
                                                                                                                              ~ ~ `a     .nf'f~             T.,d!YNr w,.;s~4
                                                ~:.~.   ,t,.~,i~~~i ~C! ,~ ~,s4.:'c~"~lllfl!fti~.rY~Aa~:::.




                                                                                                                                                         Labor Total:                        $ 0.00
             Job # 2
             fa~FV=~~iAfi E~f€~L-~ i~W~:.~IfVT lN~F.

            ';orreci~~n: ?i~.iSF' (~JI+:9F9...ETEi_~


                                                                            Part Description                                                             Parts Total:                       $ 0.00
             Part Number
                                                                                                                                                                ~t~",F*        f
                                                          Sa        w~ S~ r
                                                                    .                                   t,    ~ 4~
                                                                                                                                                                         ~
                                                                                                                                                                       ,~~~~
                                                                                                                                                                vlt:~~r`     ~
                                                     91~sv~ ~                                                                                              ~ 'Yf'r'~           ~. } ,;rte
                  .               . ~ -.~.   N ~* a ~         ~F~i         41~,'i5d'~•+:~".         a .E     ~                      ~




             Sublets

                                                               ~.       ,,- it ~i,~-.f: ~ ,~a ~c,,,..,._~ ir _y F:~,. ~ •~      ,:-~'d     ~,~s:soe-i ~.,,a~r,..,...

                                                                                  -- `t har~k you for yo~.l,r ausines,~
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 65 of 86 Page ID #:7894



                                                                        .t~i~'~' ~`YE~~,Ai~~➢~                                                FOCS945715                                        ~
                                                                             F :v~ a t~ ; .~ cvt~                                                                                               n
                                                                             ,yti                      ',.y                                                                                     ~


                                                                     74`LQ TOl1l4i1:a F~]CiP,!.~F'~JHCi•   ~. ,    ..~-7'J~I
                                                                         G~^."rifi!ti e~. ~F.~Chi. F~.t>Ri!)l. 3:i24                                                                            ~


                                                            ~ti "a it. ~t~ '"Lsle~'s7Lt FdEi I,:"~[iA1f ri~i ^r` R1V~0E~b7w




                                                                                                                                                                CELL: 904-423-7277
     •, ~a-
                  258665                    -           _       ~cHucK
                                                                r `             PONIRIS                               7275     6679                 10/11/16              ~-~C5945715
                                                                                                              ----39, 346 /            _ oTG0451a
   CONSTANCE R ROUNDTREE                                                   -           -- - _            -`
   1~.., S ARLINGTON AVE #B                                     ;14/~oR~/Focus/;~                 HB SE ______. _ ___
                                                                                               R .._.._—._                  0;'14/16_.._
                                                                                                                            _ ___
                                                                                                                                              31,395
                                                                                                                                                   _ _.~
                                                                               ;.__.__._.   _--_.
   DELANU, r-i_ 32724                                            i ~,~_ rte;,,
                                                                ,1     F
                                                                I~ ~ ~ h   A   r~   P  3  K  2  3 E   L  1  5  3 2  6  8
                                                                         :,-       --.__                                                               ~
   iw~~Rou~@nog com                                              I                                                          10/11/16                   ,

     90~} 423-7277                    _.__~.__                         ~~~                                                                                                     Mo: 39346
                                                    _                  .—_                                           —.—_                                       _-,_
                                                                                                                                                                  ,;
   LABOR & PaRTS--- -•-        —       -- ------- ----- - - - ---- - ----~--~ ~-~--- — ... _ ._
   ,1~~ l O7FOZ         *ALI T!~APiS D1AG.                      TECH(5):726R                                                   INTERNAL               ~—~~      ~"          ~~
                CUSTOMER STASES 'fHERr I~- A TRAN5M155ION WARNING ON DASH                                                                             __        ~ ~          _.iJ~~._~
                TESTE6 SYSTEf1                                                                                                                                      ~"
                ALL PASSES AT THIS ?IME
                                                                           JOB # 1 TOTAL LABOR &PARTS                                 0.00                      —    -,                    --

   Jlf 2 O:U OZ94P           PIl1Ll1 POIIJT 1NSP.                              TECH(.,):7268                                   INTERNAL              sr~o? aia~Rt?r,~ ~`- ~raz~,~r~o~?G
                     PERFORM MULTI-POINT INSP.                                                                                                         '
                                                                                                                                                       ,~~~`~7;~ ~r!~~:~° ~~'- ="~ ' —•
                     INSP COhiPLET=D                                                                                                          I     u :: ~.      ~ ~ -.              .~; c_ ;:
                                                                           ,IOB # 2 TOTAL LAHOR &PARTS                                D.00             1i0t r hic1=- ~ ~ n !.~      ~ ~~r~e~

                                                                                                                                                      tedc=     ~ ~ ;.c
   E;TIMf~TE- -- - ~ . ...... ........... .---------.....-~                --- ~-- ----------
   CUSTOMER HEREBY ACIiNOW~EDGES RECEIVING                                                                                                        7n , ~tatr ~ f r o i~ir        .res:y~    a ;.,;
               ORIGINAL ESTIMATE OF     $0.00 (+TAX)
   t",OMf1ENT5~ ~---------- ~ -- ~------ .....--- ~ --•-------•.. ........---------------                                                         be eoAect,.~ sc~ e:;,~h ievr iirG s~-1 u~ ts~e
   90442:17277                                                                                                                                    state ~s. 463.~16~. anti ;~ ,.,.~>. ,~
                                                                                                                                                  calianted fn: ear,:` n~           ~.,,. o    _.
   TEEN^~tCIAN CERTIFICATION ---~-- - ~ ~ - • -- - • ----- ----   -- — ~ —  —.      ------ ---
                                                 BEiJJAMiN KEPICS              002311545                                                          ~'`'=`f'~ 50~~~ "''i~~~~5 ~t` ~ ~,' ;r~:s
                          7268
   TOTALS
      )CASH OCFIECK ( )CHARGE ( )M/C ( 1UISA ( )AM/EX                                              TOTAL          LABOR....          0.00
   P"U~0667~                                                                                       TOTAL          PARTS....          0.~0
   QUICI(L.4NE HRS OPEN MON-FRI 7AM-7PM SAT 8AM 5PM                                                TOTAL          SUBLET...          O. DO
   ~4AIN SHOP HRS OPEN MON-FRI 7AM-6PM SAT BAM~NOON                                                TOTAL          G.O.G....          0.00
   80DY SNOP HRS OPEN MON-FRI SAM-6PM PHONE 386-274-6757                                           TOTAL          MISC CHG.          0,00
   BUOY SHOP ADDRESS 1320 i0M01<A FARMS P.OAD. D.B. FL 3L124                                       TOTAL          MISC DISC          0.00
   SHOE SUPPI_IFS. THIS CHARGE REGRFSENTS COSTS AND VROFIiS TD                                     TOTAL          TAX......          O.OQ
   THE ~10TOP, 'uEHICLE REPAIR FACILITY FOR ITEMS SUCH AS                                                                          - ~ ~~
   M'S~FLt_ANEOUS SHOE SUPNLi[S AND/OR WASTE DISPOSAL                                            TOTAL INVOICE $                    0.00

   PAFTS AND LABOR ARE GUARANTErD CDR ~2 MONTHS OR
   12.000 M?LES. WH[CNEVER COMES FIRST.
   M05T RETAIL. PARTS CARRY A 24 MONTH GUARANTEE. SEE ADU150R
   THaNY. Yi)'u' FOR YOUR BUSINESS



          < x*~,~*~~~*x~*~**max*+*       DUPLICATE                     I N V O I C E




    aAGE 1 OF 1                         CUSTOMER COPY                                              [ ENU CF INVOICE            .~3..`.~?prr
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 66 of 86 Page ID #:7895




                                                                      F U R D `L{NCC}LtJ'= MAZ ~R

                                                                    ~'                                  r^ _
                                                                                                      L
                                                                                                      '



                                                                                                                                      Repair Order #:                                   '~3~~C,r;6
      ~ ~ 20 Tc~incka Farms goad                                                                                                               Tag #:                                      626?
      ~A9'TGlva EsEACN, FLQRIDA 32121                                                                                                   Invoice Daie:                               08iO3r~C~-i6
     (38&1-253-7D31                                                                                                                          Advisor.                     SAKELARIC;s PONI{31S
      STATE O~ FI_~JRIDA RECiS1~R~1"PION: #MV-06675                                                                                    Advisor No. #:                                       7275


      :lc~t~ #                          PO #                               Description

                                                                                                                                                  P              t ~      ~,[~      "'~                        ~'~
                      1 '4       4~`
                                                                                                                                                                          28+      =:='E        I II    ~      ~`
                               J~
                              ~]                     .q.




                                                                                        Amount Totals
                                                                                                                                     Total Labor:                                                      $ C.Ju
                                                                                                                                      Total Parts:                                                     ~ O.JO
                                                                                                                                    Total Sublet:                                                      ~+ O.~C3
                                                                                                                                  Total G.O.G.:                                                             o.aa
                                                                                                                                                  Misc:                                                     Q.J4
                                                                                                                                        S~~les Tax:                                                         CI.00


                             r            l ~T7'~~~~~~~c ~'~~~.               ~e
                                                                                                                                                                                           ~k

                                                                                                                                                                                 ~~ .r 3r ~ ..               ~ ,




       T•'-r~ris ar~d llccec~tan~e
           yD~ Sl~~=~ L6      -     ,.ZnFtUc;uS l  _ . '_ L.I:>rvS - _ Fi."lF(~Es. This ,.~-a.~., r~P'esa n-c eos's a.;a ~rtc:is 4~ the ma:ir v¢hic,e rF. t ~acili;y
             ~ r-~s _.       ~ :31 < n .. .,fps ,.,x~ and;~ - .~_.oleJ ~ ,, :s, ,;~39:~a(:1'l
         ~       _t.           _.         :. ~r i.         a a~. I I  ,, F, ~ v ~.-.e sold tr t slate (s. -u '_ 3;, antl        ,:n I~~ ir. a of:.^,luJ'or aach
                                                    :i ;. i(i3 RSj,                                                                                                  ~,
         c w or.E, i~f       c, ,~r          ~




            ``"~' `'~ ~~`~'                                                  -- T,har~k you for yourbcrsrness ~~-
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 67 of 86 Page ID #:7896



                                                             GARY YEOMANS                                                      FOCS994009                                            p
                                                                       r o ~ ~ ? tir~~~~~rt
                                                                       "                                                                                                             ~


                                                                                          :, ;                                                                                       ~
                                                              1420 Tomcka Farms Road • 131351 ~5`i-7i?3'                                                                            O
                                                                 OAYTONA BEACH, FLORIDA 32124                                                                                       0


                                                      STATE OF FLORIDA REGISTRATlOh! t# MV-D6675




                                                                                                                                            CEL
                                                                                                                                              ~_...L: 9~4-423-7277
                                                             ,,-;~                                                                      .;;
      " - ~'       258666                                  CHUCK PONIRIS      i                      7275, HJ ~J!-4762                10/03/17       F005~994~09 j

                                                                                                                    49,673 /                                    DTGC~451a
    CONSTANCE R ROUNDTREE                                                                                      -        -
    123 S ARLINGTON AVE #B                                 l~#j FORD/ FOCUS/5DR HB SE                                                 O5!14/16                           31,395
    DELAND, FL 32724
                                                           ~1 ~ a o P 3 K 2 3 E ~ 1 5 3 2 6 8                                               ~               ~                           ~

    IWPGROUP~AOL.COM                                                                                                                  X9/27/17
                                                               r~ ,'
     9U4-423- 727?                                                                                                                                                  MO: 49683
                                                                              JOB # 4 70TAL PARIS                       O.OG

                                                                  .]OB # 4 TOTAL LABOR &PARTS                           0.00             -y.L-                it
                                                                                                                                             r ,~ . ,,. ----.
   ~OMMF~ti~T~. -----           ----- ...      --        -----         ...--~      -     --------- ~—~ -
   ~+LOANER-+
  'ECHNICIAN CERTIFICATION         -- ~ —     - ... _ - - - - - -- --- - -- ---. — - . - — ------.....--- -
                      7370                       RYAN MORAN                                 002375880                          !      S~GP 5UQp._o~s A?~[~ ~aznt~oGUs
                                                                                                                                         Wn~TE `JISPCtSA! CHARGES
   IOTRLS          —   _   --       --         --   ---- ---- —            - ..._ -------._._-                     --------                          ~:~
                                                                                                                                   Thischai~~. .c~~ ,_.          ~, .ndp           ,
                                                                                                                                   t:ic moici ~chc~~ ~             ~           i       ~
   ( )CASH ( )CH[CK ( )CHARGE ( )M/C ( )U1SA ( )AM/EX                                  TDTAL     IABOR.. . .            0.00
                                                                                                                        0.00         ~" r v m e ~ ~<~o               <~ ~~'~~~     J r ~I
   HU-06575                                                                            TOTAL     PARTS.. ..
   PARS AND LABOR ARE GUARANTEED FOR 12 MONTHS OR                                      TOTAL     SUBLET.. .             0.00       ~ `~ ~'''=
   L.DOD ~11L'rS. WHICHE'JER COMES FIRS.                                               TOTAL     G-L'.G... .            0.00                                        ~~              1,
   ~i05T RE fNIL PARTS CARRY A 24 MONTH GUARAN?EE. SFF ADVISOR                         TOTAL     MISC CHG.              0.00       Tlie Mate n F .ridM er~,a.cs a 5'.OG tcE icy j
                                                                                       TOTAL     MISC DISC              0.00       be ccllseteti fc~ eac~r new tine sold in fhe
   SHOP SUPPLIES. THIS CHARGE REPRESENTS COSTS AND PROFITS TG                          TOTAL     TAX..... .             0.00       stave ~s. %.G3i18, and v .~~.5C :`~e ¢o 'ru
                                                                                                                                                             err;`eirF~s'~~acture`s
    hISLELLANE0US I5HOPRSUPPR1E5rNND/OR~WASTEE DiSPOSALAs                         TOTAL INVOICE $                       0.00       ~aiterletlold in ~ti~;~tz

   thank 'You for Your business, we know you have a lot of
   c~oices when it comes to your vehicle service needs, and
   really appreciate that you chose us. Ow~ goal is for you to
   he completely scticfied. If for some reason we did not meet
   t hat goal . please call Dennis Young at (3867 274-6734




    Ps\GE 2 OF c                       CUSTOMER COPY                                   [ END OF IN`JOICE ]          G1:38pm
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 68 of 86 Page ID #:7897


                                                                                                                             ~.
                                                                                                                      ~,~.



                                                        Total Tire Sz Sen~ice
                                                     5120 S. Clydc Morris Blvd
                                                       Port Orange,I'L 32127
                                                        Phone {386)761-OU10
                                                         Fax (386)7fi1-01 Dl
 Customer:                                                                   Service ~~Vriter;     Alan Ritse~na
 Address:                                                                    Service Tech:
 City, State:
 Dav Phone:                                                                  VID:
 Nigii~ I`Iinnc:                                                             Mileage:
 Fax.
 Estimate Kef: ]605
 Date: September 20, 20]7
 l"in►e: 10:Q? AM

 ti`e6i~Jc:      f(3! 3 Ford Focus 1,4-2.OL
                                                                                         ~ ~1 J
 ----------------------------------------------------------------------------------------------------------------------------
 (~eseriptinn                                                                Part #ILabor Rate          Qty      1'rice/Time       G'afcnded
 -------------------------------------------------------------------------------------------------------------------------------
 Axle Shaft                                                                                                1          25999           i9.9R
   ILeplace
        Froiat Axle
          ,4xle ~ssen~bly
               Right Side (B)                                                Lahor 9 .00 / hr             l              1.3C~        123.50

                                                                                                 La bar Totai                        123. 0
                                                                                                 Parts Totat                         259.99

                                                                                                 Suh-Total                           38:i.d4

                                                                                                 Labor• 7'ax       6.5%a                 8. (~
                                                                                                 Parts l'ax        6.5%~               t 6.90
                                                                                                 Service Tax       3.0%~               ~ S.~ ~+


                                                                                                 Tax Total                             40_''

                                                                                                 Total                                4~3.`Ci




 Signature                                                            Date
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 69 of 86 Page ID #:7898




                                                                                                                                                                                                       T
                                                                C~~IRY YEOMANS                                                              FOCS994009                                                0
                                                                            r G R C I LINCC'~iN


                                                                                                                                                                                                       ~L
                                                                                            :~ :i                                                                                                      Cp
                                                                  142G Tomoka Farms Road 13(3F1 '25~-70.',~                                                                                             A
                                                                     'JAYTONA BFAChi. FA.GRIDA 32124
                                                                                                                                                                                                        C~
                                                         SFATE Qf FLORIDA REGISTRATION {k 4VIV-06675




                                                                                                                                                             CELL.: 904-423-727.
                                                             i nn-- - -.                                           r~:: n,:;.                     _,,,
                                                                                                                                                  .,~ ,.              ., ,: -..     -                        ~
                      25$666                                  CHUCK PONIRIS                            7275                 4762               10/03;17               F005994009 ~
                                                                                     ~                                 49,673 / _                                     DTG0451A
   CONSTANCE R ROUNDTREE                                                            1
                                                                                                      --            ---    —
   123 S ARLINGTON AVE #B                                     14/FORD/FOCUS/5DR HB SE                                                          ~~;14/16                              31,395
   DELANO, FL 32724
                                                             '1 F A D P 3 K 2 3 E ~ 1 5 3 2 6 8
   I WPGF20UP@AOL. CO'~1                                                                                                                        ~9~27~17

     904-423-7277                                                                                                                                                            Mo: 496831
    r~30R F~ pAP,Ts     -- _       - -. ._. .. - ------- -- - ~ ------~-----                        -... _ _ ...
   i~ i i~r,,F02             ~L~~ EN~1NE                        TkChl(S):?370                                                   WARRANTY
                   C~~'TOMER STl,TES THE R'GHT FRONT AXLE BDOT LEAKING                                                                                     ~~ ~_'                  li
                    R AF CU BOOT TORN. BUR?HER INSPECTION FDUNO JOINT TO BE
                   DAMA6GD.
                    REPLaC~D RIF CV AXLE.
   PARTS- --QTY--FV-NUh1BER---- ~ ~ ~ -           --DESCRIPTION--- --• ~ ~--------UNIT PRICE
   JOB # 1      1     CCPZ-36A7?~F                  RETAINER                                                                    WARRANTY     SIiOP SUPPLIES ~1tdQ HAZA.RiiOUS
   J06 # ]      ]     FV67-38436 R                  SHAFT - FRONT                                                               WARf2ANf1'      WAS'~E lJkSPOSt~L uHARGES
                                                                          JOB # 1 TOTAL PARTS                                        D.60 'h~~ rhar, ~ ~ ~_         U  {,ir tits t_
                                                                                                                                            -~"1., RiJ~G   Jfl ~I(.    'I*        -."1~   '.I    1!C~'z1~-
                                                                           JOB # 1 TOTAL IABOR &PARTS                               0.00
                                                                                                                                            S~i•..h a,5 mi c i,aneo     I                       -~ ~~do~
   3N ~' 24F'OZ9tiP          MULTI -POINT iNSP                    TECNfS):7370                                                  INTERPIAL   .~~,sie ri=;resal
                    Perform a thorough inspection of your vehicle and provide a
                    detailed vehicle Report Card. Check Fluid Levels, Inspect                                                               The State ~f Florida rery. uire~ a Si.00 tee tb
                    Wiper Blades. Test Battery, Inspect Tires and Brake Wear.                                                               be collecLeu~t fc~r ea~h nev.- lire seln Ir the
                    II'S~ECt SdfBty SySte~1S 311u components for leaks 3Yid GdfG3ye.                                                        state [s. R03.7;8~. anti         S?.BCC tee tr :~<,
                    SERVICE WMPLFTE                                                                                                         collected for' each t~eev or rrFSianG;f~ctured
                    Perform mult'~ -point vehicle inspection and record results on                                                          oattery sold in frae s9ate -.;s. 403.71£5}.
                    Vehic'e Report Card.

   CARTS        --QTY- — FF NUM3ER --         — ~ - ~-[IESCRIPTION---- ~ ~ ~ ~ ~ ---- ~--•---UNIT PRIGE~
                                                                                  JOB # 2 TOTAL PARTS                               0.00
                                                                           JOB # 2 TOTAL LABOR &PARTS                               0.00

   J#I +' 07FOZ~OIAG69     "DIAG ~?RANS                       [ECH(5):7370                                                      WARRANTY
                  CUSI`JMER STASTES THE TRANSMISIQN SHUDDERS WHILE DRIVING
                  CONFIRMED ,UDDER IN 1ST GEAR..
                  REF. TSB lu OL~9. P,VC RPA7AMH8NRYOB.
                  IDS DIAL, NO CODE;. DPS6 SHUDDER DIAG, PINPOINT A. A2 YES.
                  A3 YE;, A4 YES, A5 NO 3:9 RPMS, A6 YES. A7 REPLACE CLUTCH
                  ASSY. REPROGRAMMED PCMiTChi. PERFORMED TRANS ADAPTIVE LEARNS
                  RETEST, riOADTtST. NO SHEDDER.

  =H;`;           UTY~- ~P~NUMBER- -            _ .DESCRIPTION — — --- _ — — ~-- --UNIT PRICE-
   iDB ff   3        1     11F7. 7B54o-B           =LUTCH ASY                                                                   WARRANTY
    Ofi #   3        1     FU67. 7~~2-C            SEAL ASY    OIL                                                              WARRANTY
  :i!6 #    3        1     PM -4 9                 BRAKE CLEANER                                                                WARRANTY
   J0~ #    3        1     XT-1I-QDC               FLUID    TRANSM                                                              WARRANTY
                                                                         JOB # 3 TOTAL. PARTS                                       0.00

                                                                           JOB # 3 TOTAL LABOR & PARTS                              0.00

   3~i 4+1~FQZ                REl'.ALLS                                     TECH($):7370                                        WARkANTY
                      1oS30 RECALL
                      RECALL 16530.
                      REPLACED ALL 4 DOOR ~.A-CHAS PER RECALL.
                      E
   =A=1~-         GTY — FP -NUMBER----               D[SCRI~TION               —           — -UNIT PRIi,E
   ;(?~ ~ =                 CJ5Z 54264N26 A          LATCH                                                                      WARRANTY



    PAGE ~ OF 2                         CUSTGMER rOPY                              [CONTINUED ON NEXT PAGE]                 0i-.38pm
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 70 of 86 Page ID #:7899




                                  ~.             ,_

                             ,~ '.. r~i ~~:       —           -
                                              ~i7i;~C_   __        ., f

                                                ~t~4~#~".372'i'7
                                                "":~~ _",                                                                                .~~iS,




       Jcb ~ ~!                                                                                                                     Labor Total    S O.OJ

           >~ ~~ , ~~ ~-~: lF'°= "~I-iE: ~ ~;~. ~~P,i.~?~ ~E ;S ~F;U'~i~FFiIP~G. klvG IT'S
                  _ _ _,       _        -.:s F=~~.~ 's~ -, ~ ~ t~~-. u~,~ rpC? !'~iARPA?~Ji~ ~;;




       Part E~Jurnber                                             Part Description                                                  Parts Total:   ~ 0.00




       JQb # 2                                                                                                                      Labor Total:    $x.00




       Pact ~v~ml~er                                               Part Description                                                 Parts Total°   Q 01.00




       Job # 3                                                                                                                      Labor Total;    ~ CI.QO

       ~~~EE.~ ~~~k ~:+i: i;:Sf~• ~ fl~iti~ ~'3F ~"~~h ~"f-~?-114.L~ I~' ~'b'~`,S 1JC3TEC? Tt-!~,r
       `~`6-';~ F~e~:'` T ;h;-'~=~1'~~~ ~~=;~5 hiti~'r E:)iC[:FC)Ef} SAFE QPERATlNG Lif~ilT~
           ;,iii\'i ~,1a-~ ~_~~~'r ~~il~ 4'':~!}l.9~ '~;~v r~~F~L~AC~U A-f' w 1-115 T6(VIE. '~A.~Ltli?~~ v t;"


           z~           .~                                                ~i7._~ 17~.   ~i.~ ?F~ t i -..;taxi tJl   ~ ~~~tJc
                                                                                                                               ~.
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 71 of 86 Page ID #:7900




                                                           GARY YEOMANS                                                              FOCS138528                                                 p
                                                                      '
                                                                      t U R J     Lii~dCf>LN



                                                                                                                                                                                                W
                                                            i4LO TomoY,a farms Foatl~ !.3S6i>S:~?4;S"~.                                                                                         ~
                                                               GAYTOiJA 3tNCH, FLORIDA 32124                                                                                                    N

                                                     STATE QF Fl flRfDA REGISTRATION 4 RQV-OGG75




                                         _.—~                                                                                                          CELL: 904-423-i2~7
     .,x~..~                                                    i,                                         ~~. ~,o                          ~ sa e                 i        <;
                   258666                                'BRUCE SCHAAF                              7561             5175        ~       OS/0 /18                 FOLS138528
                                                                                                                                                                                            _
                                                                                                             ,F . __—

   CONS~ANCE R ROUNDTREE                                                     _.         ___                    __.63,881 / „F ,, _                                ~T GO45IA
                                                                                                                                                                      -               -___!
   173 5 ARLINGTON AVE r~B                               14/FORD/FOCUS/5DR HB SE _--------                                              05/1 116                             .1,395
   DELAN~, FL 37.724                                       F~  ,~                                                                              _ ___                         . ~, ~;:
                                                         ,1 F A D P 3 K 2 3 E L 1 5 3 2 6 8
   Iwa~GRouP(ago~.COM                                                                           ~                                        08/0/18                  ~REPRINT~
                                                                                                                                                                         _.__..
                                                                                                                                                                                2
      ;I r~;   F                    H.
     804 42? -72.77                           _    -- —!        -,~                                                                                                      M4: 63889
       --_                                                                                                                                                   ..
   _ ABOR R PARTS - - -- - ---------- — — — -.. ~--------------------•-- — - — --------- ------
   7i! 1 D7F6Z              II;ANSMl>>IQP!                        TECH(5):731~                                       WARRANTY                                                     E    ..
                 ~ USTOhtFH S'AlES THE TRAfJ5N1ISSI0" ?S SHUDDESItJG, AND IT'S                                                                                                    ~
                                                                                                                                         ----- ~
                 F1LS0 ROLLING
                 BACKbJARDS rROM A STOP. HAS CPO WARRAN(Y
                 DIAL TRANS ISSUES
                 IDS CLUTCH READ TFST,SHUDDER AT 599 RPM,SENT RECORDINGS TO
                 H07~INE,P;NNOIMT TE5T5 A-a7,R&R TRANS REPLACED CLUTCH RSSY
                 R EPROGRAMMED TCPt,PCM,ADpPTIVE LEARN,POST ROAD TEST,RVC CODE                                                           5HOP SUPPLIES F~ldD HAZAR'JOUS
                 3~A7A11H3NRY08                                                                                                              VJAS`3E DISROSAL CHARGES
                                                                                                                                     Tn'~s charu~e reGreser!s ~~;nst=: :~ :-~d ~;~,~1!`,.: ~:'o
  'APTS---QTY--FP-fJUM6ER---------------DESCRIPTION-------------------UNIT PRICE -                                                                            r u,: t~~ui,, f„ I~rt~~~
  )GE tt 1     1     F1FZ-76546-B        CLUTCH ASY                                                                  WARRANTY        r~~ ~~to ~ehlcfo
                                                                                                                                     '~'crr a~. mi~ceiirtnaous srn~K~ supplie_ ^ncio~
  )OB # 1      1     EV6Z-7052-C         SEAL ASY - DIL                                                              WARRANTY
                                                             JOF3 # 1 TOTAL PARTS                                        0.00         w~ast~ tlispcs~- '.. - 759.BG?l,d:il

                                                   ]OB # 1 TOTAL LABOR &PARTS           O.DO                                         The State <,f Flcrid? requires a ~1A0 ?ee t .
   .----,--------,---------------------•------- - ------------------•--------------•--------                                         be c~llec+.ed for each new :ire sold in the
   ]# ~ ?nF07.99P          MULTI -POINT 1NSP         TECH(5):7310                   WARRANTY                                         state ~s. 4(:3.71N. gnu a 5t.5(! fee is be
                  PER~ORhi MULTI•PCIPlT INSPECTION                                                                                   collected fcr each r~ew ra ren,nnutac~Urer!
                  INSPECTION                                                                                                         bafYery solc i;o ?he stzte js. 4G~3.7i F,5.
                  R EAR BRAKES AT 3MM DFCI..INED

  'ARTS-- — --QTV---FP NUMCER-- — - —        - — CESCRIPTION — ---           — - — — ---UNIT PRICE-
                                                                              JOB tJ 2 T07AL PARIS                       0.00

                                                                     JOB #   2 TOTAL LABOR &PARTS                        x.00

   7N 3+3~ifOZR3K          FRNT 6kAKE5 RED                            TECH(S):7310                                   WARRANTY'
                  R EAR 3RAKES 3i`iht. kECOMMeND REPL/10EMENT

                   CJS70M[R DECLINED REAR 2RAKE5

      T5- — - QTY---rP-NUMBER--- — -~ — ------DESCRIPTIOIJ-- — - — ------------UNIT PRICE -
                                                                     JOB # 3 TOTAL PARTS                                 0.00

                                                              JOB # 3 TOTAL LABOR &PARTS          0.00
      --    ---                      --------- --------------- -------------------------------
   115~-    — CDDE- — — ---DESCRIPTION--- — -- - ---- — - — -------- — —CONTROL MO----- - ---
   )U9 i! _       DEDUCE WARRANTY DECUCTIBL.F                                      136528     INTERNAL
                                                                             TOTAL - MISC         0.00

    uruatni~------._.--- --------------- -------------------------•-----------
    +LUANER+~i PO~SIB~.Y 4•IAiVE DEDUCT PEF CHUCK?
    F SENDER DAMAGE AND DR BUN~PER DAPIAGE

   CPG IJARRANTY CWEHAGE.
   a~HR~ANT\` DEDUCT?6'~E COVEREC PER CHUCK B KAUSE SHE HAD IT IN R?GHT B
   E FOnE THE SYRj6DK ?OIJ[RTRAiN WARRANTY EXPIRED FOR THE SAh1E ISSUE.

 'ECd~JIU:AN CER"fiF1CATIGN          --------------------- — — -~--------------- — — -------
                       7310                    JkSON OSBORNE                  000706460




    =kG= 1 OF 2                      GUSTOMEF COPY                           [CONTINUED ON NEXT PAGE]             05:19pm
      Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 72 of 86 Page ID #:7901

I


                                                                  G~dRY 1fEOMANS                                                       FOCS138578                                   ~'
                                                                              F C~ k D ! '_I '~ ~~ O~N                                                                             O


                                                                                                ~                                                                                   W

'~,                                                               1420 TomoNd Farms Hoatl • t'?Brr 25,3~U31                                                                        ~
                                                                     7
                                                                     i AYTONA ~EAC H, FLORIGA 32724                                                                                N

                                                         STATE OF FLORIDA REGISTRATION # MV-06675




                                                                                                                                                CELL: 904-423-72iJ
                                                                                                                                                              ----.
        .     -     ---- 2~8~6— ----                             BRUCE
                                                                  5     SCHAAF                           756 F,                 —.        08/0
                                                                                                                                           1 _ /18     l
                                                                                                                                                     FUCS138528   j
                                                                       __    ~..                                                                      ,r , _
                                                                                                                                                     Drso45ia  _ _I
        ~ CGNS :'ANCE R _ ROUNDTREE
                                _                            ~          ___~__ ___                             ~i1_ ._____
                                                                                                                        63 ~ 881
                                                                                                                             ____ ~~                       ____       --
        j123 S ARLINGTUfV AVE #B                             14/FORDiFOCUS/5DR HR SE                                               ~      05/l~-/16                    31 395
        ~ DELP,ND, ~'L 32724                                            -     -   -- _ _ _—                                                  c =:; _ ...    -             __—
                                                             i1 F A D P 3 K 2 3 E L 1 5 3 2 6 8
                                                             ~r     ,...                                 F o. n:r,           :parr
         IWPGkCUPL'AOL.COM                                                                                                I  08/Oe:/18                            REPRINT# 2
                                                             ~                                                           1..
                                                                                                         _— ----- __ ____ ------    _ __                          ~---    ___—
                                      ,~e _ ~~ .~                  ~ ,~~:r„
           u U4-~23-7277                                   !                                                                                                         M0: 63889
         —            -----
         TOTALS  -- ~ - ~ ------------------- — — -----------------------------~-                                                                 ~

            ;CASH ( )CHECK ( )CHAP.GE ( )h1~C ( )VSS~ ( )AMjEX                            TOTAL     LABOR....              O.CO (~~~
                                                                                                                                E             I ~                _~~I ~~'
        `1V-16615                                                                         TOTAL     PARTS....              0.00
        FANTS AMD LABOR ARE GUARANTEED FOR 2~i Ni0NTH5 OR                                 TOTAL     SUBLET...              0.00                                                 ~
        CNLIMITED MILES ON ALL MECHANICAL REPAIRS                                         TOTAL     G.O.G....              0.00                                                 E
        1M1051 RETAIL PARTS CARRY A 24 MONTH GUARANTEE, SEE ADVISON                       TOTAL     MISC CHG.              O.OG                          --
                                                                                          TOTAL     MISC DISC              0.00           ~           -.------  =—-
        SHOP SUPPLIES, THIS CHARGE REPRESENTS COSTS ANC PROFITS TO                        TOTAL     TAX......              0.00      SHOP     SUPPL1tS     AN6 HAZARDCSUS
        THE MOTCR VEHICLE REPAIR FACILITY FOR ITEMS SUCH AS                                                              — --           WAS"'E DiSPOSAt CH~NCyES
        `11SCELLANEOUS SHOP SUPPLIES ANU/OR WASTE DISPOSAL.                             TOTAL INVOICE ~                    O.00 ~~~~is ch~tge ~'e:pre5et~?; eos's anc profs 'ta~
                                                                                                                                  nF mates, ehi I , ~a~ai: a~Y lt, hi ~n~~'
         Thank You for Your business, we know you have a lot of
                                                                                                                                ~               cl ~ :,~ ,h:~p„up~i~
         choices when it comes to your vehicle service needs, and                                                               i ticr -~,~m                                   i
         r ealty appreciate t5at you chose us. Our goal is Fur you to                                                           ~ a~
                                                                                                                                ~t        ';:pc zl :. ,~: ..0 4(4~j         ~J ~
         oe completely satisfied. If for some reason we did not meet
         that yoat, please call Dan Hickey at (386) 274-6?34                                                                           The State oP Fonda r+:yuir~s a S1.~J0 fee co ~
                                                                                                                                                                                 ~~, ~
                                                                                                                                       be coliecied for each ne~v lire sold ir: L~
                                                 -   —   —         —                                                                   stale s. 413.;18j, and a X3.5[1 fi~ to ~7e
            ---                    ----      -                                                                                         callecte~ to race new or !emanufaciured,
               CUSTOPIER SIGNATUR[
                                                                                                                                       uattety said in the sta4e js. St~3.'S85].




            .= r CF 2                  CUSTOMER COPY                                      [ END OF INVOICE )          05.19pm

                                                                                                                                                                           _ _   ~:y F;,
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 73 of 86 Page ID #:7902



                                                                  ~:TAIF!~Y ~'M'E~S►Mr0.N5~                                                    FOl':a1~~552A                                        p

                                                                                                                                                                                                    N
                                                                    X20 Tomaka Fauns 9oatl > G3~F; 'S3-7D;1                                                                                         ~
                                                                      DAY"IOWA B_:i?CH. PLQRIQA 12724                                                                                               N

                                                            Sl'AT`I: 7F FL. ~F~;IC1A REGISTRATIc7N ~i MV-016675




                                                                                                                                                                     c~~~: Boa -~2,-~2~~
                     ~58E~66                                    MARIOPI PATT                                   3710       ~736'~.. _.._.....   _
                                                                                                                                                      05IC7_./1£3
                                                                                                                                                             . . _ _. __'
                                                                                                                                                                          F~CS12~520
                                                                                                                                                                             _;  _'___.. . . __.i
                                                                                                                      1

   ' CON~TANC(_ R ROUND-~f~EE                                                                                                 5 £i, 892                                         DTGO ~51A
    123 S ARLINGTON AVE ~B                                      14~'FOP.Di FQ(,US/5DR NB SE                                                           G6/14/1G                            31 395
     DEI_F,ND, FL 3272
                                                                            __ _ --- -
                                                                 ~ ~"F~~A:~O P 3 K 2 3 E L 1 5 3 2 6 8
                                                                                                                  ~                                           _ _ ~____ - ---- _ _ - _
                                                                                                                                                                                                    I
                                                                     .i~.                                -   —;..
                                                                                                               ~F ..-:- ------.—                      ~rT::

   IL~~PGROI,P(alAOL .CUM                                                                                                                             0 5/77/1£3                PEPRI~,,T++ 1
                                                                                        _   _                1-           _    —         - _   _      _   _    _                 _       _...._ _
                                                                                                                                                                                    MG :   588941
    neap e- ~~aRrs ._ . ...- -- ~           ---- — - ----- -        ---               --- ---~ ---------------                                                                       -,
    a 1 U7h5!.                 TkANSMIS`_IO~J                        TE(H(S'I :737D                                           WARRAYTY         ~~               ~ ~T ~-               — —r~~ ~
                     CIJST0~IER S1ATE5 lHF TRANSMISSION IS N0~ RESIGMDIN(, WHEN                                                                                 E j {                __„ ~~___;
                     T ;KIUG OFF FROPt Fl STOP 41JD IT FEELS Li (E IT SLIPPING                                                                                             ~ ~~
                     G-~IJ~01 COfVFiFM Cl;ST. COV~E~iJ.
                     DI'S6 SF'UUDEA DIAL, PJO SHUDDER RECORDED, RETUF,NED -'0 CUST.
                     W =THI~J EXPECTEC LI"1IT;.                                                                                                       ----           ---        ---- -----            j

                                                                            JOE i!     1 T07AL LABOR &PARTS                        0.00              Stir'?"' SUF='._I£5 C~VD H;'Z4R7GUS
                                                                                                                                                        '•rvl.;>TE ryiSPCJ;i:L CF~VR'~rS
   Jd    ;~fJj99P               hIULTI-PO:.NI 1NSP                             IECH 5 :7370                                   INIEN~AL          ri                       -               !,~
                     P i=RFORhI ^CULTS-PC;.NT INS?ECfION
                                                                                                                                               ':I~e: ~ ~       ~~ ~ -..
                     IIJSPECIIOIV ?ERFGR~'ED.
                                                                                                                                                i_i              L    i.

                                                                                                                                               .~C: ~                       ~      i~
                                                                            ]OL' ~?     2 TOTAL. LABOR &PARTS                      0.00

   7q j ; 91 UiR~NT        fENlAL UCH CL~1'd                                   f ECH(S'i: 137                                 WARRAiJI'Y       Tne :it~i~ of F:oi9da requires ~ _. ~`~~"-, fez ~. ~
                  PROVIDE. CUSTOMER WITH REIJTAL VEHIQ_F                                                                                       ar ca!lE~:..t=~d for ea F     :~~ tfre ec-d ir= :ne
                                                                                                                                               siale ;s. X03.;98;, end a ~5.5p tee io !~e
                     CGh1P~_E1FD                                                                                                               sollec~e:~ for each new oe rer.~ani i2,c:ure~i
                                                                                                                                               batfen~ Sold in tY;e sYsie. ;s.4G3 ?? B ~~,
                                                                            JOL N       3 TOTAL LABOR &PARTS                        0.00

   C OPIi9FNT5--- -- ---- ---- — --- -- — --- - .. .-- ------- ------ --- ---- ----- ' ----------
   ++LGAI!E R++

   T E~NfJ=~_CISN CERTIFICATION----------------------- --------- -------------~-----
                        ?;70              RYAN MORAIe                   00231'5880

   ?OTF,L`.

   f )CASFs ( )CN=CK 1 CH.aRGf_ ( )M/C ( )'JISA ( )F~,IjEK                                      TOTAL    LABOR. . . .              0.00
   h',4'-Cfi6-i~                                                                                TOTAL    PkRTS. . . .              0.00
   RAFTS F~~d LAB04+ 11?E ,UARANTEEG FOR ?4 MONTHS OR                                           TOTAL    SlB!ET. . .               0.00
   UNLIF'~':TE MILES QN ~.LL ^1ECHANICl1L REPAIRS                                               TOTAL    G.O.G. . . .              O.OU
   MOS? REiTz,IL PARTS CA,RP.Y C. ~4 F!CyT'rl GJARANTEE. SEE A)VISOf                            TOTAL    MTSC CHG.                 O.DO
                                                                                                TOTAL    MI SC DISC                O.DO
   SHOP ~LP~LIES, THIS CHAFGt FEF'RESt^dT5 COSTS AND PRO ITS TC~                                TOTl1L   TAX. . . . . .            O.DO
   THE: X1010= VEHICLE REPAIR FAQ LI7Y F0~ I~fEMS SUCH AS                                                                     -- — ----
   MISCELIA`tF0U5 ;HOP SUPPLIES APIC/0R W45TL=       orsPosn~.                              TOTAL I~lVOICE $                      ~.0~

    hank 1`n: for `'our business, i•ie knaa you have a lot of
    hoices .hen ii. comes to your vehicL= sen~ice needs, and
    e~,ll_;r a~preci~te tfai you cho,-e us. Our goal is fo you Lo
    e ~oripletely satisfied. If `or sore -easoo we did iot meet:
    hest goal, oleo-se cell an Hickey a; ;386) 274-6734



              C'.i




     PAGE 1 0= 1
                                         C US UIoP=R COPY                                         ENG OF INVOICE 1            t.g2pn
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 74 of 86 Page ID #:7903




         Far~d Pc~werShift Transmission Settlement

                     Fard Focus and Ford Fiesta PowerShift Transmission Settlement

         If yc~u are a current or former owner or lessee of a 2011-2016 Ford Fiesta or 2012-2016 Ford Focus
         vehicle that was equipped with a PowerShift Transmission and was originally sold or leased in
         the United States (including territories), you may be affected by a nationwide settlement that
         has been reached in litigation concerningthe Power5hiftTransmission.
                                                 i mportant Dates

          Event                                        Qate

          Notice Date                                  July 14,2017

          t7pt-(7ut Deadline                           September 5,2017

          O pt-In Deadline                             September 5,2017

          Objection Deadline                           September S,2017

           Fairness Nearing                            October 2,2017


                                   CLASS MEMBERS CANNOT YET FILE CLAIMS

                Claims will be accepted after the Court grants Final Approval of the Settlement.

                  Please check this website frequently for updates regarding the Settlement.

         This websitF provides you with important information with respect to the Settlement, and the
         website uvill be updated as new information becomes available.

         If you purchasedJleased aFord Focus(2012-2016 models) or a Ford Fiesta (2fl11-2016 models)
         equipped with a PowerShiftdual-clutch automatic transmission, you might ire eligible fcr the
         following benefits, among others:

             • Repurchase of your vehicle through an arbitration procedure
             • Cash Payments totaling up to $2,325
               discount Certificates of up to 54,650 toward a new car purchase

          Current status of this matter:
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 75 of 86 Page ID #:7904




                                                                                          FM, i~~a~ie
        The parties in Vargas v. Ford Motor Company, C.D. Cal. Case Na 2:12-cv-08388-AB-F
                                                                                               c~~ A~r3l
        reached a nationwide settlement which was granted preliminary approval by the Court
                                                                                               tab on
        25,2017. A copy of the Settlement Agreement is available under the "Case Documents"'
        this website.
                                                                                          aware that
        Notice was mailed to known potential class members in early July, 2017. Please be
                                                                                    or lessees of
        postcards regarding the Settlement were sent inadvertently to some owners
        uehicles not included in the Settlement Class. These vehicles include 2011-2016 fiord Fiesta
        vehicles and 2Q12-2016 Ford Focus vehicles equipped with a manual transmission, 2012-2016
        Fo~~d Focus Elect~~ic Vehicles, and 2016 Model Year Focus SE vehicles equipped with a l.OL Engine
        and an optional 6-speed Automatic Transmission with SelectShift.
                                                                                                 o
        On October 2, 2o17,the CourtwiU hold a hearingto determinewhetherto grantfinal appr~vait

        the Settlement. Please check this website regularly for updates.



                                        Kurtzman Carson Consultants
                              Terms of Use (http://www.kccllc.corn/terms-of-use/)
                              Privacy Statement(http://www.kccllc.com/privacy/)
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 76 of 86 Page ID #:7905
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 77 of 86 Page ID #:7906
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 78 of 86 Page ID #:7907
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 79 of 86 Page ID #:7908




i
 Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 80 of 86 Page ID #:7909




i                               ._ . .
~r
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 81 of 86 Page ID #:7910
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 82 of 86 Page ID #:7911
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 83 of 86 Page ID #:7912
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 84 of 86 Page ID #:7913
Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 85 of 86 Page ID #:7914
            Case 2:12-cv-08388-AB-FFM Document 326 Filed 06/28/21 Page 86 of 86 Page ID #:7915


                                                         r .. ~~-~ ` ~~                                                          PRIORITY MAIL
                                        ~•               ~ ~ • 'a J`                                                          FLAT RATE ENVELOF~E
   PRESS F/RML                                                                                    PRESS FIRlNLYTO SEAL

                                             $795 06~5~,
                                                                 Origin: 32724                                                POSTAGE REQUIRED

~
`                                                   ■            7i27~soa2s-7a                                                                      i
               U            PRIORITY MAIL 2-DAYS Bo ~                              ~ ~ TY~
                                                                 o ~7e
             P
             (                                                            1 oos 1 ~                     FROM:   C~ ns              ~~-v U'~d -~
                       EXPECTED DELNERY DIkV~'„~,~~~Y~L~1                                                        ~1~, ~('~[          rOl^5
Expected deliv~                                   ,.ir
                                              -.~ f              r                                                            -i     1   ~r
                                         t     .,       i f coat                                                  ~~a~~ ~~.. 3~1,ZE
Most domestic,         sHiP                   `~- + ~'       ~                     ~S aPP~YI•'
LISPS Tracking'.       TO`z55 E7~MPLE ST            ~       ~                      inations.
Limited intema~           Los Angeles CA 90012-3332 ,; ;'
When used ante;                   LISPS TRACKING #
surance does not a                                                                 B
mastic Mail ManuaP,
See International Ms                                                               coverage.
                                                                                                                             TO:
                           9505 5158 8950 1176 5850 90                                                                   e

LAT RA ~ c CIVVC~UF~E                                        _                                               dwarcf           R. ~.~ b~
NE RATE ■ANY WEIGHT                                      I                                                 ~~ ~jQ ~ ~U
                                                                                                                    `                    ~ ~ ~   `
                                                                          °                               I~ n 1 '~p ~f                   CID L1~hDv ~
                                                                                            Kea
'RACKED • INSURED                                              ~~~
                                                        ~ To ~~,~a~~ .- p µ ,                             ~ ~ ~f'r~" I~r~~)~ S—r
                                                                          ,. o                          ~                ~
                                                                                                          ~ -~ ~1.e~s C~ a ~~~2      ,.
II~I I I~I ~~IIn~I~I1~l~l l~~
      PSOOOOf 000014                 EP74F May 2020
                                     on:~2~i2Xs~i2
                                                         "`~-. _ _
                                                                     ~ ~. .
                                                                      t
                                                                          ~ ■ '~
                                                                                        _
